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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEBRASKA
In re:                                            Chapter 11

GORDMANS STORES, INC., et.al.1                                   Case No. 17-80304 (TLS)

                                    Debtors.                     (Jointly Administered)

            SUMMARY COVER SHEET TO COMBINED NINTH MONTHLY FEE
         STATEMENT OF KOLEY JESSEN P.C., L.L.O. FOR COMPENSATION FOR
        SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRE
             AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
        CREDITORS OF GORDMANS STORES, INC., ET AL. FROM NOVEMBER 1,
         2017 THROUGH AND INCLUDING NOVEMBER 15, 2017, AND FINAL FEE
        APPLICATION OF KOLEY JESSEN P.C., L.L.O. FOR COMPENSATION FOR
        SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED
             AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
        CREDITORS OF GORDMANS STORES, INC., ET AL. FROM MARCH 16, 2017
                   THROUGH AND INCLUDING NOVEMBER 15, 2017

    Name of Applicant                                Koley Jessen P.C., L.L.O.
    Client                                           Official Committee of Unsecured Creditors
    Petition Date                                    March 13, 2017
    Date of Approval of Employment                   April 27, 2017 [Doc. No. 406]
    Fee Period                                       Monthly: November 1, 2017 – November 15, 2017
                                                     Final: March 16, 2017 – November 15, 2017
    Total Hours Billed                               Monthly: 5.2
                                                     Final: 380.8
    Total Fees Requested                             Monthly: $1,227.20 (80% of $1,534.00)
                                                     Final: $116,866.00 2
    Total Expenses Requested                         Monthly: $181.91
                                                     Final: $2,870.79 3
    Total Fees and Expenses Requested Monthly: $1,409.11
                                      Final: $119,736.79
    Prior Fees Paid to Applicant                     $88,872.00
    Prior Expenses Paid to Applicant                 $ 2,327.10
1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
include: G-Estate Liquidation Stores, Inc. formerly known as Gordmans Stores, Inc. (1987); Gordmans, Inc. (1211);
Gordmans Management Company, Inc. (5281); Gordmans Distribution Company, Inc. (5421); Gordmans Intermediate
Holdings Corp. (9938); and Gordmans LLC (1987).
2
  This amount includes an additional $2,000.00 in fees for time (seven hours) incurred after the Effective Date that applicant
estimates it has incurred related to the preparation of this Application. The applicant reserves the right to include any time
expended or costs incurred in a supplemental application if it is not included herein.
3
  This amount includes an additional $180.00 in expenses for costs incurred after the Effective Date that applicant estimates it
will incur related to the service of this Application.
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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEBRASKA
In re:                                           Chapter 11

GORDMANS STORES, INC., et.al. 1                                Case No. 17-80304 (TLS)

                                   Debtors.                    (Jointly Administered)


           COMBINED NINTH MONTHLY FEE STATEMENT OF KOLEY JESSEN P.C.,
    L.L.O. FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
       OF EXPENSES INCURRED AS COUNSEL TO THE OFFICIAL COMMITTEE OF
         UNSECURED CREDITORS OF GORDMANS STORES, INC., ET AL. FROM
    NOVEMBER 1, 2017 THROUGH AND INCLUDING NOVEMBER 15, 2017, AND FINAL
      FEE APPLICATION OF KOLEY JESSEN P.C., L.L.O. FOR COMPENSATION FOR
      SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED AS
       COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF
        GORDMANS STORES, INC., ET AL. FROM MARCH 16, 2017 THROUGH AND
                        INCLUDING NOVEMBER 15, 2017

         In accordance with the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals and Reimbursement of Creditors’

Committee Member Expenses, and (II) Granting Related Relief, entered on April 17, 2017, [Doc.

No. 351] (the “Interim Compensation Order”), 2 the Debtors’ Joint Plan or Liquidation Pursuant

to Chapter 11 of the Bankrutpcy Code [Doc. No. 912] (the “Plan”), as approved by the Order (I)

Approving the Adequacy of Disclosure Statement for the Debtors’ Joint Plan of Liquidation and

(II) Confirming Debtors’ Modified Joint Chapter 11 Plan [Doc. No. 1036] filed on October 18,

2017, and the United States Trustee Guidelines for Reviewing Applications for Compensation and

Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases

(the “UST Guidelines”), Koley Jessen P.C., L.L.O. (“KJ”), local counsel to the Official Committee

of Unsecured Creditors (the “Committee”) of the debtors and debtors in possession in the above-

1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
include: G-Estate Liquidation Stores, Inc. formerly known as Gordmans Stores, Inc. (1987); Gordmans, Inc. (1211);
Gordmans Management Company, Inc. (5281); Gordmans Distribution Company, Inc. (5421); Gordmans Intermediate
Holdings Corp. (9938); and Gordmans LLC (1987).
2
 Terms used but not otherwise defined herein shall have the meanings ascribed to them in the Interim Compensation
Order and Plan (defined herein), as applicable.
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captioned cases (the “Debtors”), hereby submits this combined ninth monthly statement of fees

and expenses (the “Ninth Monthly Fee Statement”) seeking compensation and reimbursement of

fees and expenses for the monthly period of November 1, 2017, through and including November

15, 2017 (the “Ninth Monthly Fee Period”), and first and final application (the “Final Fee

Application,” and together with the Ninth Monthly Fee Statement, this “Application”) seeking

compensation and reimbursement of fees and expenses for the period of March 16, 2017, through

and including November 15, 2017 (the “Final Fee Application Period”).          In support of this

Application, KJ respectfully states:

                              Jurisdiction and Statutory Predicates

       1.      The United States Bankruptcy Court for the District of Nebraska (the “Court”) has

jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and 1334.

       2.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This matter

is a core proceeding within the meaning of 28 U.S.C. § 157(b).

       3.      The statutory predicates for the relief requested herein are sections 105, 330, and

331 of the Bankruptcy Code, Rule 2016(a) of the Bankruptcy Rules, and Local Rule 2016-1.

                                          Background

       4.      On March 13, 2017 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code in this Court. The Debtors operated their

businesses and managed their properties as debtors in possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code.

       5.      On March 15, 2017, the Office of the United States Trustee appointed the

Committee pursuant to section 1102 of the Bankruptcy Code. The members of the Committee

were: (i) Werner Enterprises, Inc.; (ii) Marketplace on First, LC; (iii) GGP Limited Partnership;
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(iv) Catalyst Westowne, LLC; (v) Kellermeyer Bergensons Services, LLC; (vi) DDR Corp.; and

(vii) Ezrasons Inc.

          6.     On April 17, 2017, this Court entered the Interim Compensation Order, which sets

forth the procedures for interim compensation of services rendered and reimbursement of expenses

incurred for Retained Professionals.

          7.     On April 26, 2017, the Committee filed the Application of the Official Unsecured

Creditors Committee for an Order Authorizing the Employment and Retention of Koley Jessen

P.C., L.L.O. as Local Counsel Effective as of March 16, 2017 [Doc. No. 400] (the “Retention

Application”).

          8.     On April 27, 2017, this Court entered an order approving the Retention Application

[Doc. No. 406].

          9.     On October 18, 2017, this Court entered an order confirming the Debtors’ Plan. The

effective date of the Plan occurred on November 15, 2017 [Docket No. 1057] (the “Effective

Date”).

          10.    The Plan requires the filing of all final fee applications by no later than forty-five

(45) days after the Effective Date, using Bankruptcy Rule 9006(a) to compute time and making

January 2, 2018, the deadline.

                                           Relief Requested

          11.    By the Ninth Monthly Fee Statement, KJ seeks payment of $1,227.20, which

represents 80 percent of the total amount of compensation sought for actual and necessary

professional services rendered during the Ninth Monthly Fee Period and $181.91, which represents

100 percent of KJ’s actual and necessary expenses incurred during the Ninth Monthly Fee Period.

          12.    By the Final Fee Application, KJ seeks final allowance of $116,866.00 as

compensation for professional services rendered to the Committee during the Final Fee Application
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Period and $2,870.79 as reimbursement for actual and necessary expenses incurred by KJ for the

Committee during the Final Fee Application Period, which together total $119,736.79. As part of

the $119,736.79 total, KJ has included $2,000.00, which represents the estimated amount of

compensation for necessary professional services rendered after the Final Fee Application Period

for approximately seven hours of time spent in connection with the preparation of this Application,

and $180.00, which represents an estimate of KJ’s actual and necessary expenses incurred after the

Final Fee Application Period in the service of this Application. If the actual amount of fees and

expenses for the foregoing activities is below $2,180.00, KJ will only seek compensation of the

amount of fees and reimbursement of the amount of expenses that are actually incurred and will

refund the difference to the Professional Fee Escrow Account.

         Fees and Expenses Incurred by KJ During the Final Fee Application Period

       13.     The services provided by KJ during the Final Fee Application Period have been

actual and necessary and have benefited the Committee. Reasonable compensation for the services

provided during the Final Fee Application Period based on the time, the nature, the extent, and the

value of such services, and the costs of such services is $119,736.79.

       14.     KJ maintains detailed, daily computerized time records in the ordinary course of its

business. These time records are prepared contemporaneously with the corresponding services to

the Committee. The records indicate: (i) the person performing the services, (ii) the date of the

services, (iii) a detailed description of services, and (iv) the length of time (in tenths of hours

increments) rendered for the services.

       15.     Pursuant to the UST Guidelines, a summary of the names, positions, and hourly

rates of each professional who billed time during the Final Fee Application Period in connection

with KJ’s engagement by the Committee is attached hereto and incorporated herein as Exhibit E.
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        16.    In compliance with the UST Guidelines, attached hereto and incorporated herein as

Exhibit F is a summary of the total hours and fees for each project category for the Final Fee

Application Period.

        17.    Attached as Exhibit G is a summary of all expenses incurred by KJ during the Final

Fee Application Period.

        18.    As required by the Interim Compensation Order and as set forth below, KJ filed and

served the following monthly fee statements on the Application Recipients setting forth the full

amount of its fees and expenses for each month of the Final Fee Application Period, save for the

Ninth Monthly Fee Statement, which is included within this Application.          No Application

Recipients (as defined below) objected to any of KJ’s monthly fee statements set forth below, and

under the Interim Compensation Order, the Debtors were authorized to pay 80 percent of the

monthly fees and 100 percent of the monthly expenses sought by KJ for each month of the Fee

Period, without prior application to the Court:

Date          Period Fees                 Expenses             Fees              Expenses
Filed                Requested            Requested            Paid (80%)        Paid (100%)
5/8/17        March    $29,203.50         $80.30               $23,362.80        $80.30
Doc. 440
5/30/17       April    $30,578.80         $926.08              $30,578.80        $926.08
Doc. 523
7/13/17       May      $10,883.00         $181.17              $8,706.40         $181.17
Doc. 803
7/31/17       June     $8,070.50          $272.48              $6,456.40         $272.48
Doc. 874
8/28/17       July     $16,675.50         $684.37              $13,340.40        $684.37
Doc. 941
9/27/17       Aug.     $5,001.00          $182.70              $4,000.80         $182.70
Doc. 998
10/24/17      Sept.    $3,033.00          $3.00                $2,426.40         $3.00
Doc. 1043
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11/21/17       Oct.    $2,242.00          $178.78
Doc. 1061


         19.    Attached as Exhibit H are KJ’s monthly fee statements that were filed with this

Court.

                  Summary of Legal Services Rendered During the Fee Period

         20.    In compliance with the UST Guidelines, the following summary identifies the areas

in which services were rendered by KJ to and for the benefit of the Committee, and the

issues/categories to which KJ devoted time and efforts during the Fee Period. The summary is

divided according to project billing codes reflecting the categories of tasks that KJ performed in

connection with these Chapter 11 Cases. Nevertheless, given the interconnectedness of certain

issues in these Chapter 11 Cases, certain of these categories may overlap with each other.

Case Administration
Fees: $11,754.00 Hours Billed: 38.1

This category includes time spent by KJ relating to day-to-day management and prosecution of
these Chapter 11 Cases, including, among other things, (i) reviewing correspondence and
pleadings; (ii) addressing various miscellaneous administrative tasks; (iii) monitoring critical dates
and deadlines; and (iv) communicating with Debtors, creditors, and other parties in interest
regarding case administration issues.

Fee/Employment Applications
Fees: $8,635.00 Hours Billed: 28

This category includes time spent by KJ preparing, reviewing, and filing its Retention Application,
its Monthly Fee Statements, and its certifications of no objection related thereto. This category also
includes time spent by KJ reviewing retention applications and monthly fee statements filed by the
Debtors’ other professionals and discussing objections to the same with Debtors.

Comenity Bank Dispute
Fees: $8,142.50 Hours Billed: 27.6

This category includes time spent by KJ reviewing and analyzing the dispute between Comenity
Bank and the Debtors regarding Comenity Bank’s withholding of certain monies based on a claim
for recoupment and/or setoff of a one million dollar bonus paid by Comenity Bank to the Debtors
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that Comenity Bank alleged it had been fraudulently induced into paying. KJ, among other things,
sent a litigation hold letter to Comentiy Bank, communicated with counsel for Comenity Bank,
investigated the underlying facts surrounding the dispute, and participated in the negotiations that
resulted in a resolution to the dispute.

Asset Disposition
Fees: $20,232.50 Hours Billed: 65

This category includes time spent by KJ in connection with the disposition of the Debtors’ assets.
During the Final Fee Application Period, KJ, among other things, (i) communicated with the
Committee, the Debtors, the Debtors’ professionals, potential purchasers, and other parties in
interest regarding the sale of substantially all of the Debtors’ assets; (ii) analyzed, negotiated, and
revised proposed agency and asset purchase agreements, the proposed sale process, the proposed
sale order, and all related pleadings; (iii) advised the Committee with respect to the proposed sale
process and coordinated with various parties in interest regarding same; (iv) worked with various
contract counterparties to resolve objections and concerns in connection with agency and asset
purchase agreements; (v) filed an objection to the Debtors’ bid procedures motion and prepared
and attended hearings related thereto; (vi) analyzed with the Committee and its other professionals
alternatives to Debtors’ proposed sale process; (vii) reviewed objections and related documents
submitted in connection with the sale process; (viii) communicated and negotiated with DSW
Leased Business Division LLC dba Affiliated Business Group regarding concerns with sale
process; (ix) communicated and coordinated with the purchaser regarding the sale transaction and
closing, including, but not limited to, the transition and assumption of certain executory contracts
and unexpired leases of nonresidential real property; and (x) addressed other post-sale order issues.

Motion for Relief from Stay
Fees: $206.50 Hours Billed: 0.7

This category includes time spent by KJ reviewing and analyzing the motion for relief from the
automatic stay filed by DSW Leased Business Division LLC dba Affiliated Business Group and
communicating with Debtors’ counsel regarding the same.

Asset Analysis Recovery
Fees: $5,245.50 Hours Billed: 17.4

This category includes time spent investigating the Debtors’ assets, analyzing potential recoveries,
and reviewing and analyzing the Debtors’ schedules and statement of financial affairs.


Creditor Communication
Fees: $3,148.00 Hours Billed: 9.4

This category includes time spent by KJ communicating with the Committee and other creditors
concerning all aspects of these Chapter 11 Cases. During the Final Fee Application Period, KJ
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communicated and conferred with the Committee regarding, among other things, strategy, case
developments, status updates, filing of claims, the sale process, recently filed pleadings, and the
plan process.
Financing/Cash Collateral
Fees: $31,004.00 Hours Billed: 108.2

This category includes time spent by KJ in investigating the extent and validity of Wells Fargo’s
claims and liens and in participating in and reviewing proposed cash collateral stipulations and
proceedings. During the Final Fee Application Period, KJ, among other things, (i) reviewed and
analyzed the Debtors’ cash collateral motion and all relevant financial documents related thereto;
(ii) edited the Committee’s objection thereto; (iii) negotiated with the Debtors, lenders and various
stakeholders regarding the cash collateral motion, financing terms, and final order; (iv) reviewed
the Debtors’ budget and financial documents related thereto; (v) revised the final order on cash
collateral; (vi) attended hearings related thereto; (vii) conferred with Debtors’ professionals
regarding the Debtors’ cash usage pursuant to the budget; and (viii) investigated the extent and
validity of Wells Fargo’s claims and liens.


Investigation of Dividend/Recap & Other Claims
Fees: $26,498.00 Hours Billed: 86.4

This category includes time spent investigating claims related to the Debtors’ issuance of a
dividend in 2013 through a recapitalization. During the Final Fee Application Period, KJ (i)
investigated the Debtors’ capital structure, 2013 dividend recapitalization, and potential causes of
actions and claims against the Debtors’ directors and officers; (ii) analyzed and researched legal
issues related to potential claims and causes of action against the Debtors’ directors and officers
relating to, among other things, breach of fiduciary duties, fraud, insider/fraudulent transfers,
improper redemptions, corporate waster and equitable tolling of statute of limitations; (iii)
analyzed and researched legal issues related to the debtors’ directors and officers liability insurance
policy; (iv) negotiated the production of business and corporate records by the Debtors and
analyzed and reviewed same; (v) conferred and met with Debtors’ professionals regarding potential
claims against Debtors’ directors and officers; and (vi) participated in Committee investigation
interview of Debtors and Duff & Phelps and conferred with Committee professionals regarding
same.
                                            KJ’s Services
       21.     The Committee engaged KJ to act as its counsel, and KJ has provided the following

services to the Committee:

               a.     Assisted, advised, and represented the Committee in understanding its rights,
       duties, and powers under the Bankruptcy Code and the Bankruptcy Rules;
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              b.      Assisted, advised, and represented the Committee in its consultations with
       Debtors relative to the administration of these Cases;

               c.      Assisted, advised, and represented the Committee with respect to Debtors’
       retention of professionals and advisors with respect to Debtors’ business and these Cases;

               d.     Assisted, advised and represented the Committee in analyzing Debtors’
       assets and liabilities, in investigating the extent and validity of Wells Fargo’s claims and
       liens, and in participating in and reviewing proposed asset sales, asset dispositions,
       financing arrangements, and cash collateral stipulations and proceedings;

               e.     Assisted, advised, and represented the Committee in its investigation of the
       acts, conduct, assets, liabilities, and financial condition of Debtors, Debtors’ operations,
       and the desirability of the continuance of any portion of those operations, and any other
       matters relevant to the Cases and to the formulation of the Plan;

              f.      Assisted, advised, and represented the Committee in its participation in the
       negotiation and formulation of the Plan;

              g.      Assisted, advised, and represented the Committee in the evaluation of claims
       and on certain litigation matters, including the dispute with Comenity Bank;

              h.      Assisted, advised, and represented the Committee in its communications
       with the general creditor body regarding significant matters in these Cases;

              i.      Represented the Committee at hearings and other proceedings;

              j.      Reviewed and analyzed applications, motions, complaints, orders,
       statements of operations, schedules, and other filings with the Court and advised the
       Committee as to their propriety, and, to the extent deemed appropriate by the Committee,
       supported, joined, or objected thereto;

              k.      Prepared pleadings, including, without limitation, applications, motions,
       memoranda, objections, and comments in connection with any matter related to Debtors or
       these Cases; and

               l.       Performed such other legal services as were required or were deemed to be
       in the interests of the Committee in accordance with the Committee’s powers and duties as
       set forth in the Bankruptcy Code, Bankruptcy Rules, or other applicable law.

       22.    The professional services performed by KJ during the Final Fee Application Period

were appropriate and necessary and were in the best interests of the Committee. The compensation

requested is commensurate with the importance, complexity, and nature of the services provided.

       23.    The services were performed in an appropriately expeditious and efficient manner.
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         24.     The professional services performed by KJ during the Final Fee Application Period

required an aggregate expenditure of 380.8 recorded hours by KJ professionals.

         25.     During the Final Fee Application Period, KJ’s hourly billing rates for attorneys

ranged from $370.00 to $185.00 per hour. These fees and rates are reasonable based on the

customary compensation charged by comparably skilled practitioners in bankruptcy cases in this

Court.

                                   Actual and Necessary Expenses

         26.     As set forth in Exhibit G hereto, KJ disbursed $2,690.79 for expenses during the

Final Fee Application Period and expects to disburse another $180.00 to FedEx in connection with

the service of this Application.

         27.     The actual expenses incurred were necessary, reasonable, and justified under the

circumstances.

                         Attorney Statement Pursuant to UST Guidelines

         28.     The following statement is provided pursuant to UST Guidelines:

Question: Did you agree to any variations from, or alternatives to your standard or customary
billing rates, fees, or terms for services pertaining to this engagement that were provided during the
application period? If so, please explain.

Response: No.

Question: If the fees sought in this fee application as compared to the fees budgeted for the time
period covered by this fee application are higher by 10% or more, did you discuss the reasons for
the variation with the client?

Response: N/A.

Question: Have any of the professionals included in this fee application varied their hourly rates
based on the geographic location of the bankruptcy case?

Response: No.

Question: Does the fee application include time or fees related to reviewing or revising time
records or preparing, reviewing, or revising invoices? (This is limited to work involved in
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preparing and editing billing records that would not be compensable outside of bankruptcy and
does not include reasonable fees for preparing a fee application.) If so, please quantify by hours
and fees.

Response: No.

Question: Does this fee application include time or fees for reviewing time records to redact any
privileged or other confidential information? If so, please quantify by hours and fees.

Response: No.

Question: Does this fee application include rate increases since retention?

Response: No.

        Services Rendered and Expenses Incurred During Ninth Monthly Fee Period

       29.      Attached as Exhibit A is a timekeeper summary that includes the names, positions,

and hourly rates of each professional and paraprofessional who billed time during the Ninth

Monthly Fee Period.

       30.      Attached as Exhibit B is a project summary that includes the total hours spent by KJ

professionals and paraprofessionals per project category for the Ninth Monthly Fee Period.

       31.      Attached as Exhibit C is a summary of all expenses incurred by KJ during the

Ninth Monthly Fee Period.

       32.      Attached as Exhibit D are KJ’s detailed time and expense records of KJ for the

Ninth Monthly Fee Period.

              Total Fees and Expenses Sought for the Ninth Monthly Fee Period

       33.      The total amount sought for fees for services rendered and reimbursement of

expenses incurred for the Ninth Monthly Fee Period are as follows:

         Total Fees for the Ninth Monthly Fee Period                     $ 1,534.00
         Total Expenses for the Ninth Monthly Fee Period                 $ 181.91
         TOTAL                                                           $ 1,715.91
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       34.     Pursuant to the Interim Compensation Order, KJ seeks payment of $1,409.11,

which equals (i) 80 percent of KJ’s total fees for services rendered during the Fee Period and (ii)

100 percent of KJ’s total expenses incurred during the Fee Period.

         80% of Total Fees for the Ninth Monthly Fee Period              $ 1,227.20
         100% Total Expenses for the Ninth Monthly Fee Period            $ 181.91
         TOTAL                                                           $ 1,409.11

              Total Fees and Expenses Sought for the Final Fee Application Period

       35.     The total amount sought for fees for services rendered and reimbursement of

expenses incurred for the Final Fee Application Period are as follows:

         Total Fees for the Final Fee Application Period                 $116,866.00
         Total Expenses for the Final Fee Application Period             $ 2,870.79
         TOTAL                                                           $119,736.79

       36.     KJ seeks a final allowance in the amount of $119,736.79, which equals (i) 100% of

KJ’s total fees for services rendered during the Final Fee Application Period, (ii) 100% of KJ’s

total expenses incurred during the Final Fee Application Period, and (iii) 100% of KJ’s estimated

fees and expenses in preparing and serving this Application that were incurred outside of the Final

Fee Application Period.

             Notice and Objections Procedures for the Ninth Monthly Fee Statement

       37.     No trustee or examiner has been appointed in these chapter 11 cases. In accordance

with the Interim Compensation Order, notice of the Ninth Monthly Fee Statement has been served,

via overnight delivery and the Court’s ECF system, on: (i) the Debtors, Gordmans Stores, Inc.,

13917 Gold Circle, Suite 200, Omaha, Nebraska 68144, Attn: Roger Glenn; (ii) co- counsel to the

Debtors, Kutak Rock LLP, The Omaha Building, 1650 Farnam Street, Omaha, Nebraska 68102,

Attn: Jeffrey T. Wegner and Lisa M. Peters; (iii) co-counsel to the Debtors, Kirkland & Ellis

LLP, 300 North LaSalle Street, Chicago, Illinois 60654, Attn: Brad Weiland and Jamie R. Netznik;

(iv) the Office of the United States Trustee for the District of Nebraska, 111 South 18th Plaza,
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Suite 1148, Omaha, Nebraska 68102, Attn: Jerry L. Jansen; (v) co-counsel to the administrative

agent, Riemer Braunstein LLP, Seven Times Square, Suite 2506, New York, New York 10036,

Attn: Steven Fox and Donald E. Rothman; (vi) co-counsel to the administrative agent, Greenberg

Traurig, LLP, One International Place, Suite 2000, Boston, Massachusetts 02110, Attn:

Jeffrey M. Wolf; (vii) co-counsel to the administrative agent, Croker Huck Kasher DeWitt

Anderson & Gonderinger, L.L.C., 2120 South 72nd Street, Suite 1200, Omaha, Nebraska 68124,

Attn: Robert Gonderinger; and (viii) lead counsel to the Committee, Frost Brown Todd LLC,

3300 Great American Tower, 301 East Fourth Street, Cincinnati, Ohio 45202, Attn: Ronald E.

Gold and Douglas L. Lutz (the “Application Recipients”). KJ submits that no other or further

notice need be provided.

       38.     Pursuant to the Interim Compensation Order, objections to the Ninth Monthly Fee

Statement, if any, must be served upon KJ and the Application Recipients no later than fourteen

days after service of the Ninth Monthly Fee Statement (the “Review Deadline”) setting forth the

precise nature of the objection and the amount at issue.

       39.     If no objections to this Ninth Monthly Fee Statement are made on or before the

Review Deadline and upon the filing of a certificate of no objection with this Court with respect

to the unopposed portion of the fees and expenses requested in the Ninthly Monthly Fee Period by KJ,

the Debtors will pay KJ: (i) 80 percent of KJ’s total fees for services rendered during the Ninth

Monthly Fee Period and (ii) 100 percent of KJ’s total expenses incurred during the Ninth Monthly

Fee Period.

        40.    To the extent a Notice of Objection to Ninth Monthly Fee Statement is received

 on or before the Review Deadline, the objecting party and KJ shall attempt to resolve the

 objection on a consensual basis. If the parties reach an agreement, the Debtors shall promptly pay

 80 percent of the agreed-upon fees and 100 percent of the agreed-upon expenses. If, however, the
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 parties are unable to reach a resolution within 14 days after service of the Notice of Objection to

 Monthly Fee Statement, the objecting party shall file its objection (the “Objection”) with this

 Court within 3 business days and serve such Objection on K J and each of the other

 Application Recipients. Thereafter, K J may either (i) file with the Court a response to the

 Objection, together with a request for payment of the Disputed Amount or (ii) forego payment of

 the Disputed Amount until the final fee application hearing at which time this Court will consider

 the Objection, if requested by the parties.

                          Final Allowance of Requested Compensation
        41.    Section 331 of the Bankruptcy Code provides for interim compensation of

 professionals and incorporates the substantive standards of section 330 of the Bankruptcy Code to

 govern the Court’s award of such compensation. See 11 U.S.C. § 331. Section 330 provides that a

 court may award a professional employed under section 328 of the Bankruptcy Code “reasonable

 compensation for actual, necessary services rendered . . . and reimbursement for actual, necessary

 expenses.” See 11 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria for the award of

 such compensation and reimbursement:

               In determining the amount of reasonable compensation to be awarded
               . . . , the court should consider the nature, the extent, and the value of
               such services, taking into account all relevant factors, including –

               (A) the time spent on such services;

               (B) the rates charged for such services;

               (C) whether the services were necessary to the
               administration of, or beneficial at the time at which the service was
               rendered toward the completion of, a case under this title;

               (D) whether the services were performed within a reasonable
               amount of time commensurate with the complexity, importance, and
               nature of the problem, issue, or task addressed;

               (E) with respect to a professional person, whether the person
               is board certified or otherwise has demonstrated skill and experience in
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               the bankruptcy field; and

               (F) whether the compensation is reasonable based on the
               customary compensation charged by comparably skilled practitioners in
               cases other than cases under this title.

11 U.S.C. § 330(a)(3).
       42.     Here, the services rendered by KJ and for which compensation is sought in this

Application were necessary for, beneficial to, and in the best interests of, the Committee. KJ

worked diligently to maximize value of the Debtors’ estate for the benefit of all unsecured

creditors. The services rendered by KJ were performed in a timely manner commensurate with the

complexity, importance, and nature of the issues involved, and were reasonable in light of the

value of such services to the Committee, KJ’s demonstrated skill and expertise in the bankruptcy

field, and the customary compensation charged by comparable skilled practitioners.

       43.     All services for which KJ seeks compensation were performed for or on behalf of

the Committee. KJ has received no payment and no promises for payment from any source other

than the Debtors for services rendered in connection with the matters covered by this Application.

       44.     There is no agreement as to the sharing of any compensation to be paid to KJ, other

than sharing among the shareholders of KJ. Compensation previously paid to KJ has not been

shared with any person, other than the shareholders of KJ.

       45.     KJ has reviewed the requirements of Local Rule 2016-1 and believes that this

Application and the Exhibits attached hereto are in compliance with such Rule.

                                           Conclusion

       WHEREFORE, KJ respectfully requests that this Court enter an order:

       (i) awarding KJ allowance of fees for the Final Fee Application Period in the aggregate

amount of $116,866.00;
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       (ii) awarding KJ allowance of expenses for the Final Fee Application Period in the

aggregate amount of $2,870.79;

       (iii) authorizing and directing the Debtors to pay KJ the unpaid balance of such amounts;

and

       (iv) granting such other relief as is just and proper.



 Dated: January 2, 2018.                            Respectfully submitted,



                                                    /s/ Brian J. Koenig
                                                    Brian J. Koenig, #23807
                                                    KOLEY JESSEN P.C., L.L.O.
                                                    1125 South 103rd Street, Suite 800
                                                    Omaha, NE 68124
                                                    (402) 390-9500
                                                    (402) 390-9005 (fax)
                                                    Brian.Koenig@koleyjessen.com

                                                    Local Counsel for the
                                                    Official Committee of Unsecured Creditors
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 2, 2018, I caused the filing of the foregoing with the Clerk
 of the Bankruptcy Court using the CM/ECF system, which was served on all parties receiving
 ECF notice in this case, and I further certify that on January 2, 2018, I caused the foregoing to be
 served via overnight delivery to the parties indicated below.



                                                     /s/ Brian J. Koenig

Gordmans Stores, Inc.
Attn: Roger Glenn
13917 Gold Circle, Suite 200
Omaha, NE 68144
Debtors
Kirkland & Ellis LLP
Attn: Brad Weiland and Jamie R. Netznik
300 North LaSalle
Chicago, IL 60654
and
Kutak Rock LLP
Attn: Jeffrey T. Wegner and Lisa M. Peters
1650 Farnam Street
Omaha, NE 68102
Co-Counsel to the Debtors
Office of the United States Trustee
For the District of Nebraska
Attn: Jerry L. Jensen
111 South 18th Plaza, Suite 1148
Omaha, NE 68102
United States Trustee
Riemer Braunstein LLP
Attn: Steven Fox and Donald E. Rothman
Seven Times Square, Suite 2506
New York, NY 10036
and
Greenberg Traurig, LLP
Attn: Jeffrey M. Wolf
One International Place, Suite 2000
Boston, MA 02110
and
Croker Huck Kasher DeWitt Anderson &
Gonderinger L.L.C.
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Attn: Robert Gonderinger
2120 South 72nd Street, Suite 1200
Omaha, NE 68124
Co-Counsel to the Administrative Agent
Frost Brown Todd LLC
Attn: Ronald E. Gold and Douglas L. Lutz
3300 Great American Tower
301 East Fourth Street
Cincinnati, OH 45202
Lead Counsel to the Committee
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                                                EXHIBIT A

   Summary of Hours Billed by Professionals and Paraprofessional for the Ninth Monthly Fee Period

Name of Professional           Dept              Title       Year      Hourly    Total       Total
                                                            Admitted    Rate     Hours    Compensation
                                                                                 Billed
Brian J. Koenig        Litigation, Banking,   Shareholder     2007     $295.00    5.2         $1,534.00
                       Finance & Creditors’
                       Rights

TOTAL                                                                             5.2         $1,534.00
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                                       EXHIBIT B

                          Summary of Time by Project Category

                  Project Category                   Hours      Amount


    Case Administration                                0.3        $88.50

    Fee/Employment Applications                        0.5       $147.50

    Comenity Bank Dispute                             4.4       $1,298.00

    Asset Analysis Recovery                           ----         ----

    Creditor Communication                            ----         ----

    Investigation of Dividend/Recap & Other Claims    ----         ----

    TOTAL                                             5.2       $1,534.00
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                                 EXHIBIT C

             Summary of Expenses for the Ninth Monthly Fee Period

               Description                          Amounts
               FedEx                                 $177.51
               Public Records                        $ 4.40
               TOTAL                                 $181.91
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                                    EXHIBIT D
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                                                                                                          KOLEY JESSEN P.C., L.L.O.
                                                                                                               ATTORNEYS AT LAW

                                                                                                       ONE PACIFIC PLACE, SUITE 800
                                                                                                         1125 SOUTH 103RD STREET
                                                                                                                  OMAHA, NE 68124

                                                                                                               PHONE: 402.390.9500




           Official Committee of Unsecured Creditors for Gordmans Stores, Inc.
           c/o Julie Minnick Bowden, Chair
           GGP, a Retail Real Estate Company
           110 N Wacker Drive
           Chicago, IL 60606




Matter #               Matter Name                                                   Fees    Disbursements                Total

19279-0000-0366        Gordmans Chapter 11                                       $1,534.00         $181.91            $1,715.91

                                                     Total This Billing Period   $1,534.00         $181.91            $1,715.91
                                                                Total Current                                         $1,715.91




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Fee Details

Date          Time Narrative                                                                  Tkpr   Hours           Amount
11/08/2017    FEA: Prepare and file Certificate of No Objection regarding fee statement;      BJK     0.10            $29.50
              draft email to Lisa Peters regarding the same.

11/08/2017    CBD: Call with Doug Lutz regarding Comenity Bank's revisions to Motion          BJK      1.90          $560.50
              to Approve (.1 ): CBD: review and analyze Comenity Bank's revisions to
              proposed settlement and debtors' edits and revisions to the same (1 .3): CBD:
              calls with Carol Cabello at Province regarding whether potential avoidance
              actions against Comenity Bank exist (.2): CBD: email to Lisa Peters with
              Committee's thoughts on revised settlement (.3)

11/10/2017    FEA: prepare Eighth Monthly Fee Statement (.3): FEA: email to Julie             BJK     0.40           $118.00
              Minnick with draft of Eighth Monthly Fee Statement for approval (.1).

11/13/2017    CA: receive and review monthly operating report for October.                    B.JK    0.30            $88.50

11/14/2017    CBD: email correspondence with counsel for debtors and plan administrator BJK            1.50          $442.50
              regarding transitioning Comenity Bank matter and status of the same (.3):
              call with Rob Berner. counsel for Comenity Bank, regarding final
              outstanding issues and transition of matter to plan administrator (.3): call
              with Lisa Peters, counsel for debtors, regarding transitioning Comenity Bank
              matter and status of the same (.2):email to plan administrator with
              background information related to dispute with Comenity Bank and thoughts
              regarding moving matter to conclusion (.6): call with Ron Gold regarding
              transitioning Comenity Bank matter to plan administrator (.1)

11/15/2017    CBD: email to Dana Kane with additional background information related BJK              1.0            $295.00
              Comenity Bank dispute (.2); CBD: receive and review e-mail from Rob
              Berner, counsel for Comenity Bank, with redline of most recent draft of
              9019 motion settling dispute (.1); CBD: receive and analyze draft of 9019
              Motion (.7)



Disbursement Details
Date          Type                                                                                                   Amount

10/24/2017    Federal Express- Express Mail: 10/24/17 Omaha. NE                                                       $17.39
10/24/2017    Federal Express- Express Mail: 100/24/17 Boston. MA                                                     $27.45
 10/24/2017   Federal Express- Express Mail: 10/24/17 Cincinnati. OH                                                  $27.27
10/24/2017    Federal Express- Express Mail: 10/24/17 New York. NY                                                    $27.45
10/24/2017    Federal Express- Express Mail: 10/24/17 Omaha. NE                                                       $17.39
10/24/2017    Federal Express- Express Mail: 10/24/17 Chicago, IL                                                     $25.78
10/24/2017    Federal Express- Express Mail: 10/24117 Omaha, NE                                                       $34.78
              Advanced Costs for Public Records                                                                           $4.40




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                                           EXHIBIT E

  Summary of Hours Billed by Professionals and Paraprofessional for the Final Fee Application Period


Name of Professional        Dept             Title       Year       Hourly     Total        Total
                                                        Admitted     Rate      Hours     Compensation
                                                                               Billed

   Brian J. Koenig        Litigation,     Shareholder     2007      $295.00    248.3       $73,248.50
                       Banking, Finance
                         & Creditors’
                            Rights

 Donald L. Swanson        Litigation,     Shareholder     1980      $370.00     67.7       $25,049.00
                       Banking, Finance
                         & Creditors’
                            Rights
 Matthew J. Speiker    Banking, Finance   Shareholder     2003      $310.00     35.6       $11,036.00
                         & Creditors’
                            Rights
Kristin M.V. Krueger      Litigation,     Shareholder     2008      $265.00      5.6       $1,484.00
                       Banking, Finance
                         & Creditors’
                            Rights
 Comran E. Sharif         Corporate        Associate      2015      $195.00      4.0        $780.00
 Maureen E. Fulton        Litigation         Staff        2012      $185.00      8.1       $1,498.50
                                           Attorney
  Teri R. Gibbons         Litigation       Paralegal                $165.00      3.0        $495.00
Sandra L. Armstrong       Litigation       Paralegal                $150.00      4.9        $735.00
 Kimberly Nelson       Banking, Finance    Paralegal                $150.00      3.6        $540.00
                         & Creditors’
                           Rights
TOTAL                                                                          380.8      $114,866.00
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                                                     EXHIBIT F

                                   Summary of Time by Project Category

                            Project Category                                Hours              Amount


        Case Administration                                                    38.1              $11,754.00

        Fee/Employment Applications                                              28               $8,635.00

        Comenity Bank Dispute                                                  27.6               $8,142.50

        Asset Disposition                                                       65               $20,232.50

        Motion for Relief from Stay                                             0.7                $206.50

        Asset Analysis Recovery                                                17.4               $5,245.50

        Creditor Communication                                                  9.4               $3,148.00

        Financing/Cash Collateral                                             108.21             $31,004.00

        Investigation of Dividend/Recap & Other Claims                         86.4              $26,498.00

        TOTAL                                                                 380.8             $114,866.00




________________________
1
 KJ’s investigation of the amount, allowance, validity, priority, perfection, or extent of liens and claims asserted or held by
Wells Fargo is included within this category.
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                                   EXHIBIT G

            Summary of Expenses for the Final Fee Application Period

               Description                            Amounts
               Pacer                                    $209.60
               Research (Westlaw)                       $247.76
               Delaware UCC/Lien Searches               $611.00
               Nebraska Secretary of State Searches      $33.75
               Kansas UCC/Lien Searches                  $10.00
               Airfare/Parking – Chicago 7/11/17        $308.46
               Parking                                   $12.00
               FedEx                                   $1,250.82
               Public Records                             $7.40
               TOTAL                                   $2,690.79
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                                  EXHIBIT H
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                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEBRASKA
 
 
          In re:                                                         Chapter 11
                                                                          
          GORDMANS STORES, INC., et al.,1                                Case No. 17-80304 (TLS)
 
 
                                                                         (Jointly Administered)
                                     Debtors.
 
 
 
           FIRST MONTHLY FEE STATEMENT OF KOLEY JESSEN P.C., L.L.O. FOR
           COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
           EXPENSES INCURRED AS COUNSEL TO THE OFFICIAL COMMITTEE OF
            UNSECURED CREDITORS OF GORDMANS STORES, INC., ET AL. FROM
               MARCH 16, 2017 THROUGH AND INCLUDING MARCH 31, 2017
 
 
     

        Name of Applicant                              Koley Jessen P.C., L.L.O.
     

        Client                                         Official Committee of Unsecured Creditors
     

        Petition Date                                  March 13, 2017
     

        Date of Approval of Employment                 April 27, 2017 [Doc. No. 406]
     

        Fee Period                                     March 16, 2017 – March 31, 20172
     

        Total Hours Billed                             95.7
     

        Total Fees Requested                           $23,362.80 (80% of $29,203.50)
     

        Total Expenses Requested                       $80.30
     

        Total Fees and Expenses Requested              $23,443.10
     

        Prior Fees Paid to Applicant                   N/A
     

        Prior Expenses Paid to Applicant               N/A
 
 
          This is a:    X Monthly            Interim          Final Fee Application
 
 
 
 
 
 
    1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, include: Gordmans Stores, Inc. (1987); Gordmans, Inc. (1211); Gordmans Management Company, Inc.
    (5281); Gordmans Distribution Company, Inc. (5421); Gordmans Intermediate Holdings Corp. (9938); and Gordmans
    LLC (1987).
 
    2
      KJ reserves the right to include any time expended in the Fee Period in future application(s) if it is not included
    herein.
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           In accordance with the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals and Reimbursement of Creditors’

Committee Member Expenses, and (II) Granting Related Relief, entered on April 17, 2017, [Doc.

No. 351] (the “Interim Compensation Order”)3, Koley Jessen P.C., L.L.O. (“KJ”), local counsel

to the Official Committee of Unsecured Creditors (the “Committee”) of the debtors and debtors

in possession in the above-captioned cases (the “Debtors”), hereby submits this statement of fees

and expenses (the “First Monthly Fee Statement”) seeking compensation and reimbursement

of expenses for the period of March 16, 2017 through and including March 31, 2017 (the

“Fee Period”). By this First Monthly Fee Statement, K J seeks payment of: $23,362.80,

which represents 80 percent of the total amount of compensation sought for actual and necessary

professional services rendered during the Fee Period, and $80.30, which represents 100 percent of

KJ’s actual and necessary expenses incurred during the Fee Period.

                                  Services Rendered and Expenses Incurred

           1.       Attached as Exhibit A is a timekeeper summary that includes the names, positions,

and hourly rates of each professional and paraprofessional who billed time during the Fee Period.

           2.       Attached as Exhibit B is a project summary that includes the total hours spent by KJ

professionals and paraprofessionals per project category for the Fee Period.

           3.       Attached as Exhibit C is a summary of all expenses incurred by KJ during the

Fee Period.

           4.       Attached as Exhibit D are KJ’s detailed time and expense records of KJ for the Fee

Period.

    3
     Terms used but not otherwise defined herein shall have the meanings ascribed to them in the Interim Compensation
    Order.




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                        Total Fees and Expenses Sought for the Fee Period
 
 
       5.       The total amount sought for fees for services rendered and reimbursement of

expenses incurred for the Fee Period are as follows:

            Total Fees for the Fee Period                              $29,203.50
            Total Expenses for the Fee Period                          $    80.30
            TOTAL                                                      $29,283.80
 


       6.       Pursuant to the Interim Compensation Order, KJ seeks payment of $23,443.10,

which equals (i) 80 percent of KJ’s total fees for services rendered during the Fee Period and (ii)

100 percent of KJ’s total expenses incurred during the Fee Period.

            80% of Total Fees for the Fee Period                       $23,362.80
            100% Total Expenses for the Fee Period                     $    80.30
            TOTAL                                                      $23,443.10
 
                                Notice and Objections Procedures
 
       7.       No trustee or examiner has been appointed in these chapter 11 cases. In accordance

with the Interim Compensation Order, notice of this First Monthly Fee Statement has been served,

via overnight delivery and the Court’s ECF system, on: (i) the Debtors, Gordmans Stores, Inc.,

1926 South 67th Street, Omaha, Nebraska 68106, Attn: Andy Hall and James Brown; (ii) co-

counsel to the Debtors, Kutak Rock LLP, The Omaha Building, 1650 Farnam Street, Omaha,

Nebraska 68102, Attn: Jeffrey T. Wegner and Lisa M. Peters; (iii) co-counsel to the Debtors,

Kirkland & Ellis LLP, 300 North LaSalle Street, Chicago, Illinois 60654, Attn: Brad Weiland and

Jamie R. Netznik; (iv) the Office of the United States Trustee for the District of Nebraska, 111

South 18th Plaza, Suite 1148, Omaha, Nebraska 68102, Attn: Jerry L. Jansen; (v) co-counsel to the

administrative agent, Riemer Braunstein LLP, Seven Times Square, Suite 2506, New York, New

York 10036, Attn: Steven Fox and Donald E. Rothman; (vi) co-counsel to the administrative agent,

Greenberg Traurig, LLP, One International Place, Suite 2000, Boston, Massachusetts DeWitt

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Anderson & Gonderinger, L.L.C., 2120 South 72nd Street, Suite 1200, Omaha, Nebraska 68124,

Attn: Robert Gonderinger; and (viii) lead counsel to the Committee, Frost Brown Todd LLC,

3300 Great American Tower, 301 East Fourth Street, Cincinnati, Ohio 45202, Attn: Ronald E.

Gold and Douglas L. Lutz (the “Application Recipients”). KJ submits that no other or further

notice need be provided.

       8.      Pursuant to the Interim Compensation Order, objections to this First Monthly Fee

Statement, if any, must be served upon KJ and the Application Recipients no later than fourteen

days after service of the First Monthly Fee Statement (the “Review Deadline”) setting forth the

precise nature of the objection and the amount at issue.

       9.      If no objections to this First Monthly Fee Statement are made on or before the

Review Deadline and upon the filing of a certificate of no objection with this Court with respect

to the unopposed portion of the fees and expenses requested in the Fee Period by KJ, the Debtors

will pay KJ: (i) 80 percent of KJ’s total fees for services rendered during the Fee Period and (ii)

100 percent of KJ’s total expenses incurred during the Fee Period.

       10.     To the extent a Notice of Objection to Monthly Fee Statement is received on or

before the Review Deadline, the objecting party and KJ shall attempt to resolve the objection on a

consensual basis. If the parties reach an agreement, the Debtors shall promptly pay 80 percent of the

agreed-upon fees and 100 percent of the agreed-upon expenses. If, however, the parties are unable

to reach a resolution within 14 days after service of the Notice of Objection to Monthly Fee

Statement, the objecting party shall file its objection (the “Objection”) with this Court within 3

business days and serve such Objection on K J and each of the other Application Recipients.

Thereafter, K J may either (i) file with the Court a response to the Objection, together with a




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    request for payment of the Disputed Amount or (ii) forego payment of the Disputed Amount until

    the next interim fee application hearing at which time this Court will consider the Objection, if

    requested by the parties.

    Dated: May 8, 2017.                             Respectfully submitted,



                                                    /s/ Brian J. Koenig
                                                    Brian J. Koenig, #23807
                                                    KOLEY JESSEN P.C., L.L.O.
                                                    1125 South 103rd Street, Suite 800
                                                    Omaha, NE 68124
                                                    (402) 390-9500
                                                    (402) 390-9005 (fax)
                                                    Brian.Koenig@koleyjessen.com

                                                    Local Counsel for the
                                                    Official Committee of Unsecured Creditors




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                                     CERTIFICATE OF SERVICE

          I hereby certify that on May 8, 2017, I caused the filing of the foregoing with the Clerk of
    the Bankruptcy Court using the CM/ECF system, which was served on all parties receiving ECF
    notice in this case, and I further certify that on May 8, 2017, I caused the foregoing to be served
    via overnight delivery to the parties indicated below.



                                                          /s/ Brian   J. Koenig
 
Gordmans Stores, Inc.
Attn: Andy Hall and James Brown
1926 South 67th Street
Omaha, NE 68106
Debtors
Kirkland & Ellis LLP
Attn: Brad Weiland and Jamie R. Netznik
300 North LaSalle
Chicago, IL 60654
and
Kutak Rock LLP
Attn: Jeffrey T. Wegner and Lisa M. Peters
1650 Farnam Street
Omaha, NE 68102
Co-Counsel to the Debtors
Office of the United States Trustee
For the District of Nebraska
Attn: Jerry L. Jensen
111 South 18th Plaza, Suite 1148
Omaha, NE 68102
United States Trustee
Riemer Braunstein LLP
Attn: Steven Fox and Donald E. Rothman
Seven Times Square, Suite 2506
New York, NY 10036
and
Greenberg Traurig, LLP
Attn: Jeffrey M. Wolf
One International Place, Suite 2000
Boston, MA 02110
and
                                                    -6-
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 Croker Huck Kasher DeWitt Anderson &
 Gonderinger L.L.C.
 Attn: Robert Gonderinger
 2120 South 72nd Street, Suite 1200
 Omaha, NE 68124
 Co-Counsel to the Administrative Agent
 Frost Brown Todd LLC
 Attn: Ronald E. Gold and Douglas L. Lutz
 3300 Great American Tower
 301 East Fourth Street
 Cincinnati, OH 45202




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                                               EXHIBIT A
 
            Summary of Hours Billed by Professionals and Paraprofessional for the Fee Period

Name of Professional            Dept             Title       Year      Hourly    Total Hours      Total
                                                            Admitted    Rate        Billed     Compensation
Brian J. Koenig        Litigation, Banking,   Shareholder     2007     $295.00      70.3          $20,738.50
                       Finance & Creditors’
                       Rights

Donald L. Swanson      Litigation, Banking,   Shareholder     1980     $370.00      17.1           $6,327.00
                       Finance & Creditors’
                       Rights

Matthew J. Speiker     Banking, Finance &     Shareholder     2003     $310.00       5.3           $1,643.00
                       Creditors’ Rights

Teri R. Gibbons        Litigation              Paralegal               $165.00       3.0            $495.00

TOTAL                                                                               95.7          $29,203.50




 
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                                                                 EXHIBIT B
   
                                                     Summary of Time by Project Category
   
                                    Project Category                          Hours         Amount


      Case Administration                                                      4.4          $1,328.00

      Asset Analysis and Recovery                                              4.5          $1,327.50

      Asset Disposition                                                       54.7         $17,059.00

      Communications with Creditors                                            6.2          $2,031.50

      Fee/Employment Applications                                              6.2          $1,566.50

      Financing/Cash Collateral1                                               19.0         $5,684.50

      Motion for Relief from Stay                                               0.7         $ 206.50

      TOTAL                                                                   95.7         $29,203.50




                                                              
  1
    KJ’s investigation of the amount, allowance, validity, priority, perfection, or extent of liens and claims asserted
  or held by Wells Fargo commenced in this Fee Period, but the majority of the time and expense associated with
  that project will be included in the next monthly fee statement.
   
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                                      EXHIBIT C
     
                        Summary of Expenses for the Fee Period
     
              Description                           Amounts
              Reproductions
              Pacer                                  $80.30
              CD Duplication
              Air Fare
              Meals
              Taxi Service
              Lodging
              Parking
              Mileage
              Transportation – Car Rental
              Misc. Expense
              TOTAL                                 $80.30
     




     
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                                      EXHIBT D
     
                       Time and Expense Detail for the Fee Period




     
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                                                                                                                KOLEY JESSEN P.C., L.L.O.
                                                                                                                     ATTORNEYS AT LAW

                                                                                                             ONE PACIFIC PLACE, SUITE 800
                                                                                                               1125 SOUTH 103RD STREET
                                                                                                                        OMAHA, NE 68124

                                                                                                                     PHONE: 402.390.9500




           Official Committee of Unsecured Creditors for Gordmans Stores, Inc.
           c/o Jeff Pomerantz, Co-Chair                                                                                 April 28, 2017
           Pachulski Stang Ziehl & Jones                                                                                    Invoice #:
           10100 Santa Monica Blvd., 11th Floor
           Los Angeles, CA 90067                                                                              ID: 19279-0000-0009




Matter #               Matter Name                                                       Fees      Disbursements                Total

19279-0000-0009        Gordmans Chapter 11 Cases                                    $29,203.50            $80.30          $29,283.80

                                                     Total This Billing Period      $29,203.50            $80.30          $29,283.80
                                                                Total Current                                             $29,283.80

                                                         Total Amount Due                                                 $29,283.80


                                                     Payment Due Upon Receipt

                                                     Aged Outstanding Balance

                                                   Less Than             30 Days            60 Days              90+ Days
      Total Due              Current Due           30 Days               Past Due           Past Due             Past Due
      29,283.80             29,283.80             0.00                   0.00               0.00                 0.00




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Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                            Invoice #:
                                                                                                    ID: 19279-0000-0009



Fee Details

    Date         Time Narrative                                                           Tkpr   Hours              Amount
    03/16/2017   CC: Communications with Committee representatives on strategic           DLS     3.90              $1,443.00
                 matters and next steps (1.1); CC: evaluate next steps; initial meeting
                 with Committee representatives and Debtors' representatives (1.1);
                 FEA: begin preparation of application documents and conflict checks
                 (1.7).

    03/16/2017   CC: Call with co-counsel and committee chair regarding engagement, BJK           5.60              $1,652.00
                 next steps, division of labor, and immediate action items; and notes to
                 file regarding same (1.1); AD: call with debtors' counsel and financial
                 advisers regarding case background, financial situation, potential
                 buyers, and options; and notes to file regarding same (1.0); CA:
                 coordinate pro hac vice admission and CM/ECF registration for
                 co-counsel (.2); AAR: receive and review email communications from
                 debtors' financial adviser and counsel regarding access to data room
                 (.1); CA: review and analyze bankruptcy court docket and first-day
                 motions and orders (3.2).


    03/17/2017   AD: Confer with co-counsel on developments with potential               DLS      2.60                $962.00
                 purchasers (.2); AD: evaluate procedural matters for Monday's hearing
                 and strategies for securing additional time (1.8); AD: telephone
                 conference with Committee on sale efforts, prospects and progress (.6).


    03/17/2017   FEA: Review the Bankruptcy Code and the Nebraska Rules regarding TRG             0.40                 $66.00
                 employment of counsel by the unsecured creditor committee,the
                 docket of the lead case Gordmans Stores Inc., the Voluntary Petition
                 and Notice of the Appointment of the Unsecured Creditors Committee.


    03/17/2017   FEA: Prepare a draft Application for an Order Authorizing                TRG     2.60                $429.00
                 Employment and Retention of Koley Jessen as local counsel for the
                 Official Committee of Unsecured Creditors and the Declaration of
                 Brian J. Koenig in support thereof.


    03/17/2017   AD: Call with Jeff Gordman and his advisers regarding potential         BJK      5.80              $1,711.00
                 interest in an ongoing concern transaction, challenges related to same,
                 and potential timing issues (.6); CC: prepare for and attend call with
                 committee regarding status of matters and expected next steps (.6);
                 AD: review, edit, and analyze draft of Objection to Bidding
                 Procedures (2.8); AD: review and analyze Limited Objection of ARC,
                 Brixmor, and Centercal (Landlords) to Bidding Procedures (.5); AD:
                 receive and review debtors' list of exhibits in support of Bidding
                 Procedures Motion and consider possible issues related to the same
                 (.3); AD: receive and review Declaration of Ed Mielke and consider
                 issues associated with the same (.9); AD: receive and review debtors'
                 notice of intent to present oral testimony in support of bid procedures
                 (.1).

    03/18/2017   AD: Review Stalking Horse Agency Agreement (1.3); AD: consider         DLS       2.30                $851.00
                 multiple emails on latest developments with negotiations and respond
                 regarding guaranty amount issues (.5); AD: receipt and review of draft
                 objection document and provide a suggestion in response (.5).




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Fee Details

    Date         Time Narrative                                                            Tkpr   Hours               Amount
    03/18/2017   AD: Review and analyze Eighth Circuit law regarding leases and            BJK      5.00              $1,475.00
                 consider implication of same related to potential administrative
                 expenses of estate and effect of the same on proposed bidding
                 procedures (1.1); AD: attorney conference regarding issues to address
                 in objection and potential evidentiary issues (.5); AD: begin preparing
                 for potential deposition or cross examination of Ed Mielke, financial
                 adviser for Duff & Phelps, regarding sale process and marketing
                 efforts (2.9); AD: review revised draft of objection to bidding
                 procedures and provide comments regarding the same (.5).


    03/19/2017   AD: Evaluate latest developments and issues relating to Monday's          DLS      1.20                $444.00
                 meetings and hearing, and address procedural matters.


    03/19/2017   AD: Attorney conference regarding next steps and procedural and        BJK         3.20                $944.00
                 evidentiary issues (.2); AD: receive and review email from Sam King
                 regarding objection to Bid Procedures Motion (.1); AD: review emails
                 from Paul Huygens, financial adviser, regarding potential evidence
                 (.3); AD: email to Mr. Huygens regarding same (.2); AD: review, edit,
                 and analyze revised objection to bid procedures (1.3); AD: coordinate
                 meetings with debtors' counsel and stalking horse bidder (.2); CA:
                 prepare notice of appearance and coordinate filing of same (.1); AD:
                 attorney conference regarding final edits to objection, case strategy,
                 and next steps (.5); AD: review and analyze Objection of Shackelford
                 Crossing to Bid Procedures (.3).


    03/20/2017   AD: Evaluate latest developments and issues to be addressed (.4); AD: DLS          2.80              $1,036.00
                 meeting with Committee representatives in preparation for action on
                 procedures motion (1.0); AD: monitor hearing on procedures motion
                 (1.4).

    03/20/2017   AD: Meeting with Carol Cabello, financial adviser to committee           BJK      11.10              $3,274.50
                 regarding augmentation issue and her thoughts regarding same (.5);
                 AD: meeting with debtors' counsel and stalking horse's counsel
                 regarding potential modifications to bid procedures and protections
                 (.8); AD: meeting with counsel for secured lenders regarding same
                 (.4); AD: negotiate, edit and revise bid procedures (.9); AD: review and
                 analyze objections filed to bid procedures and bid protections by
                 landlords, Jeff Gordman, Comenity Bank, DSW, and Hilco and Gordon
                 Brothers (1.3); CC: call with committee regarding potential deal and
                 rationale for the same (.5); AD: meetings with debtors' counsel and
                 stalking horse's counsel regarding revised potential modifications to
                 bid procedures and protections (.5); AD: review and edit proposed
                 order; attorney conference regarding same (.9); AD: attend court
                 hearing on bid protections and bid procedures and take notes
                 regarding results of the same (3.1); AD: continue work with debtors'
                 counsel and secured lenders' counsel editing and revising order
                 granting Motion to Approve Bid Protections (2.2).


    03/21/2017   AD: Follow-up on developments from yesterday's negotiations and           DLS      1.80                $666.00
                 hearing (.9); AD: receipt and review of Province report (.9).




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Fee Details

    Date             Time Narrative                                                           Tkpr   Hours              Amount
    03/21/2017       CC: Attend call with committee to discuss results of hearing, walk       BJK     4.50              $1,327.50
                     through presentation by Province, and discuss next steps (.6); FCC:
                     begin reviewing UCC Financing Statement filed by debtors' secured
                     lenders to ensure that security interests were properly perfected (1.1);
                     FCC: review names of debtors on file with secretary of states (.3); AD:
                     attorney conference regarding next steps and reaching out to potential
                     bidder's counsel (.3); CA: attorney communication regarding local
                     rules related to proposed orders and how to submit the same (.1); CA:
                     review and analyze Notice of Potential Assumption and Assignment of
                     Executory Contracts (.2); AAR: email exchange with committee
                     members regarding same and timing of investigations into potential
                     avoidance claims (.8); FCC: review and analyze Motion to Authorize
                     Post-Petition Use of Cash Collateral and consider issues related to the
                     same (1.1)

    03/22/2017       FCC: Attorney conference regarding cash collateral issues to address; BJK        1.40                $413.00
                     note to file regarding same (.2); FCC: call with Steven Fox and Jeff
                     Wolf regarding timing of cash collateral issues, next steps regarding
                     review of documents, and plan going forward (.5); FCC: attorney
                     conference regarding next steps and plan to address cash collateral
                     motion (.1); AD: receive and review order establishing bidding
                     procedures and protections (.2); FCC: review and analyze comparison
                     of material terms proposed in cash collateral motion in Gordman
                     stores and other similar cases (.4).


    03/23/2017       FCC: Call with Debtors' counsel regarding cash collateral order issues BJK       3.70              $1,091.50
                     (.3); FCC: attorney conference regarding cash collateral order issues
                     (.2); FCC: receive, review and edit draft of proposed cash collateral
                     order from counsel to secured lenders, consider additional potential
                     issues related to the same and begin preparing redline of the same
                     (3.2).

    03/24/2017       FCC: Continue to review, edit and analyze proposed cash collateral       BJK     3.90              $1,150.50
                     order and make redline changes to the same (1.4); FEA: review and
                     analyze Application to Employ Duff & Phelps Securities, LLC (.2);
                     FEA: review and analyze Application to Retain Kirkland & Ellis and
                     consider the same (.4); CC: call from clothing supplier's attorney
                     regarding 503(b)(9) claim (.2); FCC: attorney conference regarding
                     503(b)(9) claim and cash collateral order (.3); AD: receive and review
                     email from attorney for Tiger Capital regarding Additional Agent
                     Merchandise (.2); MRS: receive and review Motion for Relief from
                     Automatic Stay filed by DSW and consider effect of the same (.7);
                     FEA: review Application to Employ Clear Thinking Group, LLC (.2).


    03/25/2017       CA: Review communications to committee regarding recent filings (.1); BJK        0.80                $236.00
                     FEA: begin reviewing Application for Retention of Koley Jessen (.5);
                     FEA: review Debtors' Motion for Authority to Retain and Compensate
                     Professionals utilized in the ordinary course of business (.2).




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Fee Details

    Date         Time Narrative                                                          Tkpr   Hours              Amount
    03/27/2017   CA: Follow-up on deadlines and tomorrow's time for responding to        DLS     0.90                $333.00
                 cure amounts and related procedural issues (.4); CC: respond to
                 inquiries from creditor counsel (.5).


    03/27/2017   AD: Attorney conference regarding communication with counsel for        BJK     1.00                $295.00
                 Jeff Gordman (.2); AD: receive and review objections to proposed cure
                 amounts (.5); AD: receive and review email from Mack Snyder with
                 copies of Tiger Capital's purchase orders for additional agent
                 merchandise (.3).

    03/28/2017   FCC: Commenced review and analysis of senior credit documents.          MJS     0.60                $186.00

    03/28/2017   AD: Review summary of objections to proposed cure amounts (.5);         BJK     4.80              $1,416.00
                 AAR: review and analyze bankruptcy schedules and statements of
                 financial affairs (2.8); AD: review and analyze proposed asset
                 purchase agreement and provide comments to the same (1.5).


    03/29/2017   AD: Receipt and initial evaluation of proposed deal documents from      DLS     1.60                $592.00
                 Stage and related parties.


    03/29/2017   FCC: Continued commenced review of senior credit documents.             MJS     0.50                $155.00

    03/29/2017   AD: Analyze, review and compare bids of the stalking horse bidder      BJK      9.20              $2,714.00
                 and the joint venture bidder with the ongoing concern component
                 (4.9); AD: negotiate terms of a revised asset purchase agreement and
                 agency agreement to provide for a similar, if not better, recovery for
                 the unsecured creditor class (2.8); CC: attend call with committee
                 regarding results of preliminary negotiations, financial advisor's
                 analysis regarding recovery pool under either scenario, and next steps
                 and take notes to file regarding the same (.5); AD: continue
                 negotiations and review of revised asset purchase agreement and
                 agency agreement (1.0).
    03/30/2017   FCC: Continued review of Wells Fargo loan documents.                    MJS     3.00                $930.00

    03/30/2017   AD: Receive and review auction results filing (.2); AD: receive and  BJK        3.10                $914.50
                 review Objection of Design Research, Inc./Branded Custom
                 Sportswear (.1); AD: review and analyze revised draft of APA and
                 Agency Agreement (.7); AAR: attorney conference with representative
                 of Comenity Bank regarding recoupment issue (.5); AD: attend status
                 hearing to report results from auction (1.0); AD: review and analyze
                 revised draft of APA and Agency Agreement (.5); AD: receive and
                 review text orders of court related to status hearing (.1).


    03/31/2017   FCC: Continued review and analysis of Wells Fargo loan documents.       MJS      1.20               $372.00




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Fee Details

    Date             Time Narrative                                                      Tkpr        Hours              Amount
    03/31/2017       AAR: Attorney conference regarding recoupment issues related to       BJK        7.20              $2,124.00
                     Comenity Bank (.3); FCC: attend to issues regarding objecting to cash
                     collateral motion (.5); AD: review proposed sale order and consider
                     potential issues with the same (2.2); FCC: edit, revise, and analyze
                     draft of objection to Motion for Authorization to Use Cash Collateral
                     (4.2).




    Disbursement Details
                     Type                                                                                                Amount

                     Advanced Costs for Public Records                                                                     $80.30


                                                           Invoice Summary

                                        Total Fees                                      $29,203.50
                                        Total Disbursements                                 $80.30
                                        Total This Billing Period                       $29,283.80

                                        Previous Balance Due                                 $0.00
                                        Less Payments Received                               $0.00

                                        Total Due                                      $29,283.80




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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEBRASKA

      In re:                                                         Chapter 11

      GORDMANS STORES, INC., et al.,1                                Case No. 17-80304 (TLS)

                                                                     (Jointly Administered)
                                 Debtors.


       SECOND MONTHLY FEE STATEMENT OF KOLEY JESSEN P.C., L.L.O. FOR
       COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
        EXPENSES INCURRED AS COUNSEL TO THE OFFICIAL COMMITTEE OF
         UNSECURED CREDITORS OF GORDMANS STORES, INC., ET AL. FROM
              APRIL 1, 2017 THROUGH AND INCLUDING APRIL 30, 2017


    Name of Applicant                              Koley Jessen P.C., L.L.O.
    Client                                         Official Committee of Unsecured Creditors
    Petition Date                                  March 13, 2017
    Date of Approval of Employment                 April 27, 2017 [Doc. No. 406]
    Fee Period                                     April 1, 2017 – April 30, 20172
    Total Hours Billed                             129.10
    Total Fees Requested                           $30,578.80 (80% of $38,223.50)
    Total Expenses Requested                       $926.08
    Total Fees and Expenses Requested              $31,504.88
    Prior Fees Paid to Applicant                   $23,362.80
    Prior Expenses Paid to Applicant               $80.30

      This is a: X Monthly               Interim          Final Fee Application




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Gordmans Stores, Inc. (1987); Gordmans, Inc. (1211); Gordmans Management Company, Inc.
(5281); Gordmans Distribution Company, Inc. (5421); Gordmans Intermediate Holdings Corp. (9938); and Gordmans
LLC (1987).
2
  KJ reserves the right to include any time expended in the Fee Period in future application(s) if it is not included
herein.
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          In accordance with the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals and Reimbursement of Creditors’

Committee Member Expenses, and (II) Granting Related Relief, entered on April 17, 2017, [Doc.

No. 351] (the “Interim Compensation Order”)3, Koley Jessen P.C., L.L.O. (“KJ”), local counsel

to the Official Committee of Unsecured Creditors (the “Committee”) of the debtors and debtors

in possession in the above-captioned cases (the “Debtors”), hereby submits this statement of fees

and expenses         (the “Second Monthly Fee                 Statement”)     seeking compensation             and

reimbursement of expenses for the period of April 1, 2017 through and including April 30,

2017 (the “Fee Period”). By this Second Monthly Fee Statement, K J seeks payment of:

$30,578.50, which represents 80 percent of the total amount of compensation sought for actual

and necessary professional services rendered during the Fee Period, and $926.08, which represents

100 percent of KJ’s actual and necessary expenses incurred during the Fee Period.

                               Services Rendered and Expenses Incurred

          1.     Attached as Exhibit A is a timekeeper summary that includes the names, positions,

and hourly rates of each professional and paraprofessional who billed time during the Fee Period.

          2.     Attached as Exhibit B is a project summary that includes the total hours spent by KJ

professionals and paraprofessionals per project category for the Fee Period.

          3.     Attached as Exhibit C is a summary of all expenses incurred by KJ during the

Fee Period.

          4.     Attached as Exhibit D are KJ’s detailed time and expense records of KJ for the Fee

Period.

 3
  Terms used but not otherwise defined herein shall have the meanings ascribed to them in the Interim Compensation
 Order.




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                        Total Fees and Expenses Sought for the Fee Period

       5.       The total amount sought for fees for services rendered and reimbursement of

expenses incurred for the Fee Period are as follows:

            Total Fees for the Fee Period                              $38,223.50
            Total Expenses for the Fee Period                          $ 926.08
            TOTAL                                                      $39,149.58

       6.       Pursuant to the Interim Compensation Order, KJ seeks payment of $30,578.80,

which equals (i) 80 percent of KJ’s total fees for services rendered during the Fee Period and (ii)

100 percent of KJ’s total expenses incurred during the Fee Period.

            80% of Total Fees for the Fee Period                       $30,578.80
            100% Total Expenses for the Fee Period                     $ 926.08
            TOTAL                                                      $31,504.88

                                Notice and Objections Procedures

       7.       No trustee or examiner has been appointed in these chapter 11 cases. In accordance

with the Interim Compensation Order, notice of this Second Monthly Fee Statement has been

served, via overnight delivery and the Court’s ECF system, on:         (i) the Debtors, Gordmans

Stores, Inc., 1926 South 67th Street, Omaha, Nebraska 68106, Attn: Andy Hall and James

Brown; (ii) co- counsel to the Debtors, Kutak Rock LLP, The Omaha Building, 1650 Farnam

Street, Omaha, Nebraska 68102, Attn: Jeffrey T. Wegner and Lisa M. Peters; (iii) co-counsel to

the Debtors, Kirkland & Ellis LLP, 300 North LaSalle Street, Chicago, Illinois 60654, Attn: Brad

Weiland and Jamie R. Netznik; (iv) the Office of the United States Trustee for the District of

Nebraska, 111 South 18th Plaza, Suite 1148, Omaha, Nebraska 68102, Attn: Jerry L. Jansen; (v)

co-counsel to the administrative agent, Riemer Braunstein LLP, Seven Times Square, Suite 2506,

New York, New York 10036, Attn: Steven Fox and Donald E. Rothman; (vi) co-counsel to the

administrative agent, Greenberg Traurig, LLP, One International Place, Suite 2000, Boston,

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Massachusetts DeWitt Anderson & Gonderinger, L.L.C., 2120 South 72nd Street, Suite 1200,

Omaha, Nebraska 68124, Attn: Robert Gonderinger; and (viii) lead counsel to the Committee,

Frost Brown Todd LLC, 3300 Great American Tower, 301 East Fourth Street, Cincinnati,

Ohio 45202, Attn: Ronald E. Gold and Douglas L. Lutz (the “Application Recipients”). KJ

submits that no other or further notice need be provided.

       8.      Pursuant to the Interim Compensation Order, objections to this Second Monthly

Fee Statement, if any, must be served upon KJ and the Application Recipients no later than

fourteen days after service of the Second Monthly Fee Statement (the “Review Deadline”) setting

forth the precise nature of the objection and the amount at issue.

       9.      If no objections to this Second Monthly Fee Statement are made on or before

the Review Deadline and upon the filing of a certificate of no objection with this Court with

respect to the unopposed portion of the fees and expenses requested in the Fee Period by KJ, the

Debtors will pay KJ: (i) 80 percent of KJ’s total fees for services rendered during the Fee Period

and (ii) 100 percent of KJ’s total expenses incurred during the Fee Period.

       10.     To the extent a Notice of Objection to Monthly Fee Statement is received on or

before the Review Deadline, the objecting party and KJ shall attempt to resolve the objection on a

consensual basis. If the parties reach an agreement, the Debtors shall promptly pay 80 percent of the

agreed-upon fees and 100 percent of the agreed-upon expenses. If, however, the parties are unable

to reach a resolution within 14 days after service of the Notice of Objection to Monthly Fee

Statement, the objecting party shall file its objection (the “Objection”) with this Court within 3

business days and serve such Objection on K J and each of the other Application Recipients.

Thereafter, K J may either (i) file with the Court a response to the Objection, together with a




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request for payment of the Disputed Amount or (ii) forego payment of the Disputed Amount until

the next interim fee application hearing at which time this Court will consider the Objection, if

requested by the parties.

 Dated: May 30, 2017.                           Respectfully submitted,



                                                /s/ Brian J. Koenig
                                                Brian J. Koenig, #23807
                                                KOLEY JESSEN P.C., L.L.O.
                                                1125 South 103rd Street, Suite 800
                                                Omaha, NE 68124
                                                (402) 390-9500
                                                (402) 390-9005 (fax)
                                                Brian.Koenig@koleyjessen.com

                                                Local Counsel for the
                                                Official Committee of Unsecured Creditors




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 30, 2017, I caused the filing of the foregoing with the Clerk of
 the Bankruptcy Court using the CM/ECF system, which was served on all parties receiving ECF
 notice in this case, and I further certify that on May 30, 2017, I caused the foregoing to be served
 via overnight delivery to the parties indicated below.



                                                       /s/ Brian J. Koenig

Gordmans Stores, Inc.
Attn: Andy Hall and James Brown
1926 South 67th Street
Omaha, NE 68106
Debtors
Kirkland & Ellis LLP
Attn: Brad Weiland and Jamie R. Netznik
300 North LaSalle
Chicago, IL 60654
and
Kutak Rock LLP
Attn: Jeffrey T. Wegner and Lisa M. Peters
1650 Farnam Street
Omaha, NE 68102
Co-Counsel to the Debtors
Office of the United States Trustee
For the District of Nebraska
Attn: Jerry L. Jensen
111 South 18th Plaza, Suite 1148
Omaha, NE 68102
United States Trustee
Riemer Braunstein LLP
Attn: Steven Fox and Donald E. Rothman
Seven Times Square, Suite 2506
New York, NY 10036
and
Greenberg Traurig, LLP
Attn: Jeffrey M. Wolf
One International Place, Suite 2000
Boston, MA 02110
and

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 Croker Huck Kasher DeWitt Anderson &
 Gonderinger L.L.C.
 Attn: Robert Gonderinger
 2120 South 72nd Street, Suite 1200
 Omaha, NE 68124
 Co-Counsel to the Administrative Agent
 Frost Brown Todd LLC
 Attn: Ronald E. Gold and Douglas L. Lutz
 3300 Great American Tower
 301 East Fourth Street
 Cincinnati, OH 45202




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                                                EXHIBIT A

            Summary of Hours Billed by Professionals and Paraprofessional for the Fee Period

Name of Professional           Dept              Title       Year      Hourly    Total       Total
                                                            Admitted    Rate     Hours    Compensation
                                                                                 Billed
Brian J. Koenig        Litigation, Banking,   Shareholder     2007     $295.00    61         $17,995.00
                       Finance & Creditors’
                       Rights

Donald L. Swanson      Litigation, Banking,   Shareholder     1980     $370.00    22.7        $ 8,399.00
                       Finance & Creditors’
                       Rights

Matthew J. Speiker     Banking, Finance &     Shareholder     2003     $310.00    29.6        $ 9,176.00
                       Creditors’ Rights

Maureen E. Fulton      Litigation               Staff         2012     $185.00    8.1         $ 1,498.50
                                               Attorney
Sandra L. Armstrong    Litigation              Paralegal               $150.00    4.8           $720.00

Kimberly D. Nelson                             Paralegal               $150.00    2.9           $435.00

TOTAL                                                                            129.1       $38,223.50
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                                                   EXHIBIT B

                                 Summary of Time by Project Category

                       Project Category                                Hours             Amount


      Case Administration                                                 6.6           $ 2,187.00

      Asset Analysis and Recovery                                         0.8           $    236.00

      Asset Disposition                                                   10.3         $ 3,173.50

      Communications with Creditors                                       2.0           $ 740.00

      Fee/Employment Applications                                         12.7          $ 4,249.00

      Financing/Cash Collateral 1                                         84.2          $23,950.00

      Comentiy Bank Dispute                                              12.5           $ 3,687.50

      TOTAL                                                            129.10         $38,223.50




  1
   KJ’s investigation of the amount, allowance, validity, priority, perfection, or extent of liens and claims asserted
  or held by Wells Fargo commenced in the First Fee Period, but the majority of the time and expense associated
  with that project is included in this Second Monthly Fee Statement.
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                                            EXHIBIT C

                              Summary of Expenses for the Fee Period

         Description                             Amounts
         Reproductions
         Pacer                                              $100.10
         CD Duplication
         Air Fare
         Meals
         Taxi Service
         Lodging
         Parking                                             $12.00
         Mileage
         Transportation – Car Rental
         Research (Westlaw)                                 $159.23
         Delaware UCC/Lien Searches                         $611.00
         Nebraska Secretary of State Searches                $33.75
         Kansas UCC/Lien Seraches                            $10.00
         Misc. Expense
         TOTAL                                              $926.08
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                                          EXHIBIT D
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                                                                                                           KOLEY JESSEN P.C., L.L.O.
                                                                                                                ATTORNEYS AT LAW

                                                                                                        ONE PACIFIC PLACE, SUITE 800
                                                                                                          1125 SOUTH 103RD STREET
                                                                                                                   OMAHA, NE 68124

                                                                                                                PHONE: 402.390.9500




           Official Committee of Unsecured Creditors for Gordmans Stores, Inc.
           c/o Jeff Pomerantz, Co-Chair                                                                            May 18, 2017
           Pachulski Stang Ziehl & Jones                                                                              Invoice #:
           10100 Santa Monica Blvd., 11th Floor
                                                                                                         ID: 19279-0000-0009
           Los Angeles, CA 90067




Matter #               Matter Name                                                    Fees    Disbursements                Total

19279-0000-0009        Gordmans Chapter 11 Cases                                 $38,223.50         $926.08          $39,149.58

                                                     Total This Billing Period   $38,223.50         $926.08          $39,149.58
                                                                Total Current                                        $39,149.58

                                                         Total Amount Due                                            $39,149.58




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Fee Details

Date             Time Narrative                                                            Tkpr   Hours              Amount
04/01/2017       CBD: Review and analyze Comenity Bank agreement and consider              BJK     3.70              $1,091.50
                 potential arguments that Comenity Bank could make under the same
                 and the potential effect of the same (1.3); CBD: review and analyze
                 law on recoupment and consider issues related to its connection to a
                 fraudulent inducement claim (2.4).

04/02/2017       FCC: Review, analyze, and edit objection to cash collateral motion (.9); BJK      3.30                $973.50
                 CBD: compile written analysis of case law and thoughts regarding
                 Comenity Bank's recoupment and fraudulent inducement claims and
                 potential violation of the automatic stay (2.3); FCC: email exchange
                 with financial advisor regarding loan documents (.1).


04/03/2017       CA: Receipt and review of Court filings (.5); FCC: evaluate cash          DLS     1.50                $555.00
                 collateral issues and stub rent issues (1.0).


04/03/2017       CBD: Attention to Comenity Bank issue regarding fraudulent              BJK       6.50              $1,917.50
                 inducement claim, including call with debtors' counsel to discuss
                 debtors' thoughts and obtain additional background information (.6);
                 CBD: call with Rob Berner, counsel for Comenity Bank, and Lisa
                 Peters, counsel for debtors, regarding potentially escrowing money
                 and resolving dispute; notes to file regarding same (.5);FCC: review
                 and analyze prepetition secured lender consent fee analysis and
                 consider potential arguments in favor of or in resistance to proposed
                 consent fees (.8);FCC: review, analyze and edit revised cash collateral
                 order received from counsel for secured lender (3.1); FCC: review and
                 analyze objections to cash collateral motion received from landlords
                 (.9); CA: receive and review objection of Rhonda Grieger and consider
                 what the same relates to (.1); CA: review and analyze correspondence
                 from Reclaimation creditors' counsel (.2); AD: receive and review
                 correspondence from counsel for Connection regarding licenses and
                 consider how the same relate to the APA with Specialty Retailers (.3).


04/04/2017       FCC: Review cash collateral issues (.6); CA: consider potential           DLS     1.40                $518.00
                 objection to retention application (.3); FCC: evaluate Wells Fargo lien
                 issues (.5).
04/04/2017       FCC: Preparation of notebooks and indexes regarding copies of             SLA     2.30                $345.00
                 objections filed related to Filing Nos. 24 and 154/157 for use at
                 hearing.
04/04/2017       FCC: Review and analysis of issues regarding debtor’s motion              MJS     0.50                $155.00
                 regarding cash collateral and p-card agreements.




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Inc.                                                                                               ID: 19279-0000-0009



Fee Details

Date             Time Narrative                                                         Tkpr    Hours              Amount
04/04/2017       AD: Review and analyze latest revised draft of sale approval order (.9); BJK    7.10              $2,094.50
                 CA: receive and review Notice of Reclamation Demand from counsel
                 for Ocean Drive Accessories (.1); FCC: continue reviewing, analyzing,
                 and editing cash collateral objection (2.8); FEA: call to U.S. Trustee's
                 office to ensure any order entered with respect to the retention of
                 professionals does not prejudice rights to object to reasonableness of
                 fees (.2); FEA: receive and review email from Jerry Jensen regarding
                 review of any proposed order approving retention of professionals (.1);
                 CBD: call with counsel for Comenity Bank regarding potential
                 resolution of recoupment issue; notes to file regarding same (.4); CBD:
                 attorney conference regarding potential terms for resolution of
                 recoupment issue (.5); AD: review and analyze Comenity Bank's
                 comments regarding sale order (.2);FCC: receive and review various
                 objections to cash collateral motion and approval of sale and ensure
                 that the same are being addressed in proposed orders (1.9).


04/05/2017       CA: Consider stub rent and lease rejection issues and developments in DLS       1.80                $666.00
                 light of Eighth Circuit law (.8); CC: consider shrinkage and adequate
                 protection issues (1.0).


04/05/2017       FCC: Additional preparation of notebooks and indexes regarding           SLA    2.50                $375.00
                 copies of objections filed related to Filing Nos. 24 and 154/157 for use
                 at hearing (2.4); FCC: attorney conference re finalizing notebooks and
                 indexes (.1).

04/05/2017       FCC: Commenced preparation of memorandum detailing analysis            MJS      2.20                $682.00
                 from review of loan documents.


04/05/2017       AD: Review and analyze Gordmans' Agreement with DSW, consider           BJK     7.70              $2,271.50
                 concerns of DSW, consider potential resolutions to the same, and
                 prepare proposal to DSW (3.9); AD: conference with DSW's counsel
                 and CFO regarding potential resolution to objection to sale and motion
                 for relief from stay (.5); AD: prepare for and attend hearing on
                 approval of sale and entry of cash collateral order (2.5); AD: review
                 and analyze draft of revised order approving sale (.2); CBD: conference
                 with debtors' counsel regarding recoupment issue and how to proceed
                 to address the same (.5); CA: receive and review text orders from court
                 on Motion to Use Cash Collateral, approval of bid protections, and
                 extension of deadline to respond to DSW's Motion for Relief (.1).


04/06/2017       FCC: Review Wells Fargo lien issues and documentation questions.       DLS      1.90                $703.00

04/06/2017       FCC: Continued working on memorandum regarding analysis of loan        MJS      1.30                $403.00
                 documents.
04/06/2017       FCC: Analyzed lien search results for debtors.                         MJS      1.90                $589.00

04/06/2017       AAR: Receive and review email from Carol Cabello with Province's       BJK      0.80                $236.00
                 update regarding the financial condition of the bankruptcy estate.




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Fee Details

Date             Time Narrative                                                         Tkpr    Hours              Amount
04/07/2017       AD: Receipt and review of Court Order approving sale and consider      DLS      1.30                $481.00
                 related issues.



04/07/2017       FCC: Continued attention toward preparation of lien-search             MJS      1.50                $465.00
                 memorandum and analyzed issues regarding the same.




04/10/2017       FCC: Finalize first iteration of analysis of Wells Fargo loan documents MJS     5.90              $1,829.00
                 and items requiring further analysis with respect thereto.


04/10/2017       FCC: Attorney conference regarding investigation of validity of          BJK    3.30                $973.50
                 secured financing (.3); FCC: email to debtor's counsel regarding
                 obtaining access to employees for informal interviews related to
                 investigation of validity of secured financing (.3); FCC: review online
                 profiles of individuals who may have knowledge of secured financing
                 (.3); CBD: email to debtor's counsel regarding information related to
                 dispute with Comenity Bank (.2); CBD: attorney conference regarding
                 next steps related to Comenity Bank dispute and possible strategies
                 regarding same (.1); CBD: prepare litigation hold notice for delivery to
                 Comenity Bank (.4); FCC: review draft of report/memo regarding
                 review of loan documents and questions that need to be asked of
                 c-suite folks at Gordmans (.9); CBD: consider potential information
                 gathering devices to use to gather information related to Comenity
                 Bank dispute and potentially relevant sources of information (.8).

04/11/2017       FCC: Evaluate lien validity issues (2.2); FEA: evaluate disclosure     DLS      2.50                $925.00
                 issues (.3).
04/11/2017       CBD: Finalize and send litigation hold letter to counsel for Comenity BJK       0.70                $206.50
                 Bank (.3); FCC: email exchange with debtor's counsel regarding
                 scheduling informal interview with c-suite executives with knowledge
                 regarding financing from Wells Fargo (.4).


04/12/2017       FEA: Preparation of application information (.8); CC: respond to       DLS      1.10                $407.00
                 inquiry from unsecured creditor (.3).


04/13/2017       FCC: Review lien details and issues (1.4); CA: review upcoming         DLS      1.60                $592.00
                 deadlines (.2).
04/13/2017       FCC: Prepare for and attend call with counsel to unsecured creditors   MJS      1.50                $465.00
                 regarding Wells Fargo loan matters.


04/13/2017       FCC: Direct research and analysis regarding requirements for valid     MJS      0.50                $155.00
                 lien grant.




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Date             Time Narrative                                                         Tkpr   Hours              Amount
04/13/2017       FCC: Attorney conference regarding review of Wells Fargo loan         BJK      3.00                $885.00
                 documents and potential issues associated with the same (.7); FCC:
                 review and analyze Fifth Amendment to Loan Agreement and
                 consider issue associated with "Acknowledgement of Security Interest"
                 opposed to "grant of security interest" and other potential issues
                 associated with such amendment (.8); FCC: consider issues associated
                 with timing of formation of Gordmans Stores, Inc., its
                 purchase/ownership of inventory/AR, and grant of security interest
                 (1.5).
04/13/2017       FCC: Research regarding what language is required to constitute a      MEF     1.20                $222.00
                 grant of security interest under Delaware law (1.0); FCC: attorney
                 conference to discuss same (.2).
04/14/2017       AD: Review sale issues to be addresses (.5); FCC: follow up on lien    DLS     1.00                $370.00
                 grant issues (.5).
04/14/2017       FCC: Continued review and analysis of Wells Fargo loan documents       MJS     2.40                $744.00
                 and consider items for further inquiry of debtor employees.


04/14/2017       CBD: Prepare for and attend call with committee to discuss Comenity BJK        0.60                $177.00
                 Bank issue and status of lien investigation.


04/16/2017       FCC: Research cases in New York and Delaware in which granting         MEF     1.30                $240.50
                 language was or was not present in security agreements and what
                 effect that had on the outcome of the case.


04/17/2017       FEA: Receipt and review of Order for interim compensation (.6); FCC: DLS       1.20                $444.00
                 address lien issues (.4); CC: respond to inquiries from creditor counsel
                 (.2).


04/17/2017       FCC: Continued review of senior loan document and analysis of          MJS     1.30                $403.00
                 potential issues regarding the same.


04/17/2017       FCC: Review and analyze the Fourth Amendment to Loan, Guaranty BJK             4.40              $1,298.00
                 and Security Agreement, Exhibit A to the same, the Fifth
                 Amendment, the Sixth Amendment, the Seventh Amendment, and the
                 Eighth Amendment and consider whether the possible absence of a
                 signature on Exhibit A to the Fourth Amendment causes Wells
                 Fargo's lien to be unperfected for the lack of a grant of security
                 interest or whether other language will suffice (3.1); FCC: attorney
                 conference regarding whether Gordmans Stores, Inc. ever effectively
                 granted Wells Fargo a security interest (.9); FCC: email to Lisa Peters,
                 counsel for Debtors, regarding whether Gordmans signed Exhibit A to
                 Fourth Amendment, topics to be discussed with Gordmans Controller
                 and Director of Finance, and other ancillary issues (.4).

04/17/2017       FCC: Research cases in New York and Delaware in which granting         MEF     4.00                $740.00
                 language was or was not present in security agreements and what
                 effect that had on the outcome of the case (2.9); FCC: attorney
                 conference to discuss same (.3); FCC: research cases in which an
                 unsigned, blacklined contract was attached as the operative contract
                 (.8).



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Date             Time Narrative                                                        Tkpr    Hours              Amount
04/18/2017       FCC: Evaluate lien issues (.5); FEA: consider retention issues and    DLS      0.80                $296.00
                 filed application (.3).
04/18/2017       FCC: Continued analysis of Wells Fargo loan documents and identify MJS         0.90                $279.00
                 and analyze items requiring additional review or supporting research.


04/18/2017       FCC: Attorney conference regarding investigation of Wells Fargo's lien BJK     2.20                $649.00
                 and more specifically, whether Wells Fargo was granted security
                 interest in Gordmans Stores, Inc.'s inventory and notes to file
                 regarding same (.6); FCC: receive and review email from Lisa Peters
                 with copy of signed Joinder and consent minutes authorizing the same
                 (.2); FCC: email to Ms. Peters requesting signed copy of additional
                 Joinder (.2); FCC: prepare for informal interview of Gordmans' c-suite
                 folks regarding validity of Wells Fargo's debt and liens (1.2).

04/18/2017       FCC: Attorney conference to discuss secured creditors' documentation MEF       1.60                $296.00
                 of security interest (.6); FCC: research effect of unsigned settlement
                 agreements(.8); FCC: review documentation of security interest by
                 Wells Fargo (.2).

04/19/2017       CA: Evaluate first meeting developments (.6); CC: address creditor    DLS      1.00                $370.00
                 inquiries (.4).
04/19/2017       FCC: Review documents and prepare notes and list of questions for    MJS       3.50              $1,085.00
                 interview with debtor executives regarding senior loan documents and
                 business practices and administration of the same.


04/19/2017       FCC: Interview debtor executives regarding senior loan documents      MJS      2.00                $620.00
                 and business management practices relating thereto.


04/19/2017       CA: Prepare for and attend First Meeting of Creditors; notes to file    BJK    5.90              $1,740.50
                 regarding same (1.1); FCC: prepare for and conduct informal interview
                 with c-suite folks of Gordmans regarding validity of Wells Fargo's lien
                 and debt (3.5); CA: call with debtor's counsel regarding outstanding
                 issues, including demand for turnover to Comenity Bank and
                 amending certain bankruptcy schedules (.4); CA: attorney conference
                 regarding results of First Meeting of Creditors and interview of
                 Gordmans folks (.9).

04/20/2017       FEA: Evaluate application investigation matters.                      DLS      1.00                $370.00

04/20/2017       FCC: Prepare summary of First Meeting of Creditors and interview of BJK        7.10              $2,094.50
                 c-suite folks of Gordmans regarding financing (2.9); FEA: edit and
                 revise drafts of Employment and Retention Application and
                 corresponding supporting declaration (2.9); CBD: consider and analyze
                 issues associated with dispute with Comenity Bank in light of
                 additional facts provided by James Brown and Andy Hall (1.3).

04/21/2017       FCC: Attention to update of interim report to unsecured creditors     MJS      0.30                 $93.00
                 committee.




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Date             Time Narrative                                                              Tkpr   Hours              Amount
04/21/2017       FEA: Review and analyze conflicts checks and edit declaration to            BJK     1.40                $413.00
                 reflect the same (.5); CA: review and analyze pleadings filed by
                 debtors, including bar date deadline, KERP Motion, and Motion to
                 Approve Compromise (.3); FCC: review and edit memo summarizing
                 findings regarding Wells Fargo liens/debt (.6).

04/24/2017       FEA: Evaluate search information on disclosure matters (1.2); FEA:          DLS     2.20                $814.00
                 preparation of information regarding Application (1.0).


04/24/2017       FEA: Finalize Application for Employment and declaration to be       BJK            0.90                $265.50
                 submitted in support of the same (.8); FEA: email to committee
                 co-chairs with Application for Employment and declaration in support
                 of the same (.1).

04/25/2017       CA: Receipt and review of Debtor's notice of deadlines and hearings         DLS     0.30                $111.00
                 (.3)


04/25/2017       FEA: Receive and review signed copy of Application for Employment   BJK             0.20                 $59.00
                 from Nathan Meisgeier and Scott Dew (.1); CA: review Administrative
                 Order of Bankruptcy Court approving post-closing assumption and
                 assignment of executory contracts and leases (.1).




04/26/2017       CBD: Email exchange with co-counsel regarding status of Comenity            BJK     0.40                $118.00
                 Bank dispute (.2); CBD: email to/from debtor's counsel regarding
                 status of the preparation of demand letter to Comenity Bank
                 requesting turnover of funds (.1); FEA: file application to employ
                 Koley Jessen (.1).



04/27/2017       FCC: Attention to finalization of memorandum regarding Wells Fargo MJS              3.40              $1,054.00
                 loan documents.


04/28/2017       CC: Follow up on requests for information (.6); FEA: review                 DLS     2.10                $777.00
                 information for monthly fee statement (1.3); FEA: receipt and review
                 of Order approving Application (.2).


04/28/2017       FCC: Continued attention and analysis toward lodged UCC filings             MJS     0.50                $155.00
                 against Gordman's Inc. and other consolidated debtors.


04/28/2017       CA: Call with debtors' counsel regarding outstanding matters,               BJK     1.80                $531.00
                 including letter to Comenity Bank, amendments to schedules, and
                 completion of inventory of stores to calculate final purchase price (.1);
                 FEA: prepare monthly fee statement (1.2); FCC: receive and review
                 Amended Schedules of debtors correcting ownership of inventory (.2);
                 FCC: update draft of memorandum to committee regarding review of
                 financing (.3).




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                                                                                                               May 18, 2017
Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                                Invoice #:
                                                                                                        ID: 19279-0000-0009



Fee Details

Date             Time Narrative                                                      Tkpr            Hours              Amount
04/28/2017       FCC: Confer with attorney regarding UCC searches to be performed      KDN            2.90                $435.00
                 (.1); FCC: perform requested searches in Nebraska, Kansas and North
                 Dakota (1.4); FCC: submit search request for Delaware; obtain results
                 for Delaware searches (.4); FCC: review of NE, ND and Kansas search
                 results in comparison with searches performed March, 2017 (.9); FCC:
                 confer with attorney regarding findings (.1).




Disbursement Details
Date             Type                                                                                                    Amount

04/05/2017       Brian J. Koenig: Parking - Bankruptcy Hearing & Meeting                                                   $12.00

                 Information Network of Kansas: UCC Search for Gordmans Distribution Company, Inc.                         $10.00
04/28/2017

                 Capitol Services, Inc.: Certified UCC/Federal Lien Search in Delaware for Gordmans Management            $611.00
                 Company, Inc., Gordmans, Inc., Gordmans Intermediate Holdings Corp, and Gordmans Stores, Inc.

                 Computerized Legal Research (Westlaw)                                                                    $159.23

                 Pacer Research                                                                                           $100.10

                 Nebraska Online Research (Secretary of State Searches)                                                    $33.75




                                                      Invoice Summary


                                   Total Fees                                    $38,223.50
                                   Total Disbursements                              $926.08

                                   Total This Billing Period                     $39,149.58


                                   Total Due                                      $39,149.58




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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEBRASKA

      In re:                                                         Chapter 11

      GORDMANS STORES, INC., et al.,1                                Case No. 17-80304 (TLS)

                                                                     (Jointly Administered)
                                 Debtors.


       THIRD MONTHLY FEE STATEMENT OF KOLEY JESSEN P.C., L.L.O. FOR
       COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
       EXPENSES INCURRED AS COUNSEL TO THE OFFICIAL COMMITTEE OF
        UNSECURED CREDITORS OF GORDMANS STORES, INC., ET AL. FROM
              MAY 1, 2017 THROUGH AND INCLUDING MAY 31, 2017


    Name of Applicant                              Koley Jessen P.C., L.L.O.
    Client                                         Official Committee of Unsecured Creditors
    Petition Date                                  March 13, 2017
    Date of Approval of Employment                 April 27, 2017 [Doc. No. 406]
    Fee Period                                     May 1, 2017 – May 31, 20172
    Total Hours Billed                             36.8
    Total Fees Requested                           $8,706.40 (80% of $10,883.00)
    Total Expenses Requested                       $181.17
    Total Fees and Expenses Requested              $8,887.57
    Prior Fees Paid to Applicant                   $53,941.60
    Prior Expenses Paid to Applicant               $1,006.38

      This is a: X Monthly               Interim          Final Fee Application




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Gordmans Stores, Inc. (1987); Gordmans, Inc. (1211); Gordmans Management Company, Inc.
(5281); Gordmans Distribution Company, Inc. (5421); Gordmans Intermediate Holdings Corp. (9938); and Gordmans
LLC (1987).
2
  KJ reserves the right to include any time expended in the Fee Period in future application(s) if it is not included
herein.
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          In accordance with the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals and Reimbursement of Creditors’

Committee Member Expenses, and (II) Granting Related Relief, entered on April 17, 2017, [Doc.

No. 351] (the “Interim Compensation Order”)3, Koley Jessen P.C., L.L.O. (“KJ”), local counsel

to the Official Committee of Unsecured Creditors (the “Committee”) of the debtors and debtors

in possession in the above-captioned cases (the “Debtors”), hereby submits this statement of fees

and expenses (the “Third Monthly Fee Statement”) seeking compensation and reimbursement

of expenses for the period of M a y 1, 2017 through and including M a y 31, 2017 (the “Fee

Period”). By this Third Monthly Fee Statement, K J seeks payment of: $8,706.40, which

represents 80 percent of the total amount of compensation sought for actual and necessary

professional services rendered during the Fee Period, and $181.17, which represents 100 percent of

KJ’s actual and necessary expenses incurred during the Fee Period.

                               Services Rendered and Expenses Incurred

          1.     Attached as Exhibit A is a timekeeper summary that includes the names, positions,

and hourly rates of each professional and paraprofessional who billed time during the Fee Period.

          2.     Attached as Exhibit B is a project summary that includes the total hours spent by KJ

professionals and paraprofessionals per project category for the Fee Period.

          3.     Attached as Exhibit C is a summary of all expenses incurred by KJ during the

Fee Period.

          4.     Attached as Exhibit D are KJ’s detailed time and expense records of KJ for the Fee

Period.

 3
  Terms used but not otherwise defined herein shall have the meanings ascribed to them in the Interim Compensation
 Order.




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                        Total Fees and Expenses Sought for the Fee Period

       5.       The total amount sought for fees for services rendered and reimbursement of

expenses incurred for the Fee Period are as follows:

            Total Fees for the Fee Period                              $10,883.00
            Total Expenses for the Fee Period                          $ 181.17
            TOTAL                                                      $11,064.17

       6.       Pursuant to the Interim Compensation Order, KJ seeks payment of $8,887.57, which

equals (i) 80 percent of KJ’s total fees for services rendered during the Fee Period and (ii) 100

percent of KJ’s total expenses incurred during the Fee Period.

            80% of Total Fees for the Fee Period                       $ 8,706.40
            100% Total Expenses for the Fee Period                     $ 181.17
            TOTAL                                                      $ 8,887.57

                                Notice and Objections Procedures

       7.       No trustee or examiner has been appointed in these chapter 11 cases. In accordance

with the Interim Compensation Order, notice of this Second Monthly Fee Statement has been

served, via overnight delivery and the Court’s ECF system, on:        (i) the Debtors, Gordmans

Stores, Inc., 1926 South 67th Street, Omaha, Nebraska 68106, Attn: Andy Hall and James

Brown; (ii) co- counsel to the Debtors, Kutak Rock LLP, The Omaha Building, 1650 Farnam

Street, Omaha, Nebraska 68102, Attn: Jeffrey T. Wegner and Lisa M. Peters; (iii) co-counsel to

the Debtors, Kirkland & Ellis LLP, 300 North LaSalle Street, Chicago, Illinois 60654, Attn: Brad

Weiland and Jamie R. Netznik; (iv) the Office of the United States Trustee for the District of

Nebraska, 111 South 18th Plaza, Suite 1148, Omaha, Nebraska 68102, Attn: Jerry L. Jansen; (v)

co-counsel to the administrative agent, Riemer Braunstein LLP, Seven Times Square, Suite 2506,

New York, New York 10036, Attn: Steven Fox and Donald E. Rothman; (vi) co-counsel to the

administrative agent, Greenberg Traurig, LLP, One International Place, Suite 2000, Boston,

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Massachusetts DeWitt Anderson & Gonderinger, L.L.C., 2120 South 72nd Street, Suite 1200,

Omaha, Nebraska 68124, Attn: Robert Gonderinger; and (viii) lead counsel to the Committee,

Frost Brown Todd LLC, 3300 Great American Tower, 301 East Fourth Street, Cincinnati,

Ohio 45202, Attn: Ronald E. Gold and Douglas L. Lutz (the “Application Recipients”). KJ

submits that no other or further notice need be provided.

       8.      Pursuant to the Interim Compensation Order, objections to this Second Monthly

Fee Statement, if any, must be served upon KJ and the Application Recipients no later than

fourteen days after service of the Second Monthly Fee Statement (the “Review Deadline”) setting

forth the precise nature of the objection and the amount at issue.

       9.      If no objections to this Second Monthly Fee Statement are made on or before

the Review Deadline and upon the filing of a certificate of no objection with this Court with

respect to the unopposed portion of the fees and expenses requested in the Fee Period by KJ, the

Debtors will pay KJ: (i) 80 percent of KJ’s total fees for services rendered during the Fee Period

and (ii) 100 percent of KJ’s total expenses incurred during the Fee Period.

       10.     To the extent a Notice of Objection to Monthly Fee Statement is received on or

before the Review Deadline, the objecting party and KJ shall attempt to resolve the objection on a

consensual basis. If the parties reach an agreement, the Debtors shall promptly pay 80 percent of the

agreed-upon fees and 100 percent of the agreed-upon expenses. If, however, the parties are unable

to reach a resolution within 14 days after service of the Notice of Objection to Monthly Fee

Statement, the objecting party shall file its objection (the “Objection”) with this Court within 3

business days and serve such Objection on K J and each of the other Application Recipients.

Thereafter, K J may either (i) file with the Court a response to the Objection, together with a




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request for payment of the Disputed Amount or (ii) forego payment of the Disputed Amount until

the next interim fee application hearing at which time this Court will consider the Objection, if

requested by the parties.

 Dated: July 13, 2017.                          Respectfully submitted,



                                                /s/ Brian J. Koenig
                                                Brian J. Koenig, #23807
                                                KOLEY JESSEN P.C., L.L.O.
                                                1125 South 103rd Street, Suite 800
                                                Omaha, NE 68124
                                                (402) 390-9500
                                                (402) 390-9005 (fax)
                                                Brian.Koenig@koleyjessen.com

                                                Local Counsel for the
                                                Official Committee of Unsecured Creditors




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 13, 2017, I caused the filing of the foregoing with the Clerk of
 the Bankruptcy Court using the CM/ECF system, which was served on all parties receiving ECF
 notice in this case, and I further certify that on July 13, 2017, I caused the foregoing to be served
 via overnight delivery to the parties indicated below.



                                                       /s/ Brian J. Koenig

Gordmans Stores, Inc.
Attn: Andy Hall and James Brown
1926 South 67th Street
Omaha, NE 68106
Debtors
Kirkland & Ellis LLP
Attn: Brad Weiland and Jamie R. Netznik
300 North LaSalle
Chicago, IL 60654
and
Kutak Rock LLP
Attn: Jeffrey T. Wegner and Lisa M. Peters
1650 Farnam Street
Omaha, NE 68102
Co-Counsel to the Debtors
Office of the United States Trustee
For the District of Nebraska
Attn: Jerry L. Jensen
111 South 18th Plaza, Suite 1148
Omaha, NE 68102
United States Trustee
Riemer Braunstein LLP
Attn: Steven Fox and Donald E. Rothman
Seven Times Square, Suite 2506
New York, NY 10036
and
Greenberg Traurig, LLP
Attn: Jeffrey M. Wolf
One International Place, Suite 2000
Boston, MA 02110
and

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 Croker Huck Kasher DeWitt Anderson &
 Gonderinger L.L.C.
 Attn: Robert Gonderinger
 2120 South 72nd Street, Suite 1200
 Omaha, NE 68124
 Co-Counsel to the Administrative Agent
 Frost Brown Todd LLC
 Attn: Ronald E. Gold and Douglas L. Lutz
 3300 Great American Tower
 301 East Fourth Street
 Cincinnati, OH 45202




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                                                EXHIBIT A

            Summary of Hours Billed by Professionals and Paraprofessional for the Fee Period

Name of Professional           Dept              Title       Year      Hourly    Total       Total
                                                            Admitted    Rate     Hours    Compensation
                                                                                 Billed
Brian J. Koenig        Litigation, Banking,   Shareholder     2007     $295.00    24.2        $7,139.00
                       Finance & Creditors’
                       Rights

Donald L. Swanson      Litigation, Banking,   Shareholder     1980     $370.00    7.1         $2,627.00
                       Finance & Creditors’
                       Rights

Matthew J. Speiker     Banking, Finance &     Shareholder     2003     $310.00     .7          $217.00
                       Creditors’ Rights

Comran E. Sharif       Business                Associate      2015     $195.00    4.0          $780.00

Kimberly D. Nelson     Banking, Finance &      Paralegal               $150.00     .7          $120.00
                       Creditors’ Rights

TOTAL                                                                             36.8       $10,883.00
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                                         EXHIBIT B

                           Summary of Time by Project Category

                   Project Category                  Hours        Amount


    Case Administration                                10.9       $ 3,590.50

    Asset Analysis and Recovery                        1.3        $ 383.50

    Communications with Creditors                       .5        $ 170.00

    Fee/Employment Applications                        4.1        $1,344.50

    Financing/Cash Collateral                           5         $1,369.50

    Investigation of Dividend/Recapitalization         15         $4,025.00

    TOTAL                                            36.8        $10,883.00
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                                            EXHIBIT C

                             Summary of Expenses for the Fee Period

         Description                              Amounts
         Reproductions
         Pacer
         CD Duplication
         Air Fare
         Meals
         Taxi Service
         Lodging
         Parking
         Mileage
         Transportation – Car Rental
         Research (Westlaw)
         Misc. Expense / FedEx / Public Records             $181.17
         TOTAL                                              $181.17
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                                          EXHIBIT D
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                                                                                                           KOLEY JESSEN P.C., L.L.O.
                                                                                                                ATTORNEYS AT LAW

                                                                                                        ONE PACIFIC PLACE, SUITE 800
                                                                                                          1125 SOUTH 103RD STREET
                                                                                                                   OMAHA, NE 68124

                                                                                                                PHONE: 402.390.9500




           Official Committee of Unsecured Creditors for
           Gordmans Stores, Inc.                                                                                 June 16, 2017
           c/o Jeff Pomerantz, Co-Chair                                                                       Invoice #: 323935
           Pachulski Stang Ziehl & Jones
                                                                                                         ID: 19279-0000-0009
           10100 Santa Monica Blvd., 11th Floor
           Los Angeles, CA 90067




Matter #               Matter Name                                                    Fees    Disbursements                Total

19279-0000-0009        Gordmans Chapter 11                                       $10,883.00         $181.17          $11,064.17

                                                     Total This Billing Period   $10,883.00         $181.17          $11,064.17
                                                               Total Current                                         $11,064.17




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Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                    Invoice #: 323935
                                                                                                    ID: 19279-0000-0009



Fee Details

Date             Time Narrative                                                           Tkpr   Hours              Amount
05/01/2017       FEA: Evaluate application issues from filings by other professionals     DLS     0.70               $259.00
                 and consider standards from U.S. Trustee


05/01/2017       FEA: Finalize first monthly fee statement (1.2); FEA: email to           BJK     1.30               $383.50
                 Committee co-chairs with copy of monthly fee statement (.1).


05/01/2017       FCC: Receipt of Delaware UCC search results(.1); compare results to      KDN     0.80               $120.00
                 previous search results (.5); email attorney regarding same(.2).


05/02/2017       CA: Receipt and review of operating report (.5)                          DLS     0.50               $185.00

05/04/2017       FCC: Revise memorandum to reflect additional findings from               MJS     0.70               $217.00
                 interview with Gordman's representatives.


05/05/2017       CA: Consider creditor requests for information on leases being           DLS     1.60               $592.00
                 assumed, review orders and notices filed thus far, and prepare
                 summary
05/08/2017       FEA: Receipt and review of initial fee statements and evaluate and       DLS     0.50               $185.00
                 compare details


05/08/2017       FEA: Finalize and file monthly fee statement (.1); FCC: call with Lisa   BJK     0.20                $59.00
                 Peters regarding status of inventory and questions regarding control
                 agreements (.1).
05/08/2017       FCC: Finalize memorandum of findings regarding investigation of          BJK     2.70               $796.50
                 claims/liens of lenders.


05/08/2017       FCC: Call with Carol Cabello regarding status of inventory calculation BJK       0.50               $147.50
                 and expectations regarding the same; notes to file regarding same (.3);
                 FCC: email to Committee with results of investigation (.2).


05/09/2017       CA: Receipt and review of notices of lease rejections and prepare        DLS     1.20               $444.00
                 summary
05/09/2017       FCC: Prepare and send letter to Steven Fox informing Wells Fargo        BJK      0.20                $59.00
                 that no challenge proceeding will be filed and requesting the return of
                 the indemnification reserve funds.


05/09/2017       AAR: Receive and review Province's updated report, including updated BJK         0.50               $147.50
                 cash forecast.


05/10/2017       CC: Follow-up and respond to inquiry regarding lease assumptions         DLS     0.30               $111.00
                 and rejections


05/10/2017       CA: Begin reviewing, editing, and providing comments on proposed         BJK     1.80               $531.00
                 joint plan of liquidation (1.8).


05/11/2017       CA: Receipt and review of notice of assumption and update summary        DLS     0.30               $111.00
                 (.3)

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Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                    Invoice #: 323935
                                                                                                    ID: 19279-0000-0009



Fee Details

Date             Time Narrative                                                           Tkpr   Hours              Amount
05/11/2017       CA: Review and provide comments to draft of Motion to Limit Access       BJK     0.90               $265.50
                 to Certain Confidential and Privileged Information (.8); attorney
                 conference with A.J. Webb to discuss notice issues associated with
                 service of Motion to Limit Access (.1).


05/11/2017       CA: Continue reviewing, editing, and providing comments on proposed BJK          2.90               $855.50
                 joint plan of liquidation.


05/12/2017       CA: Receipt and review of rejection notice and update summary            DLS     0.30               $111.00

05/12/2017       FEA: Begin preparing April monthly statement.                            BJK     0.50               $147.50

05/15/2017       FEA: Edit and review April monthly statement.                            BJK     0.20                $59.00

05/15/2017       CC: Call from creditor regarding locating copy of blank proof of claim   BJK     0.10                $29.50
                 and completing proof of claim.


05/15/2017       AAR: Review draft of data retention request list to provide to debtors BJK       0.50               $147.50
                 and consider possible additions to the same in relation to investigation
                 of dividend.


05/15/2017       AAR: Call with committee's professionals regarding investigation into BJK        0.30                $88.50
                 Sun Capital's recapitalization and dividend.


05/16/2017       CA: Receipt and review of lease rejection notice, update summary and DLS         0.50               $185.00
                 remaining leases


05/17/2017       FEA: Preparation of information for April monthly statement.             DLS     0.60               $222.00

05/17/2017       INV: Review Nebraska Uniform Transfer Act and consider issues            BJK     6.00             $1,770.00
                 associated with bringing claim against Sun Capital related to
                 dividend/recap (.8); INV: call with Ron Gold and Doug Lutz regarding
                 strategy to investigate potential claims (.4); INV: review and analyze
                 publicly available materials regarding dividend/recap, financial
                 performance, and dividend policy, including Annual Reports from
                 2010 through 2015, 10-Qs, and 8-Ks (3.9); INV: prepare timeline of
                 relevant events from Annual Reports (.9);

05/17/2017       INV: Research regarding historical directors and officers of G-Estate    CES     2.00               $390.00
                 Liquidation Stores, Inc. (f/k/a Gordmans Stores, Inc.).


05/18/2017       CA: Receipt and review of lease assumption filings and update            DLS     0.60               $222.00
                 summary (.3); CA: receipt and review claim assignment notifications.




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Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                     Invoice #: 323935
                                                                                                     ID: 19279-0000-0009



Fee Details

Date             Time Narrative                                                           Tkpr    Hours              Amount
05/18/2017       INV: Receive and review research regarding claims that may be              BJK    3.20               $944.00
                 brought in connection with payment of dividend and consider
                 possibility of additional claims (1.9); INV: finalize timeline of relevant
                 events (.7); INV: review and analyze summary of directors and officers
                 during relevant time periods (.3); INV: emails to D. Lutz and R. Gold
                 with timeline, annual reports, summary of D&Os, and particular
                 information related to annual reports (.2); CA: review administrative
                 orders approving All-State Brokerage's 20-day goods claim and
                 assumption and assignment of executory contracts (.1)


05/18/2017       INV: Draft summary of historical directors and officers of G-Estate      CES      2.00               $390.00
                 Liquidation Stores, Inc. (f/k/a Gordmans Stores, Inc.).


05/19/2017       CA: Receive and review Operating Report for April 2017 (.2); INV:        BJK      0.70               $206.50
                 continue reviewing case law regarding statute of limitations for
                 potential causes of action (.5).


05/22/2017       INV: Call with D. Lutz and R. Gold regarding results of initial review BJK        0.50               $147.50
                 of publicly available resources and case law regarding potential claims
                 against D&Os and next steps.


05/23/2017       FEA: Prepare Certificate of No Objection to First Monthly Fee            BJK      0.20                $59.00
                 Statement (.1); FEA: review draft of Certificate of No Objection of
                 Frost Brown Todd and Province and suggest edits to same (.1).


05/24/2017       INV: Receive and begin reviewing D&O policies.                           BJK      0.90               $265.50

05/30/2017       CC: email to committee co-chairs with draft of monthly fee statement     BJK      0.10                $29.50
                 for review and approval (.1).




Disbursement Details
Date             Type                                                                                                Amount

 05/08/2017      Federal Express - Express Mail; 5/8/17 Chicago, IL                                                    $25.47
 05/08/2017      Federal Express - Express Mail; 5/8/17 Omaha, NE                                                      $34.36
 05/08/2017      Federal Express - Express Mail; 5/8/17 Omaha, NE                                                      $17.18
 05/08/2017      Federal Express - Express Mail; 5/8/17 New York, NY                                                   $27.12
 05/08/2017      Federal Express - Express Mail; 5/8/17 Cincinnati, OH                                                 $26.94
 05/08/2017      Federal Express - Express Mail; 5/8/17 Omaha, NE                                                      $17.18
 05/08/2017      Federal Express - Express Mail; 5/8/17 Boston, MA                                                     $27.12
                 Advanced Costs for Public Records                                                                      $5.80




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                                                                                               June 16, 2017
Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                         Invoice #: 323935
                                                                                         ID: 19279-0000-0009

                                                       Invoice Summary

                                    Total Fees                           $10,883.00
                                    Total Disbursements                     $181.17
                                    Total This Billing Period            $11,064.17




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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEBRASKA

      In re:                                                         Chapter 11

      GORDMANS STORES, INC., et al.,1                                Case No. 17-80304 (TLS)

                                                                     (Jointly Administered)
                                 Debtors.


      FOURTH MONTHLY FEE STATEMENT OF KOLEY JESSEN P.C., L.L.O. FOR
       COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
       EXPENSES INCURRED AS COUNSEL TO THE OFFICIAL COMMITTEE OF
        UNSECURED CREDITORS OF GORDMANS STORES, INC., ET AL. FROM
              JUNE 1, 2017 THROUGH AND INCLUDING JUNE 30, 2017


    Name of Applicant                              Koley Jessen P.C., L.L.O.
    Client                                         Official Committee of Unsecured Creditors
    Petition Date                                  March 13, 2017
    Date of Approval of Employment                 April 27, 2017 [Doc. No. 406]
    Fee Period                                     June 1, 2017 – June 30, 20172
    Total Hours Billed                             27.8
    Total Fees Requested                           $6,456.40 (80% of $8,070.50)
    Total Expenses Requested                       $272.48
    Total Fees and Expenses Requested              $6,728.88
    Prior Fees Paid to Applicant                   $53,941.60
    Prior Expenses Paid to Applicant               $1,006.38

      This is a: X Monthly               Interim          Final Fee Application




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: G-Estate Liquidation Stores, Inc. formerly known as Gordmans Stores, Inc. (1987); Gordmans,
Inc. (1211); Gordmans Management Company, Inc. (5281); Gordmans Distribution Company, Inc. (5421);
Gordmans Intermediate Holdings Corp. (9938); and Gordmans LLC (1987).
2
  KJ reserves the right to include any time expended in the Fee Period in future application(s) if it is not included
herein.
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          In accordance with the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals and Reimbursement of Creditors’

Committee Member Expenses, and (II) Granting Related Relief, entered on April 17, 2017, [Doc.

No. 351] (the “Interim Compensation Order”)3, Koley Jessen P.C., L.L.O. (“KJ”), local counsel

to the Official Committee of Unsecured Creditors (the “Committee”) of the debtors and debtors

in possession in the above-captioned cases (the “Debtors”), hereby submits this statement of fees

and expenses         (the   “Fourth Monthly          Fee      Statement”)     seeking     compensation         and

reimbursement of expenses for the period of June 1, 2017 through and including June 30,

2017 (the “Fee Period”). By this Fourth Monthly Fee Statement, KJ seeks payment of:

$6,456.40, which represents 80 percent of the total amount of compensation sought for actual and

necessary professional services rendered during the Fee Period, and $272.48, which represents 100

percent of KJ’s actual and necessary expenses incurred during the Fee Period.

                               Services Rendered and Expenses Incurred

          1.     Attached as Exhibit A is a timekeeper summary that includes the names, positions,

and hourly rates of each professional and paraprofessional who billed time during the Fee Period.

          2.     Attached as Exhibit B is a project summary that includes the total hours spent by KJ

professionals and paraprofessionals per project category for the Fee Period.

          3.     Attached as Exhibit C is a summary of all expenses incurred by KJ during the

Fee Period.

          4.     Attached as Exhibit D are KJ’s detailed time and expense records of KJ for the Fee

Period.

 3
  Terms used but not otherwise defined herein shall have the meanings ascribed to them in the Interim Compensation
 Order.




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                        Total Fees and Expenses Sought for the Fee Period

       5.       The total amount sought for fees for services rendered and reimbursement of

expenses incurred for the Fee Period are as follows:

            Total Fees for the Fee Period                              $8,070.50
            Total Expenses for the Fee Period                          $272.48
            TOTAL                                                      $8,342.98

       6.       Pursuant to the Interim Compensation Order, KJ seeks payment of $6,728.88, which

equals (i) 80 percent of KJ’s total fees for services rendered during the Fee Period and (ii) 100

percent of KJ’s total expenses incurred during the Fee Period.

            80% of Total Fees for the Fee Period                       $6,456.40
            100% Total Expenses for the Fee Period                     $272.48
            TOTAL                                                      $6,728.88

                                Notice and Objections Procedures

       7.       No trustee or examiner has been appointed in these chapter 11 cases. In accordance

with the Interim Compensation Order, notice of this Fourth Monthly Fee Statement has been served,

via overnight delivery and the Court’s ECF system, on: (i) the Debtors, Gordmans Stores, Inc.,

13917 Gold Circle, Suite 200, Omaha, Nebraska 68144, Attn: Andy Hall and James Brown; (ii)

co- counsel to the Debtors, Kutak Rock LLP, The Omaha Building, 1650 Farnam Street, Omaha,

Nebraska 68102, Attn: Jeffrey T. Wegner and Lisa M. Peters; (iii) co-counsel to the Debtors,

Kirkland & Ellis LLP, 300 North LaSalle Street, Chicago, Illinois 60654, Attn: Brad Weiland and

Jamie R. Netznik; (iv) the Office of the United States Trustee for the District of Nebraska, 111

South 18th Plaza, Suite 1148, Omaha, Nebraska 68102, Attn: Jerry L. Jansen; (v) co-counsel to the

administrative agent, Riemer Braunstein LLP, Seven Times Square, Suite 2506, New York, New

York 10036, Attn: Steven Fox and Donald E. Rothman; (vi) co-counsel to the administrative agent,

Greenberg Traurig, LLP, One International Place, Suite 2000, Boston, Massachusetts DeWitt

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Anderson & Gonderinger, L.L.C., 2120 South 72nd Street, Suite 1200, Omaha, Nebraska 68124,

Attn: Robert Gonderinger; and (viii) lead counsel to the Committee, Frost Brown Todd LLC,

3300 Great American Tower, 301 East Fourth Street, Cincinnati, Ohio 45202, Attn: Ronald E.

Gold and Douglas L. Lutz (the “Application Recipients”). KJ submits that no other or further

notice need be provided.

       8.      Pursuant to the Interim Compensation Order, objections to this Fourth Monthly Fee

Statement, if any, must be served upon KJ and the Application Recipients no later than fourteen

days after service of the Fourth Monthly Fee Statement (the “Review Deadline”) setting forth the

precise nature of the objection and the amount at issue.

       9.      If no objections to this Fourth Monthly Fee Statement are made on or before the

Review Deadline and upon the filing of a certificate of no objection with this Court with respect

to the unopposed portion of the fees and expenses requested in the Fee Period by KJ, the Debtors

will pay KJ: (i) 80 percent of KJ’s total fees for services rendered during the Fee Period and (ii)

100 percent of KJ’s total expenses incurred during the Fee Period.

       10.     To the extent a Notice of Objection to Monthly Fee Statement is received on or

before the Review Deadline, the objecting party and KJ shall attempt to resolve the objection on a

consensual basis. If the parties reach an agreement, the Debtors shall promptly pay 80 percent of the

agreed-upon fees and 100 percent of the agreed-upon expenses. If, however, the parties are unable

to reach a resolution within 14 days after service of the Notice of Objection to Monthly Fee

Statement, the objecting party shall file its objection (the “Objection”) with this Court within 3

business days and serve such Objection on K J and each of the other Application Recipients.

Thereafter, K J may either (i) file with the Court a response to the Objection, together with a




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request for payment of the Disputed Amount or (ii) forego payment of the Disputed Amount until

the next interim fee application hearing at which time this Court will consider the Objection, if

requested by the parties.

 Dated: July 31, 2017.                          Respectfully submitted,



                                                /s/ Brian J. Koenig
                                                Brian J. Koenig, #23807
                                                KOLEY JESSEN P.C., L.L.O.
                                                1125 South 103rd Street, Suite 800
                                                Omaha, NE 68124
                                                (402) 390-9500
                                                (402) 390-9005 (fax)
                                                Brian.Koenig@koleyjessen.com

                                                Local Counsel for the
                                                Official Committee of Unsecured Creditors




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 31, 2017, I caused the filing of the foregoing with the Clerk of
 the Bankruptcy Court using the CM/ECF system, which was served on all parties receiving ECF
 notice in this case, and I further certify that on July 13, 2017, I caused the foregoing to be served
 via overnight delivery to the parties indicated below.



                                                       /s/ Brian J. Koenig

Gordmans Stores, Inc.
Attn: Andy Hall and James Brown
13917 Gold Circle, Suite 200
Omaha, NE 68144
Debtors
Kirkland & Ellis LLP
Attn: Brad Weiland and Jamie R. Netznik
300 North LaSalle
Chicago, IL 60654
and
Kutak Rock LLP
Attn: Jeffrey T. Wegner and Lisa M. Peters
1650 Farnam Street
Omaha, NE 68102
Co-Counsel to the Debtors
Office of the United States Trustee
For the District of Nebraska
Attn: Jerry L. Jensen
111 South 18th Plaza, Suite 1148
Omaha, NE 68102
United States Trustee
Riemer Braunstein LLP
Attn: Steven Fox and Donald E. Rothman
Seven Times Square, Suite 2506
New York, NY 10036
and
Greenberg Traurig, LLP
Attn: Jeffrey M. Wolf
One International Place, Suite 2000
Boston, MA 02110
and

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 Croker Huck Kasher DeWitt Anderson &
 Gonderinger L.L.C.
 Attn: Robert Gonderinger
 2120 South 72nd Street, Suite 1200
 Omaha, NE 68124
 Co-Counsel to the Administrative Agent
 Frost Brown Todd LLC
 Attn: Ronald E. Gold and Douglas L. Lutz
 3300 Great American Tower
 301 East Fourth Street
 Cincinnati, OH 45202




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                                                EXHIBIT A

            Summary of Hours Billed by Professionals and Paraprofessional for the Fee Period

Name of Professional           Dept              Title       Year      Hourly    Total       Total
                                                            Admitted    Rate     Hours    Compensation
                                                                                 Billed
Brian J. Koenig        Litigation, Banking,   Shareholder     2007     $295.00    21.7        $6,401.50
                       Finance & Creditors’
                       Rights

Donald L. Swanson      Litigation, Banking,   Shareholder     1980     $370.00     .5          $185.00
                       Finance & Creditors’
                       Rights

Kristin M. Krueger     Litigation, Banking,   Shareholder     2008     $265.00    5.6         $1,484.00
                       Finance & Creditors’
                       Rights

TOTAL                                                                             27.8        $8,070.50
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                                       EXHIBIT B

                           Summary of Time by Project Category

                  Project Category                   Hours       Amount


    Case Administration                                7.7       $2,141.00

    Asset Analysis and Recovery                                  $

    Communications with Creditors                      .4        $ 118.00

    Fee/Employment Applications                        .3        $   88.50

    Financing/Cash Collateral                                    $

    Comenity Bank Dispute                              4.7       $1,386.50

    Investigation of Dividend/Recap & Other Claims    14.7       $4,336.50

    TOTAL                                             27.8       $8,070.50
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                                            EXHIBIT C

                             Summary of Expenses for the Fee Period

                    Description                              Amounts
                    Pacer                                                $9.00
                    Research (Westlaw)                                  $88.53
                    Misc. Expense / FedEx / Public Records             $174.95
                    TOTAL                                              $272.48
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                                          EXHIBIT D
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                                                                                                          KOLEY JESSEN P.C., L.L.O.
                                                                                                               ATTORNEYS AT LAW

                                                                                                       ONE PACIFIC PLACE, SUITE 800
                                                                                                         1125 SOUTH 103RD STREET
                                                                                                                  OMAHA, NE 68124

                                                                                                               PHONE: 402.390.9500




           Official Committee of Unsecured Creditors for Gordmans Stores, Inc.
           c/o Julie Minnick Bowden, Chair
           GGP, a Retail Real Estate Company
           110 N Wacker Drive
           Chicago, IL 60606




Matter #               Matter Name                                                   Fees    Disbursements                Total

19279-0000-0366        Gordmans Chapter 11                                       $8,070.50         $272.48            $8,342.98

                                                     Total This Billing Period   $8,070.50         $272.48            $8,342.98
                                                                Total Current                                         $8,342.98




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                                                                                                            July 18, 2017
Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                     Invoice #: 325362
Gordmans Chapter 11                                                                                  ID: 19279-0000-0366



Fee Details

Date             Time Narrative                                                            Tkpr   Hours              Amount
06/01/2017       INV: call with Committee's professionals to discuss status of             BJK     0.80               $236.00
                 investigation, procurement of additional documents, and next steps
                 (.7); CBD: call to Lisa Peters requesting status update as to draft of
                 demand letter to Comenity Bank (.1).


06/02/2017       CA: Review and analyze draft of Motion for Omnibus Objection          BJK         0.60               $177.00
                 Procedures (.4); CBD: Call with Lisa Peters regarding draft of demand
                 letter to Comenity Bank (.2).


06/05/2017       CBD: review and analyze proof of claim filed by Comenity Bank (.2);       BJK     0.30                $88.50
                 CA: review court's text order granting Motion for Order Clarifying
                 Requirement to Provide Access to Confidential or Privileged
                 Information (.1).

06/06/2017       CC: Call from unsecured creditor with questions regarding                 BJK     0.40               $118.00
                 reconciliation of claims between schedules and proofs of claim and
                 deadline to file administrative expense claims; notes to file regarding
                 same (.4).

06/09/2017       CA: Attorney discussions and conference regarding analyzing            KMK        2.00               $530.00
                 administrative expense claims based on post-petition lease charges
                 (.2); research under § 365 of the Bankruptcy Code and Eighth Circuit
                 case law standards for granting administrative claims of post-petition
                 lease obligations, in particular, review of Eighth Circuit case law to
                 identify how such such administrative expense claims are measured
                 (1.2); based upon the same, consider and analyze administrative
                 expense claim seeking stub rent and real estate taxes and identify any
                 possible objections to the same, including reviewing underlying lease
                 and invoices (.6).


06/12/2017       CA: Call with Lisa Peters regarding coordinating the assertion of         BJK     0.30                $88.50
                 potential objections to administrative expense claims (.3).


06/12/2017       CA: Research under Bankruptcy Code and bankruptcy case law, in         KMK        3.60               $954.00
                 particular, Eighth Circuit and Third Circuit case law, whether certain
                 claims arising under a certain lease may qualify as an administrative
                 expense claim under § 365(d)(3) of the Bankruptcy Code, in particular,
                 focus on case law discussing property taxes and stub rent and
                 standards for assessing whether the same qualify as administrative
                 expense claims (2.5); based upon bankruptcy case law, consider and
                 review what objections may exist for specific application to certain
                 administrative claim (.8); telephone conference with counsel for Lisa
                 Peters regarding particular potential objections to specific
                 administrative claim and discussions regarding assessing objections to
                 applications for administrative claims moving forward (.3).


06/15/2017       CA: Call with Lisa Peters regarding potential objection to                BJK     0.30                $88.50
                 administrative expense claim (.3).




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                                                                                                           July 18, 2017
Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                    Invoice #: 325362
Gordmans Chapter 11                                                                                 ID: 19279-0000-0366



Fee Details

Date             Time Narrative                                                           Tkpr   Hours              Amount
06/19/2017       CBD: Review and analyze draft of Motion for Protective Order and         BJK     0.70               $206.50
                 provide comments on the same (.6); FEA: Review carve out language
                 inserted into Duff & Phelps Securities, LLC's monthly fee statement
                 and provide comments regarding same (.1).


06/20/2017       FEA: Review detail for monthly fee statement.                            DLS     0.50               $185.00

06/20/2017       INV: Begin reviewing and analyzing corporate meeting minutes, Duff       BJK     1.90               $560.50
                 & Phelps' opinion, and notes regarding recapitalization (1.9).


06/21/2017       INV: Continue to review and analyze meeting minutes, insolvency          BJK     3.30               $973.50
                 opinion, financial performance indicators and other documents from
                 June - August 2013 relating to decision to issue dividend; notes to file
                 regarding same (2.9); CBD: receive and review email from Lisa Peters
                 with demand letter to Comenity Bank, timeline of events, and Joint
                 Defense/Common Interest Privilege Agreement (.1); CBD: review and
                 analyze Joint Defense/Common Interest Privilege Agreement (.3).



06/22/2017       CBD: Review and analyze draft demand letter to Comenity Bank (.7); BJK           2.50               $737.50
                 CBD: call with Doug Lutz regarding Comenity Bank dispute (.5); INV:
                 continue reviewing solvency opinion issued in 2013 and analysis
                 conducted in connection with the same (1.3).


06/23/2017       INV: Review and analyze Gordmans' board resolution approving          BJK        2.10               $619.50
                 dividend and materials reviewed by the board in connection of
                 approving dividend (.5); INV: Review and analyze materials related to
                 dividend prepared by Province (1.6).


06/24/2017       CBD: edit and revise draft demand letter to Comenity Bank                BJK     0.90               $265.50
                 requesting turnover of funds (.7); FEA: receive and review Monthly
                 Fee Statement of Duff & Phelps Securities, LLC (.2).


06/26/2017       INV: call with D. Lutz regarding Province's analysis regarding           BJK     0.80               $236.00
                 dividend recapitalization (.4); call with L. Peters regarding Comenity
                 Bank dispute and demand for turnover (.1); receive and review
                 objections to administrative expense claims filed by debtors (.3).


06/27/2017       CBD: call with Lisa Peters with comments on draft demand letter to       BJK     1.30               $383.50
                 Comenity Bank (1.0); INV: receive and review draft of letter to K & E
                 requesting additional information for committee to complete its
                 investigation (.3).




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                                                                                                             July 18, 2017
Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                      Invoice #: 325362
Gordmans Chapter 11                                                                                   ID: 19279-0000-0366



Fee Details

Date             Time Narrative                                                        Tkpr        Hours              Amount
06/28/2017       INV: review revised draft of letter to K & E regarding investigation of BJK        4.70             $1,386.50
                 claims and request for additional information and provide edits and
                 suggestions regarding the same (.8); INV: review and analyze
                 materials relied upon by board of directors in deciding whether to
                 approve dividend (1.9); INV: call with R. Gold and D. Lutz regarding
                 thoughts on potential claims (.3); INV: review and analyze board
                 minutes and materials leading up to the filing of bankruptcy (.9); INV:
                 call with D. Lutz, Paul Huygens and Carol Cabello regarding
                 finalizing letter to K & E regarding investigation of claims and
                 request for additional information (.8).


06/29/2017       CA: receive and review report of Province covering latest forecast,   BJK          0.50               $147.50
                 estimated recoveries, and potential litigation claims.


06/30/2017       CBD: call with L. Peters regarding Comenity Bank demand letter and BJK             0.30                $88.50
                 consider issues with the same (.3).




Disbursement Details
Date             Type                                                                                                 Amount

05/30/2017       Federal Express - Express Mail; 6/30/17 Omaha, NE                                                      $17.14
05/30/2017       Federal Express - Express Mail; 5/30/17 Cincinnati, OH                                                 $26.88
05/30/2017       Federal Express - Express Mail; 5/30/17 Chicago, IL                                                    $25.41
05/30/2017       Federal Express - Express Mail; 5/30/17 Omaha, NE                                                      $17.14
05/30/2017       Federal Express - Express Mail; 5/30/17 Boston, MA                                                     $27.05
05/30/2017       Federal Express - Express Mail; 5/30/17 Omaha, NE                                                      $17.14
05/30/2017       Federal Express - Express Mail; 5/30/17 New York, NY                                                   $27.05
05/30/2017       Federal Express - Express Mail; 5/30/17 Omaha, NE                                                      $17.14
                 Advanced Costs for Public Records                                                                       $9.00
                 Computerized Legal Research                                                                            $88.53


                                                        Invoice Summary

                                    Total Fees                                         $8,070.50
                                    Total Disbursements                                  $272.48
                                    Total This Billing Period                          $8,342.98




                                    Total Due                                          $8,242.98


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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEBRASKA

      In re:                                                         Chapter 11

      GORDMANS STORES, INC., et al.,1                                Case No. 17-80304 (TLS)

                                                                     (Jointly Administered)
                                 Debtors.


       FIFTH MONTHLY FEE STATEMENT OF KOLEY JESSEN P.C., L.L.O. FOR
       COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
       EXPENSES INCURRED AS COUNSEL TO THE OFFICIAL COMMITTEE OF
        UNSECURED CREDITORS OF GORDMANS STORES, INC., ET AL. FROM
              JULY 1, 2017 THROUGH AND INCLUDING JULY 31, 2017


    Name of Applicant                              Koley Jessen P.C., L.L.O.
    Client                                         Official Committee of Unsecured Creditors
    Petition Date                                  March 13, 2017
    Date of Approval of Employment                 April 27, 2017 [Doc. No. 406]
    Fee Period                                     July 1, 2017 – July 31, 20172
    Total Hours Billed                             51.9
    Total Fees Requested                           $13,340.40 (80% of $16,675.50)
    Total Expenses Requested                       $684.37
    Total Fees and Expenses Requested              $14,024.77
    Prior Fees Paid to Applicant                   $69,104.40
    Prior Expenses Paid to Applicant               $1,460.03

      This is a: X Monthly               Interim          Final Fee Application




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: G-Estate Liquidation Stores, Inc. formerly known as Gordmans Stores, Inc. (1987); Gordmans,
Inc. (1211); Gordmans Management Company, Inc. (5281); Gordmans Distribution Company, Inc. (5421);
Gordmans Intermediate Holdings Corp. (9938); and Gordmans LLC (1987).
2
  KJ reserves the right to include any time expended in the Fee Period in future application(s) if it is not included
herein.
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          In accordance with the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals and Reimbursement of Creditors’

Committee Member Expenses, and (II) Granting Related Relief, entered on April 17, 2017, [Doc.

No. 351] (the “Interim Compensation Order”)3, Koley Jessen P.C., L.L.O. (“KJ”), local counsel

to the Official Committee of Unsecured Creditors (the “Committee”) of the debtors and debtors

in possession in the above-captioned cases (the “Debtors”), hereby submits this statement of fees

and expenses (the “Fifth Monthly Fee Statement”) seeking compensation and reimbursement

of expenses for the period of July 1, 2017 through and including July 31, 2017 (the “Fee

Period”). By this Fifth Monthly Fee Statement, KJ seeks payment of: $13,340.40, which

represents 80 percent of the total amount of compensation sought for actual and necessary

professional services rendered during the Fee Period, and $684.37, which represents 100 percent of

KJ’s actual and necessary expenses incurred during the Fee Period.

                               Services Rendered and Expenses Incurred

          1.     Attached as Exhibit A is a timekeeper summary that includes the names, positions,

and hourly rates of each professional and paraprofessional who billed time during the Fee Period.

          2.     Attached as Exhibit B is a project summary that includes the total hours spent by KJ

professionals and paraprofessionals per project category for the Fee Period.

          3.     Attached as Exhibit C is a summary of all expenses incurred by KJ during the

Fee Period.

          4.     Attached as Exhibit D are KJ’s detailed time and expense records of KJ for the Fee

Period.

 3
  Terms used but not otherwise defined herein shall have the meanings ascribed to them in the Interim Compensation
 Order.




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                        Total Fees and Expenses Sought for the Fee Period

       5.       The total amount sought for fees for services rendered and reimbursement of

expenses incurred for the Fee Period are as follows:

            Total Fees for the Fee Period                              $16,675.50
            Total Expenses for the Fee Period                          $684.37
            TOTAL                                                      $17,359.87

       6.       Pursuant to the Interim Compensation Order, KJ seeks payment of $14,024.77,

which equals (i) 80 percent of KJ’s total fees for services rendered during the Fee Period and (ii)

100 percent of KJ’s total expenses incurred during the Fee Period.

            80% of Total Fees for the Fee Period                       $13,340.40
            100% Total Expenses for the Fee Period                     $684.37
            TOTAL                                                      $14,024.77

                                Notice and Objections Procedures

       7.       No trustee or examiner has been appointed in these chapter 11 cases. In accordance

with the Interim Compensation Order, notice of this Fifth Monthly Fee Statement has been served,

via overnight delivery and the Court’s ECF system, on: (i) the Debtors, Gordmans Stores, Inc.,

13917 Gold Circle, Suite 200, Omaha, Nebraska 68144, Attn: Andy Hall and James Brown; (ii)

co- counsel to the Debtors, Kutak Rock LLP, The Omaha Building, 1650 Farnam Street, Omaha,

Nebraska 68102, Attn: Jeffrey T. Wegner and Lisa M. Peters; (iii) co-counsel to the Debtors,

Kirkland & Ellis LLP, 300 North LaSalle Street, Chicago, Illinois 60654, Attn: Brad Weiland and

Jamie R. Netznik; (iv) the Office of the United States Trustee for the District of Nebraska, 111

South 18th Plaza, Suite 1148, Omaha, Nebraska 68102, Attn: Jerry L. Jansen; (v) co-counsel to the

administrative agent, Riemer Braunstein LLP, Seven Times Square, Suite 2506, New York, New

York 10036, Attn: Steven Fox and Donald E. Rothman; (vi) co-counsel to the administrative agent,

Greenberg Traurig, LLP, One International Place, Suite 2000, Boston, Massachusetts 02110,

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Attn: Jeffrey M. Wolf; (vii) co-counsel to the administrative agent, Croker Huck Kasher DeWitt

Anderson & Gonderinger, L.L.C., 2120 South 72nd Street, Suite 1200, Omaha, Nebraska 68124,

Attn: Robert Gonderinger; and (viii) lead counsel to the Committee, Frost Brown Todd LLC,

3300 Great American Tower, 301 East Fourth Street, Cincinnati, Ohio 45202, Attn: Ronald E.

Gold and Douglas L. Lutz (the “Application Recipients”). KJ submits that no other or further

notice need be provided.

       8.      Pursuant to the Interim Compensation Order, objections to this Fifth Monthly Fee

Statement, if any, must be served upon KJ and the Application Recipients no later than fourteen

days after service of the Fifth Monthly Fee Statement (the “Review Deadline”) setting forth the

precise nature of the objection and the amount at issue.

       9.      If no objections to this Fifth Monthly Fee Statement are made on or before the

Review Deadline and upon the filing of a certificate of no objection with this Court with respect

to the unopposed portion of the fees and expenses requested in the Fee Period by KJ, the Debtors

will pay KJ: (i) 80 percent of KJ’s total fees for services rendered during the Fee Period and (ii)

100 percent of KJ’s total expenses incurred during the Fee Period.

       10.     To the extent a Notice of Objection to Monthly Fee Statement is received on or

before the Review Deadline, the objecting party and KJ shall attempt to resolve the objection on a

consensual basis. If the parties reach an agreement, the Debtors shall promptly pay 80 percent of the

agreed-upon fees and 100 percent of the agreed-upon expenses. If, however, the parties are unable

to reach a resolution within 14 days after service of the Notice of Objection to Monthly Fee

Statement, the objecting party shall file its objection (the “Objection”) with this Court within 3

business days and serve such Objection on K J and each of the other Application Recipients.

Thereafter, K J may either (i) file with the Court a response to the Objection, together with a


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request for payment of the Disputed Amount or (ii) forego payment of the Disputed Amount until

the next interim fee application hearing at which time this Court will consider the Objection, if

requested by the parties.

 Dated: August 28, 2017.                        Respectfully submitted,



                                                /s/ Brian J. Koenig
                                                Brian J. Koenig, #23807
                                                KOLEY JESSEN P.C., L.L.O.
                                                1125 South 103rd Street, Suite 800
                                                Omaha, NE 68124
                                                (402) 390-9500
                                                (402) 390-9005 (fax)
                                                Brian.Koenig@koleyjessen.com

                                                Local Counsel for the
                                                Official Committee of Unsecured Creditors




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 28, 2017, I caused the filing of the foregoing with the Clerk
 of the Bankruptcy Court using the CM/ECF system, which was served on all parties receiving
 ECF notice in this case, and I further certify that on August 28, 2017, I caused the foregoing to be
 served via overnight delivery to the parties indicated below.



                                                       /s/ Brian J. Koenig

Gordmans Stores, Inc.
Attn: Andy Hall and James Brown
13917 Gold Circle, Suite 200
Omaha, NE 68144
Debtors
Kirkland & Ellis LLP
Attn: Brad Weiland and Jamie R. Netznik
300 North LaSalle
Chicago, IL 60654
and
Kutak Rock LLP
Attn: Jeffrey T. Wegner and Lisa M. Peters
1650 Farnam Street
Omaha, NE 68102
Co-Counsel to the Debtors
Office of the United States Trustee
For the District of Nebraska
Attn: Jerry L. Jensen
111 South 18th Plaza, Suite 1148
Omaha, NE 68102
United States Trustee
Riemer Braunstein LLP
Attn: Steven Fox and Donald E. Rothman
Seven Times Square, Suite 2506
New York, NY 10036
and
Greenberg Traurig, LLP
Attn: Jeffrey M. Wolf
One International Place, Suite 2000
Boston, MA 02110
and

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 Croker Huck Kasher DeWitt Anderson &
 Gonderinger L.L.C.
 Attn: Robert Gonderinger
 2120 South 72nd Street, Suite 1200
 Omaha, NE 68124
 Co-Counsel to the Administrative Agent
 Frost Brown Todd LLC
 Attn: Ronald E. Gold and Douglas L. Lutz
 3300 Great American Tower
 301 East Fourth Street
 Cincinnati, OH 45202
 Lead Counsel to the Committee




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                                                EXHIBIT A

            Summary of Hours Billed by Professionals and Paraprofessional for the Fee Period

Name of Professional           Dept              Title       Year      Hourly    Total       Total
                                                            Admitted    Rate     Hours    Compensation
                                                                                 Billed
Brian J. Koenig        Litigation, Banking,   Shareholder     2007     $295.00    33.7        $9,941.50
                       Finance & Creditors’
                       Rights

Donald L. Swanson      Litigation, Banking,   Shareholder     1980     $370.00    18.2        $6,734.00
                       Finance & Creditors’
                       Rights

TOTAL                                                                             51.9       $16,675.50
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                                       EXHIBIT B

                          Summary of Time by Project Category

                  Project Category                   Hours      Amount


    Case Administration                                2.5      $   737.50

    Fee/Employment Applications                        0.8      $   236.00

    Comenity Bank Dispute                             1.0       $   295.00

    Investigation of Dividend/Recap & Other Claims    47.6      $15,407.00

    TOTAL                                             51.9      $16,675.50
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                                            EXHIBIT C

                             Summary of Expenses for the Fee Period

                    Description                              Amounts
                    Pacer                                               $13.30
                    Airfare/Parking – Chicago Trip 7/11/17             $308.46
                    FedEx                                              $362.61
                    TOTAL                                              $684.37
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                                    EXHIBIT D
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                                                                                                           KOLEY JESSEN P.C., L.L.O.
                                                                                                                ATTORNEYS AT LAW

                                                                                                        ONE PACIFIC PLACE, SUITE 800
                                                                                                          1125 SOUTH 103RD STREET
                                                                                                                   OMAHA, NE 68124

                                                                                                                PHONE: 402.390.9500




           Official Committee of Unsecured Creditors for Gordmans Stores, Inc.
           c/o Julie Minnick Bowden, Chair
           GGP, a Retail Real Estate Company
           110 N Wacker Drive
           Chicago, IL 60606




Matter #               Matter Name                                                    Fees    Disbursements                Total

19279-0000-0366        Gordmans Chapter 11                                       $16,675.50         $684.37          $17,359.87

                                                     Total This Billing Period   $16,675.50         $684.37          $17,359.87
                                                                Total Current                                        $17,359.87




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                                                                                                        August 18, 2017
Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                    Invoice #: 326716
Gordmans Chapter 11                                                                                 ID: 19279-0000-0366



Fee Details

Date             Time Narrative                                                           Tkpr   Hours              Amount
07/03/2017       INV: Review and analyze 2017 meeting minutes and board materials         BJK     1.10               $324.50
                 (.9); CBD: email exchange with L. Peters and R. Berner regarding
                 protective order and revisions to the same (.2).


07/05/2017       CBD: Email exchange with L. Peters regarding Comenity Bank's             BJK     1.00               $295.00
                 claim (.2); CA: attend committee call with status update (.6); call with
                 L. Peters regarding Comenity Bank communications (.2).


07/06/2017       INV: Call with D. Lutz regarding meeting with Debtors' counsel           BJK     0.30                $88.50
                 regarding plan and preliminary results of investigation (.2); CBD:
                 receive and review email from Rob Berner regarding communication
                 history related to dispute with Comenity Bank (.1).


07/07/2017       INV: Call with D. Lutz regarding investigation matters (.4); call with   BJK     2.60               $767.00
                 debtors' counsel regarding investigation and plan (.8); call with
                 committee co-counsel, D. Lutz and R. Gold, regarding call with
                 debtors' counsel and coordinating investigation plans (.4); review and
                 analyze case law and research regarding Duty of Oversight (1.0).


07/08/2017       INV: Continue to review and analyze memo compiling research on           BJK     2.60               $767.00
                 fiduciary duties and standard of care and consider whether claim for
                 breach can be made (.8); INV: continue to review board minutes and
                 materials from mid-2016 to date of bankruptcy filing (1.2); INV:
                 consider releases proposed by debtors in plan and alternatives to the
                 same (.6).

07/10/2017       INV: Call with D. Lutz regarding standards for evaluation of potential BJK       1.50               $442.50
                 claims against debtors' directors and others (.2); INV: call with
                 committee professionals to prepare for meeting with debtors regarding
                 requests for information related to investigation (.5); INV: review
                 research regarding plan releases and settlements (.8).


07/11/2017       INV: Outline questions and topics of discussion for meeting (1.2); INV: BJK      6.60             $1,947.00
                 meeting with Paul Huygens, Carol Cabello, and Doug Lutz regarding
                 topics of discussion and plan for meeting with debtors' counsel (1.0);
                 INV: meeting with debtors' counsel regarding conducting due diligence
                 related to potential claims (2.5); INV: meeting with P. Huygens, C.
                 Cabello, and D. Lutz regarding take aways from meeting and next
                 steps (.7); INV: continued meeting with debtors' counsel regarding
                 requests for information and next steps (.9); INV: notes to file with
                 summary of documents to be produced, witnesses to be interviewed,
                 and subjects to be covered (.3).


07/12/2017       INV: Review and analyze unredacted board minutes and consider            BJK     0.90               $265.50
                 possible claims (.9).




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Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                   Invoice #: 326716
Gordmans Chapter 11                                                                                ID: 19279-0000-0366



Fee Details

Date             Time Narrative                                                         Tkpr    Hours              Amount
07/12/2017       INV: Email to debtors' counsel regarding scheduling time for call to BJK        0.20                $59.00
                 discuss unredacted board minutes (.1); FEA: email to committee chair
                 with monthly fee statement (.1).


07/13/2017       INV: Receipt of and evaluate report on recommendations concerning      DLS      1.50               $555.00
                 potential claims


07/13/2017       FEA: Finalize and file KJ's Third Monthly Fee Statement (.1); INV:     BJK      0.70               $206.50
                 receive and review corporate payroll data and email from Paul
                 Huygens regarding the same (.2); INV: call with debtors' counsel
                 regarding unredacted board minutes and next steps (.2); CBD: call
                 with Lisa Peters regarding approach to Comenity Bank (.2).


07/14/2017       CA: Review administrative expense claims and coordinate attendance BJK          2.00               $590.00
                 at hearing on objections to administrative expense claims (.3); INV:
                 review and analyze documents produced by debtors related to
                 potential sale of company during 2016 (1.7).


07/17/2017       INV: Evaluate fraudulent transfer claims involving dividend, review    DLS      3.60             $1,332.00
                 legal authorities thereon, research information on surrounding
                 economic conditions, and evaluate potential viability of claims.


07/17/2017       CA: Call with Lisa Peters regarding plan for hearing on                BJK      0.20                $59.00
                 administrative expense claim of CSHV Crossroads and other matters
                 to update and discuss with Court (.2)


07/18/2017       INV: Continue analyzing actual intent issues, review legal authorities, DLS     4.00             $1,480.00
                 review factual information, and prepare summary of thoughts
                 (3.3);INV: attorney conference thereon and review additional legal
                 authorities regarding Delaware law and proceedings (.7).


07/18/2017       CA: Prepare for and attend hearing on administrative expense claim       BJK    2.90               $855.50
                 of CSHV Crossroads (.6); CBD: Conference with Lisa Peters and Brad
                 Weiland regarding Comenity Bank (.3); INV: Review and analyze
                 potential actual fraud claim and consider how the badges of fraud may
                 be used to support a finding of intent (1.2); INV: Prepare for call with
                 Duff & Phelps by preparing questions (.8).


07/19/2017       INV: Call with Doug Lutz regarding preparation for interview of Duff   BJK      2.10               $619.50
                 & Phelps (.1); INV: Review Application for Employment of Duff &
                 Phelps and declarations of Josh Benn and Ed Mielke (.3); INV: Call
                 with Mr. Benn and Mr. Mielke regarding Duff & Phelps' involvement
                 from mid-2016 to filing date (.8); call with D. Lutz and R. Gold
                 regarding next steps (.2); INV: Prepare topics for purposes of
                 discussion with Andy Hall or James Brown (.6); INV: Email to Brad
                 Weiland with topics for discussions with board or executive team
                 member (.1).



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                                                                                                                August 18, 2017
Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                            Invoice #: 326716
Gordmans Chapter 11                                                                                         ID: 19279-0000-0366



Fee Details

Date             Time Narrative                                                             Tkpr       Hours                Amount
07/20/2017       INV: Receipt and review of new and related legal authorities on actual DLS              0.70                $259.00
                 fraud issues.


07/21/2017       FEA: Prepare and edit monthly fee statement (.3).                          BJK          0.30                 $88.50

07/25/2017       CA: Receive and review revised draft of plan and consider death trap BJK                1.60                $472.00
                 provision contained within the same and absence of such provision in
                 other cases (.6); FEA: continue preparation of monthly statement for
                 June (.2); INV: coordinate date and time for interview of Andy Hall
                 (.1); INV: consider potential claims related to pre-petition conduct (.7).


07/27/2017       INV: Review and evaluate new legal authorities on dividends as             DLS          1.50                $555.00
                 fraudulent transfers.


07/27/2017       INV: Prepare for interview of Andy Hall by reviewing notes from       BJK               2.60                $767.00
                 informal interview of executive team regarding Wells Fargo lien/debt,
                 notes from interview of Duff & Phelps, and notes from meeting with
                 debtor' counsel and reviewing documents provided pursuant to request
                 in letter from Doug Lutz to debtors' counsel; notes to file regarding
                 same.

07/28/2017       INV: Further evaluation of claims for actual intent to hinder or delay     DLS          2.50                $925.00
                 creditors and issues relating to disclosure statement and plan.


07/28/2017       INV: Coordinate and reschedule call with Andy Hall (.1); INV: call         BJK          1.20                $354.00
                 with Doug Lutz regarding interview of Andy Hall and potential
                 further investigation into claims (.2); INV: continue preparing for
                 interview with Mr. Hall (.9).


07/29/2017       INV: Evaluate impact of leases in distressed economy upon valuation        DLS          1.80                $666.00
                 and solvency issues and review economic reports from time of
                 dividend.
07/31/2017       INV: Evaluate financial, historical and publicly-available information     DLS          2.60                $962.00
                 relating to solvency issues in a hypothetical liquidation in relation to
                 dividend.
07/31/2017       INV: Prepare for call/interview with Andy Hall regarding issues            BJK          3.30                $973.50
                 identified in email to debtors (1.5); INV: lead interview/call with Mr.
                 Hall and question him re potential claims (1.4); INV: call with Doug
                 Lutz to debrief call with Mr. Hall (.3); FEA: finalize and file monthly
                 fee application (.1).




Disbursement Details
Date             Type                                                                                                       Amount

07/11/2017       Brian J. Koenig - Travel Expense (Airfare/Parking); 7/11/17 Trip to Chicago for Meeting at K&E              $308.46
07/13/2017       Federal Express - Express Mail; 7/13/17 Omaha, NE                                                            $17.01

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                                                                                           August 18, 2017
Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                       Invoice #: 326716
Gordmans Chapter 11                                                                    ID: 19279-0000-0366


Disbursement Details Continued
Date             Type                                                                                  Amount

07/13/2017       Federal Express - Express Mail; 7/13/17 Cincinnati, OH                                  $26.68
07/13/2017       Federal Express - Express Mail; 7/13/17 Omaha, NE                                       $17.01
07/13/2017       Federal Express - Express Mail; 7/13/17 Boston, MA                                      $26.86
07/13/2017       Federal Express - Express Mail; 7/13/17 Omaha, NE                                       $17.01
07/13/2017       Federal Express - Express Mail; 7/13/17 Omaha, NE                                       $17.01
07/13/2017       Federal Express - Express Mail; 7/13/17 New York, NY                                    $26.86
07/13/2017       Federal Express - Express Mail; 7/13/17 Chicago, IL                                     $25.22
07/31/2017       Federal Express - Express Mail; 7/31/17 New York, NY                                    $27.05
07/31/2017       Federal Express - Express Mail; 7/31/17 Omaha, NE                                       $17.14
07/31/2017       Federal Express - Express Mail; 7/31/17 Omaha, NE                                       $17.14
07/31/2017       Federal Express - Express Mail; 7/31/17 Boston, MA                                      $27.05
07/31/2017       Federal Express - Express Mail; 7/31/17 Omaha, NE                                       $17.14
07/31/2017       Federal Express - Express Mail; 7/31/17 Chicago, IL                                     $25.41
07/31/2017       Federal Express - Express Mail; 7/31/17 Omaha, NE                                       $31.14
07/31/2017       Federal Express - Express Mail; 7/31/17 Cincinnati, OH                                  $26.88
                 Advanced Costs for Public Records                                                       $13.30


                                                       Invoice Summary

                                    Total Fees                            $16,675.50
                                    Total Disbursements                      $684.37
                                    Total This Billing Period             $17,359.87




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                                   UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF NEBRASKA


        In re:                                                            Chapter 11

         GORDMANS STORES, INC., et ai.,^                                  Case No. 17-80304 (TLS)

                                                                          (Jointly Administered)
                                      Debtors.



               SIXTH MONTHLY FEE STATEMENT OF KOLEY JESSEN P.C., L.L.O. FOR
           COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
           EXPENSES INCURRED AS COUNSEL TO THE OFFICIAL COMMITTEE OF
               UNSECURED CREDITORS OF GORDMANS STORES, INC., ET AL. FROM
                  AUGUST 1,2017 THROUGH AND INCLUDING AUGUST 31,2017


      Name of Applicant                                 Koley Jessen P.C., L.L.O.
      Client                                            Official Committee of Unsecured Creditors

      Petition Date                                     March 13,2017
      Date of Approval of Employment                    April 27,2017 [Doc. No. 406]
      Fee Period                                        August 1, 2017 - August 31,2017^
      Total Hours Billed                                16.8

      Total Fees Requested                              $4,000.80 (80% of $5,001.00)
      Total Expenses Requested                          $182.70

      Total Fees and Expenses Requested                 $4,183.50
      Prior Fees Paid to Applicant                      $82,444.80
      Prior Expenses Paid to Applicant                  $2,144.40


         This is a:    X_ Monthly             Interim          Final Fee Application




     ' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
     number, include; G-Estate Liquidation Stores, Inc. formerly known as Gordmans Stores, Inc. (1987); Gordmans,
     Inc. (1211); Gordmans Management Company, Inc. (5281); Gordmans Distribution Company, Inc. (5421);
     Gordmans Intermediate Holdings Corp. (9938); and Gordmans LLC (1987).

     ^ KJ reserves the right to include any time expended in the Fee Period in future application(s) if it is not included
     herein.
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              In accordance with the Order (I) Establishing Procedures for Interim Compensation and

    Reimbursement of Expenses for Retained Professionals and Reimbursement of Creditors'

    Committee Member Expenses, and (II) Granting Related Relief entered on April 17, 2017, [Doc.

    No, 351] (the 'interim Compensation Order'")^. Koley Jessen P.C., L.L.O. ("KJ"), local counsel

    to the Official Committee of Unsecured Creditors (the "Committee"! of the debtors and debtors

    in possession in the above-captioned cases (the "Debtors"), hereby submits this statement of fees

    and expenses (the "Sixth Monthly Fee Statement"! seeking compensation and reimbursement

    of expenses for the period of August 1, 2017 through and including August 31, 2017 (the "Fee

    Period"!. By this Sixth Monthly Fee Statement, KJ seeks payment of: $4,000.80, which

    represents 80 percent of the total amount of compensation sought for actual and necessary

    professional services rendered during the Fee Period, and $182.70, which represents 100 percent of

    KJ's actual and necessary expenses incurred during the Fee Period.

                                   Services Rendered and Exnenses Incurred


              1.     Attached as Exhibit A is a timekeeper summary that includes the names, positions,

    and hourly rates of each professional and paraprofessional who billed time during the Fee Period.

              2.     Attached as Exhibit B is a project summary that includes the total hours spent by KJ

    professionals and paraprofessionals per project category for the Fee Period.

              3.     Attached as Exhibit C is a summary of all expenses incurred by KJ during the

    Fee Period.


              4.     Attached as Exhibit D are KJ's detailed time and expense records of KJ for the Fee

    Period.


     ^Terms used butnototherwise defined herein shall have the meanings ascribed to them in the Interim Compensation
     Order.




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                            Total Fees and Expenses Sought for the Fee Period


           5.        The total amount sought for fees for services rendered and reimbursement of

    expenses incurred for the Fee Period are as follows:

                Total Fees for the Fee Period                              $5,001.00
                Total Expenses for the Fee Period                          $   182.70
                TOTAL                                                      $5,183.70

           6.        Pursuant to the Interim Compensation Order, KJ seeks payment of $4,183.50, which

    equals (i) 80 percent of KJ's total fees for services rendered during the Fee Period and (ii) 100

    percent of KJ's total expenses incurred during the Fee Period.

                80% of Total Fees for the Fee Period                       $4,000.80
                100% Total Expenses for the Fee Period                     $   182.70
                TOTAL                                                      $4,183.50

                                    Notice and Objections Procedures

           7.       No trustee or examiner has been appointed in these chapter 11 cases. In accordance

    with the Interim Compensation Order, notice of this Sixth Monthly Fee Statement has been served,

    via overnight delivery and the Court's ECF system, on: (i) the Debtors, Gordmans Stores, Inc.,

    13917 Gold Circle, Suite 200, Omaha, Nebraska 68144, Attn: Roger Glenn; (ii) co- counsel to the

    Debtors, Kutak Rock LLP, The Omaha Building, 1650 Famam Street, Omaha, Nebraska 68102,

    Attn: Jeffrey T. Wegner and Lisa M. Peters; (iii) co-counsel to the Debtors, Kirkland & Ellis

    LLP, 300 North LaSalle Street, Chicago, Illinois 60654, Attn: Brad Weiland and Jamie R. Netznik;

    (iv) the Office of the United States Trustee for the District of Nebraska, 111 South 18*'^ Plaza,

    Suite 1148, Omaha, Nebraska 68102, Attn: Jerry L. Jansen; (v) co-counsel to the administrative

    agent, Riemer Braunstein LLP, Seven Times Square, Suite 2506, New York, New York 10036,

    Attn: Steven Fox and Donald E. Rothman; (vi) co-counsel to the administrative agent, Greenberg

    Traurig, LLP, One International Place, Suite 2000, Boston, Massachusetts 02110, Attn:
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    Jeffrey M. Wolf; (vii) co-counsel to the administrative agent, Croker Huck Kasher DeWitt

    Anderson & Gonderinger, L.L.C., 2120 South 72"'' Street, Suite 1200, Omaha, Nebraska 68124,
    Attn: Robert Gonderinger; and (viii) lead counsel to the Committee, Frost Brown Todd LLC,

    3300 Great American Tower, 301 East Fourth Street, Cincinnati, Ohio 45202, Attn: Ronald E.

    Gold and Douglas L. Lutz (the Application Recipients"). KJ submits that no other or further

    notice need be provided.

           8.      Pursuant to the Interim Compensation Order, objections to this Sixth Monthly Fee

    Statement, if any, must be served upon KJ and the Application Recipients no later than fourteen

    days after service of the Sixth Monthly Fee Statement (the "Review Deadline"! setting forth the

    precise nature of the objection and the amount at issue.

           9.      If no objections to this Sixth Monthly Fee Statement are made on or before the

    Review Deadline and upon the filing of a certificate of no objection with this Court with respect

    to the unopposed portion of the fees and expenses requested in the Fee Period by KJ, the Debtors

    will pay KJ: (i) 80 percent of KJ's total fees for services rendered during the Fee Period and (ii)

    100 percent of KJ's total expenses incurred during the Fee Period.

           10.     To the extent a Notice of Objection to Monthly Fee Statement is received on or

    before the Review Deadline, the objecting party and KJ shall attempt to resolve the objection on a

    consensual basis. If the parties reach an agreement, the Debtors shall promptly pay 80 percent of the

    agreed-upon fees and 100 percent of the agreed-upon expenses. If, however, the parties are unable

    to reach a resolution within 14 days after service of the Notice of Objection to Monthly Fee

    Statement, the objecting party shall file its objection (the "Objection") with this Court within 3

    business days and serve such Objection on KJ and each of the other Application Recipients.

    Thereafter, KJ may either (i) file with the Court a response to the Objection, together with a

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     request for payment of the Disputed Amount or (ii) forego payment of the Disputed Amount until

     the next interim fee application hearing at which time this Court will consider the Objection, if

     requested by the parties.

     Dated: September 27, 2017.                      Respectfully submitted,



                                                     /s/ Brian J. Koenis
                                                     Brian J. Koenig, #23807
                                                     KOLEY JESSEN P.O., L.L.O.
                                                     1125 South 103'" Street, Suite 800
                                                     Omaha, NE 68124
                                                     (402) 390-9500
                                                     (402) 390-9005 (fax)
                                                     Brian.Koeniu@koleviessen.com


                                                     Local Counselfor the
                                                     Official Committee of Unsecured Creditors




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                                       CERTIFICATE OF SERVICE


           I hereby certify that on September 27, 2017,1 caused the filing of the foregoing with the
     Clerk of the Bankruptcy Court using the CM/ECF system, which was served on all parties
     receiving EOF notice in this case, and I further certify that on September 27, 2017,1 caused the
     foregoing to be served via overnight delivery to the parties indicated below.



                                                        /s/ Brian J Koenis


    Gordmans Stores, Inc.
    Attn: Roger Glenn
    13917 Gold Circle, Suite 200
    Omaha, NB 68144
    Debtors

    Kirkland & Ellis LLP
    Attn: Brad Weiland and Jamie R. Netznik
    300 North LaSalle
    Chicago, IL 60654
    and

    Kutak Rock LLP
    Attn: Jeffrey T. Wegner and Lisa M. Peters
    1650 Famam Street
    Omaha, NE 68102
    Co-Counsel to the Debtors

    Office of the United States Trustee
    For the District of Nebraska
    Attn: Jerry L. Jensen
    111 South 18^^ Plaza, Suite 1148
    Omaha, NE 68102
    United States Trustee

    Riemer Braunstein LLP
    Attn: Steven Fox and Donald E. Rothman
    Seven Times Square, Suite 2506
    New York, NY 10036
    and

    Greenberg Traurig, LLP
    Attn: Jeffrey M. Wolf
    One International Place, Suite 2000
    Boston, MA 02110
    and
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    Croker Huck Kasher DeWitt Anderson &
    Gonderinger L.L.C.
    Attn: Robert Gonderinger
    2120 South 72"'' Street, Suite 1200
    Omaha, NE 68124
    Co-Counsel to the Administrative Agent
    Frost Brown Todd LLC
    Attn: Ronald E. Gold and Douglas L, Lutz
    3300 Great American Tower
    301 East Fourth Street
    Cincinnati, OH 45202
    Lead Counsel to the Committee
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                                                EXHIBIT A


            Summary of Hours Billed by Professionals and Paraprofessional for the Fee Period

Name of Professional            Dept             Title       Year      Hourly    Total        Total
                                                            Admitted    Rate     Hours     Compensation
                                                                                 Billed

Brian J. Koenig        Litigation, Banking,   Shareholder     2007     $295.00    16.2         $4,779.00
                       Finance & Creditors'
                       Rights

Donald L. Swanson      Litigation, Banking,   Shareholder     1980     $370.00     .6           $222.00
                       Finance & Creditors'
                       Rights

                                                                                    16.8
TOTAL                                                                                          $5,001.00
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                                           EXHIBIT B


                             Summary of Time by Project Category

                     Proiect Catefforv                  Hours      Amount



       Case Administration                                4.9      $1,445.50

       Fee/Employment Applications                        1.2      $354.00

       Comenity Bank Dispute                              .5       $147.50

       Asset Analysis Recovery                            .9       $265.50

       Creditor Communication                             .2       $59.00

       Investigation of Dividend/Recap & Other Claims    9.1       $2,729.50

       TOTAL                                             16.8      $5,001.00
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                                       EXHIBIT C


                         Summary of Expenses for the Fee Period

              Description                            Amounts
              Pacer                                                 $6.9C
              FedEx                                               $175.8C
              TOTAL                                               $182.7C
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KOLEYB JESSEN                                                                                  KOLEYJESSENHCOM

                                                                                                         KOLEY JESSEN P.C., L.LO.
                                                                                                               AnORNEYSATLAW

                                                                                                      ONE PACIFIC PLACE, SUITE800
                                                                                                         1125 SOUTH 103RD STREET
                                                                                                                 OMAHA. NE 68124

                                                                                                              PHONE: 402.390.9500




          Official Committee of Unsecured Creditors for Gordmans Stores, Inc.
          c/o Julie Minnick Bowden, Chair
          GGP, a Retail Real Estate Company
          110 N Wacker Drive
          Chicago, IL 60606




Matter#               Matter Name                                                   Fees    Disbursements               Total

19279-0000-0366       Gordmans Chapter 11                                       $5,001.00          $182.70          $5,183.70

                                                    Total This Bilhng Period    $5,001.00          $182.70          $5,183.70
                                                               Total Current                                        $5,183.70




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                                                                                                       September 08, 2017
Official Committee of Unsecured Creditors for Gordmans Stores,                                              Invoice #: 328184
Inc.                                                                                                   ID: 19279-0000-0366




Fee Details

Date             Time Narrative                                                             Tkpr   Hours                 Amount

08/01/2017       INV: review and analyze case law regarding fraudulent transfer claim       BJK      3.40               $1,003.00
                 in the context of special dividends (1.2),* INV: review and analyze
                 Province's report on solvency (.4); INV: review, edit and analyze draft
                 of memorandum regarding results of investigation (1.5); INV: email
                 exchange with D. Lutz regarding draft of memorandum (.3).


08/02/2017       INV: Evaluate issues relating to proposed release language.                DLS     0.60                  $222.00


08/02/2017       INV: review and edit revised memo to committee with findings               BJK      1.50                 $442.50
                 regarding investigation of claims (1.3); INV: emails to Doug Lutz
                 regarding draft of memo to committee with findings regarding
                 investigation of claims (.2).

08/03/2017       INV: call with Carol CabeUo regarding solvency analysis (.3); CA:          BJK      2.20                 $649.00
                 review and analyze latest draft of Disclosure Statement (1.9).


08/04/2017       INV: call with committee's professionals to discuss finalizing memo to BJK          3.50               $1,032.50
                 committee with investigation results (.3); INV: edit and revise memo
                 to committee based on discussion with committee's professionals (2.5);
                 CC: email to committee with copy of memo, timeline and historic D&O
                 info (.2); CA: review revised version of Disclosure Statement (.5).


08/07/2017       CA: call with Debtors' counsel regarding disclosure statement issues       BJK      1.40                 $413.00
                 (.2); AAR: receive and review revised cash forecast from Province (.4);
                 CC: call with committee with results of investigation and status
                 update (.5); CBD: caU with Tim Thalken regarding expected
                 distribution to unsecured creditors (.3).


08/11/2017       CA: review and analyze debtors' operating report for July (.2); CA:        BJK      1.20                 $354.00
                 review and analyze revised draft of Disclosure Statement and Plan
                 (.7); CA: receive and review filed copy of final Disclosure Statement
                 and Plan (.3).

08/14/2017       CA: receive and review email fi*om Lisa Peters regarding status            BJK     0.30                   $88.50
                 conference and 9013 Notice (.1); CA: receive and review notification
                 fix)m court of status conference (.1); CA: receive and review email from
                 Jaime Netznik regarding proposed schedule of important dates (.1).


08/15/2017       FEA: prepare and file certificate of no objection to monthly fee           BJK      0.10                  $29.50
                 application (.1).


08/16/2017       CA: call with Ron Gold regarding plan for status conference hearing        BJK      0.40                 $118.00
                 (.1); CA: attend status conference hearing (.3).

08/21/2017       FEA: begin preparing Fifth Monthly Fee Statement.                          BJK      0.60                 $177.00


08/22/2017       FEA: continue preparing Fifth Monthly Fee Statement.                       BJK     0.20                   $59.00




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 KOLEYH JESSEN

                                                                                                   September 08, 2017
 OfBcial Committee of Unsecured Creditors for Gordmans Stores,                                          Invoice#: 328184
 Inc.                                                                                              ID: 19279-0000-0366




Fee Details

 Date            Time Narrative                                                          Tkpr   Hours               Amount

 08/25/2017      CBD:Email exchange with Ron Gold and Lisa Peters regarding status BJK           0.40                $118.00
                 of Comenity Bank matter and issues associated with same (.2); FEA:
                 finalize monthly fee statement and email draft of same to Julie
                 Minnick for her review and approval (.2).


 08/28/2017      FEA: Finalize and file Fifth Monthly Fee Statement.                     BJK     0.10                 $29.50


 08/30/2017      CA: review and analyze draft of Committee Plan Support letter (.2); BJK         0.70                $206.50
                 CA:email to Doug Lutz and Ron Gold with thoughts regarding draft of
                 Committee Plan Support letter (.1); AAR:receive and review claim
                 filed by Comenity Bank regarding lost profits (.4).


 08/31/2017      CA: email exchange with Lisa Peters regarding scheduling of hearing     BJK     0.20                 $59.00
                 in Gordmans (.1): AAR: receive and review email firom Ms. Peters with
                 information regarding Comenity Bank's rejection damage claim (.1).




 Disbursement Details
 Date             Type                                                                                              Amount

 08/28/2017       Federal Express - Express Mail; 8/28/17 Boston. MA                                                  $27.19

 08/28/2017       Federal Express • Express Mail; 8/28/17 Cincinnati, OH                                              $27.01

 08/28/2017       Federal Express - Express Mail; 8/28/17 Omaha, NE                                                   $68.88

 08/28/2017       Federal Express - Express Mail; 8/28/17 New York, NY                                                $27.19

 08/28/2017       Federal Express - Express Mail; 8/28/17 Chicago, XL                                                 $25.53

                  Advanced Costs for Public Records                                                                     $6.90




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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEBRASKA

       In re:                                                         Chapter 11

       GORDMANS STORES, INC., et al.,1                                Case No. 17-80304 (TLS)

                                                                      (Jointly Administered)
                                  Debtors.


       SEVENTH MONTHLY FEE STATEMENT OF KOLEY JESSEN P.C., L.L.O. FOR
        COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
        EXPENSES INCURRED AS COUNSEL TO THE OFFICIAL COMMITTEE OF
         UNSECURED CREDITORS OF GORDMANS STORES, INC., ET AL. FROM
         SEPTEMBER 1, 2017 THROUGH AND INCLUDING SEPTEMBER 30, 2017


     Name of Applicant                              Koley Jessen P.C., L.L.O.
     Client                                         Official Committee of Unsecured Creditors
     Petition Date                                  March 13, 2017
     Date of Approval of Employment                 April 27, 2017 [Doc. No. 406]
     Fee Period                                     September 1, 2017 – September 30, 20172
     Total Hours Billed                             9.9
     Total Fees Requested                           $2,426.40 (80% of $3,033.00)
     Total Expenses Requested                       $3.00
     Total Fees and Expenses Requested              $2,429.40
     Prior Fees Paid to Applicant                   $86,445.60
     Prior Expenses Paid to Applicant               $2,297.10

       This is a: X Monthly               Interim           Final Fee Application




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, include: G-Estate Liquidation Stores, Inc. formerly known as Gordmans Stores, Inc. (1987); Gordmans,
 Inc. (1211); Gordmans Management Company, Inc. (5281); Gordmans Distribution Company, Inc. (5421);
 Gordmans Intermediate Holdings Corp. (9938); and Gordmans LLC (1987).
 2
   KJ reserves the right to include any time expended in the Fee Period in future application(s) if it is not included
 herein.
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          In accordance with the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals and Reimbursement of Creditors’

Committee Member Expenses, and (II) Granting Related Relief, entered on April 17, 2017, [Doc.

No. 351] (the “Interim Compensation Order”)3, Koley Jessen P.C., L.L.O. (“KJ”), local counsel

to the Official Committee of Unsecured Creditors (the “Committee”) of the debtors and debtors

in possession in the above-captioned cases (the “Debtors”), hereby submits this statement of fees

and expenses        (the “Seventh Monthly Fee Statement”)                      seeking compensation            and

reimbursement       of expenses for the period of September 1, 2017 through and including

September 30, 2017 (the “Fee Period”). By this Seventh Monthly Fee Statement, KJ seeks

payment of: $2,426.40, which represents 80 percent of the total amount of compensation sought

for actual and necessary professional services rendered during the Fee Period, and $3.00, which

represents 100 percent of KJ’s actual and necessary expenses incurred during the Fee Period.

                               Services Rendered and Expenses Incurred

          1.     Attached as Exhibit A is a timekeeper summary that includes the names, positions,

and hourly rates of each professional and paraprofessional who billed time during the Fee Period.

          2.     Attached as Exhibit B is a project summary that includes the total hours spent by KJ

professionals and paraprofessionals per project category for the Fee Period.

          3.     Attached as Exhibit C is a summary of all expenses incurred by KJ during the

Fee Period.

          4.     Attached as Exhibit D are KJ’s detailed time and expense records of KJ for the Fee

Period.

 3
  Terms used but not otherwise defined herein shall have the meanings ascribed to them in the Interim Compensation
 Order.
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                        Total Fees and Expenses Sought for the Fee Period

       5.       The total amount sought for fees for services rendered and reimbursement of

expenses incurred for the Fee Period are as follows:

            Total Fees for the Fee Period                              $3,033.00
            Total Expenses for the Fee Period                          $    3.00
            TOTAL                                                      $3,036.00

       6.       Pursuant to the Interim Compensation Order, KJ seeks payment of $2,426.40, which

equals (i) 80 percent of KJ’s total fees for services rendered during the Fee Period and (ii) 100

percent of KJ’s total expenses incurred during the Fee Period.

            80% of Total Fees for the Fee Period                       $2,426.40
            100% Total Expenses for the Fee Period                     $    3.00
            TOTAL                                                      $2,429.40

                                Notice and Objections Procedures

       7.       No trustee or examiner has been appointed in these chapter 11 cases. In accordance

with the Interim Compensation Order, notice of this Seventh Monthly Fee Statement has been

served, via overnight delivery and the Court’s ECF system, on:        (i) the Debtors, Gordmans

Stores, Inc., 13917 Gold Circle, Suite 200, Omaha, Nebraska 68144, Attn: Roger Glenn; (ii) co-

counsel to the Debtors, Kutak Rock LLP, The Omaha Building, 1650 Farnam Street, Omaha,

Nebraska 68102, Attn: Jeffrey T. Wegner and Lisa M. Peters; (iii) co-counsel to the Debtors,

Kirkland & Ellis LLP, 300 North LaSalle Street, Chicago, Illinois 60654, Attn: Brad Weiland and

Jamie R. Netznik; (iv) the Office of the United States Trustee for the District of Nebraska, 111

South 18th Plaza, Suite 1148, Omaha, Nebraska 68102, Attn: Jerry L. Jansen; (v) co-counsel to the

administrative agent, Riemer Braunstein LLP, Seven Times Square, Suite 2506, New York, New

York 10036, Attn: Steven Fox and Donald E. Rothman; (vi) co-counsel to the administrative agent,

Greenberg Traurig, LLP, One International Place, Suite 2000, Boston, Massachusetts 02110,
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Attn: Jeffrey M. Wolf; (vii) co-counsel to the administrative agent, Croker Huck Kasher DeWitt

Anderson & Gonderinger, L.L.C., 2120 South 72nd Street, Suite 1200, Omaha, Nebraska 68124,

Attn: Robert Gonderinger; and (viii) lead counsel to the Committee, Frost Brown Todd LLC,

3300 Great American Tower, 301 East Fourth Street, Cincinnati, Ohio 45202, Attn: Ronald E.

Gold and Douglas L. Lutz (the “Application Recipients”). KJ submits that no other or further

notice need be provided.

       8.      Pursuant to the Interim Compensation Order, objections to this Seventh Monthly

Fee Statement, if any, must be served upon KJ and the Application Recipients no later than

fourteen days after service of the Seventh Monthly Fee Statement (the “Review Deadline”)

setting forth the precise nature of the objection and the amount at issue.

       9.      If no objections to this Seventh Monthly Fee Statement are made on or before

the Review Deadline and upon the filing of a certificate of no objection with this Court with

respect to the unopposed portion of the fees and expenses requested in the Fee Period by KJ, the

Debtors will pay KJ: (i) 80 percent of KJ’s total fees for services rendered during the Fee Period

and (ii) 100 percent of KJ’s total expenses incurred during the Fee Period.

       10.     To the extent a Notice of Objection to Monthly Fee Statement is received on or

before the Review Deadline, the objecting party and KJ shall attempt to resolve the objection on a

consensual basis. If the parties reach an agreement, the Debtors shall promptly pay 80 percent of the

agreed-upon fees and 100 percent of the agreed-upon expenses. If, however, the parties are unable

to reach a resolution within 14 days after service of the Notice of Objection to Monthly Fee

Statement, the objecting party shall file its objection (the “Objection”) with this Court within 3

business days and serve such Objection on K J and each of the other Application Recipients.

Thereafter, K J may either (i) file with the Court a response to the Objection, together with a
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 request for payment of the Disputed Amount or (ii) forego payment of the Disputed Amount until

 the next interim fee application hearing at which time this Court will consider the Objection, if

 requested by the parties.

 Dated: October 24, 2017.                        Respectfully submitted,



                                                 /s/ Brian J. Koenig
                                                 Brian J. Koenig, #23807
                                                 KOLEY JESSEN P.C., L.L.O.
                                                 1125 South 103rd Street, Suite 800
                                                 Omaha, NE 68124
                                                 (402) 390-9500
                                                 (402) 390-9005 (fax)
                                                 Brian.Koenig@koleyjessen.com

                                                 Local Counsel for the
                                                 Official Committee of Unsecured Creditors
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 24, 2017, I caused the filing of the foregoing with the
 Clerk of the Bankruptcy Court using the CM/ECF system, which was served on all parties
 receiving ECF notice in this case, and I further certify that on October 24, 2017, I caused the
 foregoing to be served via overnight delivery to the parties indicated below.



                                                  /s/ Brian J. Koenig

Gordmans Stores, Inc.
Attn: Roger Glenn
13917 Gold Circle, Suite 200
Omaha, NE 68144
Debtors
Kirkland & Ellis LLP
Attn: Brad Weiland and Jamie R. Netznik
300 North LaSalle
Chicago, IL 60654
and
Kutak Rock LLP
Attn: Jeffrey T. Wegner and Lisa M. Peters
1650 Farnam Street
Omaha, NE 68102
Co-Counsel to the Debtors
Office of the United States Trustee
For the District of Nebraska
Attn: Jerry L. Jensen
111 South 18th Plaza, Suite 1148
Omaha, NE 68102
United States Trustee
Riemer Braunstein LLP
Attn: Steven Fox and Donald E. Rothman
Seven Times Square, Suite 2506
New York, NY 10036
and
Greenberg Traurig, LLP
Attn: Jeffrey M. Wolf
One International Place, Suite 2000
Boston, MA 02110
and
Case 17-80304-TLS Doc 1097 Filed 01/02/18 Entered 01/02/18 16:10:15 Desc Main
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 Croker Huck Kasher DeWitt Anderson &
 Gonderinger L.L.C.
 Attn: Robert Gonderinger
 2120 South 72nd Street, Suite 1200
 Omaha, NE 68124
 Co-Counsel to the Administrative Agent
 Frost Brown Todd LLC
 Attn: Ronald E. Gold and Douglas L. Lutz
 3300 Great American Tower
 301 East Fourth Street
 Cincinnati, OH 45202
 Lead Counsel to the Committee
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                                                EXHIBIT A

            Summary of Hours Billed by Professionals and Paraprofessional for the Fee Period

Name of Professional           Dept              Title       Year      Hourly    Total       Total
                                                            Admitted    Rate     Hours    Compensation
                                                                                 Billed
Brian J. Koenig        Litigation, Banking,   Shareholder     2007     $295.00    8.4         $2,478.00
                       Finance & Creditors’
                       Rights

Donald L. Swanson      Litigation, Banking,   Shareholder     1980     $370.00    1.5          $555.00
                       Finance & Creditors’
                       Rights

TOTAL                                                                             9.9         $3,033.00
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                                       EXHIBIT B

                          Summary of Time by Project Category

                  Project Category                   Hours      Amount


    Case Administration                                0.3        $88.50

    Fee/Employment Applications                        1.5       $442.50

    Comenity Bank Dispute                             2.4        $708.00

    Asset Analysis Recovery                           5.7       $1,794.00

    Creditor Communication                            ----         ----

    Investigation of Dividend/Recap & Other Claims    ----         ----

    TOTAL                                             9.9       $3,033.00
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                                      EXHIBIT C

                         Summary of Expenses for the Fee Period

                    Description                          Amounts
                    Pacer
                    FedEx
                    Public Records                           $3.00
                    TOTAL                                    $3.00
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                                   EXHIBIT D
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                                                                                                          KOLEY JESSEN P.C., L.L.O.
                                                                                                               ATTORNEYS AT LAW

                                                                                                       ONE PACIFIC PLACE, SUITE 800
                                                                                                         1125 SOUTH 103RD STREET
                                                                                                                  OMAHA, NE 68124

                                                                                                               PHONE: 402.390.9500




           Official Committee of Unsecured Creditors for Gordmans Stores, Inc.
           c/o Julie Minnick Bowden, Chair
           GGP, a Retail Real Estate Company
           110 N Wacker Drive
           Chicago, IL 60606




Matter #               Matter Name                                                   Fees    Disbursements                Total

19279-0000-0366        Gordmans Chapter 11                                       $3,033.00           $3.00            $3,036.00

                                                     Total This Billing Period   $3,033.00           $3.00            $3,036.00
                                                                Total Current                                         $3,036.00




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                                                                                                      October 20, 2017
Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                  Invoice #: 329522
Gordmans Chapter 11                                                                               ID: 19279-0000-0366



Fee Details

Date             Time Narrative                                                        Tkpr    Hours              Amount
09/01/2017       CBD: email exchange with Doug Lutz regarding Comenity Bank claim BJK           0.30                $88.50
                 and documents supporting the same (.3).


09/06/2017       FEA: receive and review fee statements of CTG, K&E, and Kutak (.4); BJK        0.70               $206.50
                 FEA: begin preparing monthly fee statement for August work (.3).


09/08/2017       CBD: receive and review email from Lisa Peters forwarding email     BJK        0.30                $88.50
                 from Rob Berner regarding Comenity Bank's concerns with proposed
                 order approving disclosure statement (.2); CBD: review
                 correspondence between Ron Gold and Lisa Peters regarding resolving
                 objection of Comenity Bank (.1).

09/11/2017       CBD: receive and review correspondence between Lisa Peters and Ron BJK         0.50               $147.50
                 Gold regarding objection to claim of Comenity Bank and draft of
                 objection (.2); CBD: review and analyze draft of objection to claim of
                 Comenity Bank (.3).

09/12/2017       CBD: receive and review Motion to File Comenity Claim Objection        BJK     0.40               $118.00
                 Under Seal (.1); CBD: receive and review Declaration of Lisa Peters in
                 support of claim objection (.1); CBD: receive and review filed claim
                 objection to claim of Comenity Bank (.1); FEA: prepare and file
                 certificate of no objection to fee request (.1).


09/15/2017       CA: receive and review August operating report.                       BJK      0.30                $88.50

09/18/2017       AAR: review Court docket, locate lease rejection orders and prepare   DLS      1.50               $555.00
                 summary.
09/19/2017       CBD: review and analyze draft of Joinder in Debtors Objection to      BJK      0.30                $88.50
                 Claim of Comenity Bank (.2); email exchange with A.J. Webb
                 regarding same (.1).
09/22/2017       CBD: Receive and review letter from counsel for Comenity Bank         BJK      0.70               $206.50
                 rejecting debtors' counteroffer (.3); CBD: call with Doug Lutz
                 regarding Comenity Bank's settlement offer (.3); CBD: call with Mr.
                 Lutz regarding conversation with Lisa Peters regarding Comenity
                 Bank (.1).

09/25/2017       AAR: review administrative expense claim of Oracle and evaluate        BJK     2.40               $708.00
                 legitimacy of the same by reviewing case law (1.9); FEA: prepare Sixth
                 Monthly Fee Statement (.5).


09/26/2017       AAR: phone conference with Lisa Peters regarding Oracle's               BJK    2.00               $590.00
                 administrative expense claim and potential resolution to the same(.2);
                 AAR: review case law regarding benefit to estate of software provider's
                 availability of services (1.4); AAR: email to Ms. Peters with thoughts
                 regarding resolution of Oracle's claim and case law to support
                 position/thoughts(.2); CC call with creditor, N&W Transfer, regarding
                 claim amount (.2).




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                                                                                                     October 20, 2017
Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                 Invoice #: 329522
Gordmans Chapter 11                                                                              ID: 19279-0000-0366



Fee Details

Date             Time Narrative                                                       Tkpr    Hours              Amount
09/27/2017       FEA: email to Julie Minnick with draft fee statement and receive       BJK    0.20                $59.00
                 email from Ms. Minnick approving the same (.1); FEA: finalize and file
                 monthly fee statement (.1).


09/28/2017       AAR: call with Lisa Peters regarding Oracle administrative expense   BJK      0.20                $59.00
                 claim and how to respond to settlement offer of Oracle (.2).


09/29/2017       AAR: review correspondence between debtors counsel, Jaime Netznik, BJK        0.10                $29.50
                 and committee counsel, Doug Lutz, regarding clawback letter and
                 cancellation of letters of credit (.1).




Disbursement Details
                 Type                                                                                            Amount

                 Advanced Costs for Public Records                                                                  $3.00




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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEBRASKA

       In re:                                                         Chapter 11

       GORDMANS STORES, INC., et al.,1                                Case No. 17-80304 (TLS)

                                                                      (Jointly Administered)
                                  Debtors.


        EIGHTH MONTHLY FEE STATEMENT OF KOLEY JESSEN P.C., L.L.O. FOR
        COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
        EXPENSES INCURRED AS COUNSEL TO THE OFFICIAL COMMITTEE OF
         UNSECURED CREDITORS OF GORDMANS STORES, INC., ET AL. FROM
           OCTOBER 1, 2017 THROUGH AND INCLUDING OCTOBER 31, 2017


     Name of Applicant                              Koley Jessen P.C., L.L.O.
     Client                                         Official Committee of Unsecured Creditors
     Petition Date                                  March 13, 2017
     Date of Approval of Employment                 April 27, 2017 [Doc. No. 406]
     Fee Period                                     October 1, 2017 – October 31, 20172
     Total Hours Billed                             7.6
     Total Fees Requested                           $1,793.60 (80% of $2,242.00)
     Total Expenses Requested                       $178.78
     Total Fees and Expenses Requested              $1,972.38
     Prior Fees Paid to Applicant                   $86,445.60
     Prior Expenses Paid to Applicant               $2,327.10

       This is a: X Monthly               Interim          Final Fee Application




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, include: G-Estate Liquidation Stores, Inc. formerly known as Gordmans Stores, Inc. (1987); Gordmans,
 Inc. (1211); Gordmans Management Company, Inc. (5281); Gordmans Distribution Company, Inc. (5421);
 Gordmans Intermediate Holdings Corp. (9938); and Gordmans LLC (1987).
 2
   KJ reserves the right to include any time expended in the Fee Period in future application(s) if it is not included
 herein.
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          In accordance with the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals and Reimbursement of Creditors’

Committee Member Expenses, and (II) Granting Related Relief, entered on April 17, 2017, [Doc.

No. 351] (the “Interim Compensation Order”)3, Koley Jessen P.C., L.L.O. (“KJ”), local counsel

to the Official Committee of Unsecured Creditors (the “Committee”) of the debtors and debtors

in possession in the above-captioned cases (the “Debtors”), hereby submits this statement of fees

and expenses         (the   “Eighth Monthly          Fee      Statement”)     seeking     compensation         and

reimbursement of expenses for the period of October 1, 2017 through and including October

31, 2017 (the “Fee Period”). By this Eighth Monthly Fee Statement, KJ seeks payment of:

$1,793.60, which represents 80 percent of the total amount of compensation sought for actual and

necessary professional services rendered during the Fee Period, and $178.78, which represents 100

percent of KJ’s actual and necessary expenses incurred during the Fee Period.

                               Services Rendered and Expenses Incurred

          1.     Attached as Exhibit A is a timekeeper summary that includes the names, positions,

and hourly rates of each professional and paraprofessional who billed time during the Fee Period.

          2.     Attached as Exhibit B is a project summary that includes the total hours spent by KJ

professionals and paraprofessionals per project category for the Fee Period.

          3.     Attached as Exhibit C is a summary of all expenses incurred by KJ during the

Fee Period.

          4.     Attached as Exhibit D are KJ’s detailed time and expense records of KJ for the Fee

Period.

 3
  Terms used but not otherwise defined herein shall have the meanings ascribed to them in the Interim Compensation
 Order.




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                        Total Fees and Expenses Sought for the Fee Period

       5.       The total amount sought for fees for services rendered and reimbursement of

expenses incurred for the Fee Period are as follows:

            Total Fees for the Fee Period                              $2,242.00
            Total Expenses for the Fee Period                          $ 178.78
            TOTAL                                                      $2,420.78

       6.       Pursuant to the Interim Compensation Order, KJ seeks payment of $1,793.60, which

equals (i) 80 percent of KJ’s total fees for services rendered during the Fee Period and (ii) 100

percent of KJ’s total expenses incurred during the Fee Period.

            80% of Total Fees for the Fee Period                       $1,793.60
            100% Total Expenses for the Fee Period                     $ 178.78
            TOTAL                                                      $1,972.38

                                Notice and Objections Procedures

       7.       No trustee or examiner has been appointed in these chapter 11 cases. In accordance

with the Interim Compensation Order, notice of this Eighth Monthly Fee Statement has been served,

via overnight delivery and the Court’s ECF system, on: (i) the Debtors, Gordmans Stores, Inc.,

13917 Gold Circle, Suite 200, Omaha, Nebraska 68144, Attn: Roger Glenn; (ii) co- counsel to the

Debtors, Kutak Rock LLP, The Omaha Building, 1650 Farnam Street, Omaha, Nebraska 68102,

Attn: Jeffrey T. Wegner and Lisa M. Peters; (iii) co-counsel to the Debtors, Kirkland & Ellis

LLP, 300 North LaSalle Street, Chicago, Illinois 60654, Attn: Brad Weiland and Jamie R. Netznik;

(iv) the Office of the United States Trustee for the District of Nebraska, 111 South 18th Plaza,

Suite 1148, Omaha, Nebraska 68102, Attn: Jerry L. Jansen; (v) co-counsel to the administrative

agent, Riemer Braunstein LLP, Seven Times Square, Suite 2506, New York, New York 10036,

Attn: Steven Fox and Donald E. Rothman; (vi) co-counsel to the administrative agent, Greenberg

Traurig, LLP, One International Place, Suite 2000, Boston, Massachusetts 02110, Attn:

                                                -3-
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Jeffrey M. Wolf; (vii) co-counsel to the administrative agent, Croker Huck Kasher DeWitt

Anderson & Gonderinger, L.L.C., 2120 South 72nd Street, Suite 1200, Omaha, Nebraska 68124,

Attn: Robert Gonderinger; and (viii) lead counsel to the Committee, Frost Brown Todd LLC,

3300 Great American Tower, 301 East Fourth Street, Cincinnati, Ohio 45202, Attn: Ronald E.

Gold and Douglas L. Lutz (the “Application Recipients”). KJ submits that no other or further

notice need be provided.

       8.      Pursuant to the Interim Compensation Order, objections to this Eighth Monthly Fee

Statement, if any, must be served upon KJ and the Application Recipients no later than fourteen

days after service of the Eighth Monthly Fee Statement (the “Review Deadline”) setting forth the

precise nature of the objection and the amount at issue.

       9.      If no objections to this Eighth Monthly Fee Statement are made on or before the

Review Deadline and upon the filing of a certificate of no objection with this Court with respect

to the unopposed portion of the fees and expenses requested in the Fee Period by KJ, the Debtors

will pay KJ: (i) 80 percent of KJ’s total fees for services rendered during the Fee Period and (ii)

100 percent of KJ’s total expenses incurred during the Fee Period.

       10.     To the extent a Notice of Objection to Monthly Fee Statement is received on or

before the Review Deadline, the objecting party and KJ shall attempt to resolve the objection on a

consensual basis. If the parties reach an agreement, the Debtors shall promptly pay 80 percent of the

agreed-upon fees and 100 percent of the agreed-upon expenses. If, however, the parties are unable

to reach a resolution within 14 days after service of the Notice of Objection to Monthly Fee

Statement, the objecting party shall file its objection (the “Objection”) with this Court within 3

business days and serve such Objection on K J and each of the other Application Recipients.

Thereafter, K J may either (i) file with the Court a response to the Objection, together with a


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 request for payment of the Disputed Amount or (ii) forego payment of the Disputed Amount until

 the next interim fee application hearing at which time this Court will consider the Objection, if

 requested by the parties.

 Dated: November 21, 2017.                       Respectfully submitted,



                                                 /s/ Brian J. Koenig
                                                 Brian J. Koenig, #23807
                                                 KOLEY JESSEN P.C., L.L.O.
                                                 1125 South 103rd Street, Suite 800
                                                 Omaha, NE 68124
                                                 (402) 390-9500
                                                 (402) 390-9005 (fax)
                                                 Brian.Koenig@koleyjessen.com

                                                 Local Counsel for the
                                                 Official Committee of Unsecured Creditors




                                               -5-
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 21, 2017, I caused the filing of the foregoing with the
 Clerk of the Bankruptcy Court using the CM/ECF system, which was served on all parties
 receiving ECF notice in this case, and I further certify that on November 21, 2017, I caused the
 foregoing to be served via overnight delivery to the parties indicated below.



                                                     /s/ Brian J. Koenig

Gordmans Stores, Inc.
Attn: Roger Glenn
13917 Gold Circle, Suite 200
Omaha, NE 68144
Debtors
Kirkland & Ellis LLP
Attn: Brad Weiland and Jamie R. Netznik
300 North LaSalle
Chicago, IL 60654
and
Kutak Rock LLP
Attn: Jeffrey T. Wegner and Lisa M. Peters
1650 Farnam Street
Omaha, NE 68102
Co-Counsel to the Debtors
Office of the United States Trustee
For the District of Nebraska
Attn: Jerry L. Jensen
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United States Trustee
Riemer Braunstein LLP
Attn: Steven Fox and Donald E. Rothman
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and
Greenberg Traurig, LLP
Attn: Jeffrey M. Wolf
One International Place, Suite 2000
Boston, MA 02110
and

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 Croker Huck Kasher DeWitt Anderson &
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 Attn: Robert Gonderinger
 2120 South 72nd Street, Suite 1200
 Omaha, NE 68124
 Co-Counsel to the Administrative Agent
 Frost Brown Todd LLC
 Attn: Ronald E. Gold and Douglas L. Lutz
 3300 Great American Tower
 301 East Fourth Street
 Cincinnati, OH 45202
 Lead Counsel to the Committee




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                                                EXHIBIT A

            Summary of Hours Billed by Professionals and Paraprofessional for the Fee Period

Name of Professional           Dept              Title       Year      Hourly    Total       Total
                                                            Admitted    Rate     Hours    Compensation
                                                                                 Billed
Brian J. Koenig        Litigation, Banking,   Shareholder     2007     $295.00    7.6         $2,242.00
                       Finance & Creditors’
                       Rights

TOTAL                                                                             7.6         $2,242.00
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                                       EXHIBIT B

                          Summary of Time by Project Category

                  Project Category                   Hours      Amount


    Case Administration                                0.5       $147.50

    Fee/Employment Applications                        0.7       $206.50

    Comenity Bank Dispute                             2.1        $619.50

    Asset Analysis Recovery                           4.2       $1,239.00

    Creditor Communication                            0.1        $29.50

    Investigation of Dividend/Recap & Other Claims    ----         ----

    TOTAL                                             7.6       $2,242.00
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                                      EXHIBIT C

                         Summary of Expenses for the Fee Period

                    Description                          Amounts
                    Pacer
                    FedEx                                   $178.78
                    Public Records
                    TOTAL                                   $178.78
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                                                                                                          KOLEY JESSEN P.C., L.L.O.
                                                                                                               ATTORNEYS AT LAW

                                                                                                       ONE PACIFIC PLACE, SUITE 800
                                                                                                         1125 SOUTH 103RD STREET
                                                                                                                  OMAHA, NE 68124

                                                                                                               PHONE: 402.390.9500




           Official Committee of Unsecured Creditors for Gordmans Stores, Inc.
           c/o Julie Minnick Bowden, Chair
           GGP, a Retail Real Estate Company
           110 N Wacker Drive
           Chicago, IL 60606




Matter #               Matter Name                                                   Fees    Disbursements                Total

19279-0000-0366        Gordmans Chapter 11                                       $2,242.00         $178.78            $2,420.78

                                                     Total This Billing Period   $2,242.00         $178.78            $2,420.78
                                                                Total Current                                         $2,420.78




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                                                                                                    November 08, 2017
Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                                   Invoice #: 330771
Gordmans Chapter 11                                                                                ID: 19279-0000-0366



Fee Details

Date             Time Narrative                                                          Tkpr   Hours              Amount
10/02/2017       CBD: receive and review response of Comenity Bank to Objection of       BJK     0.40               $118.00
                 Debtors and UCC to its claims (.4).


10/03/2017       CBD: receive and review preliminary pretrial order (.1); AAR: call      BJK     0.60               $177.00
                 with debtors' counsel, Jaime Netznik and Lisa Peters, and Doug Lutz
                 regarding outstanding letter of credit issue and update regarding
                 Comenity Bank negotiations; notes to file regarding same (.5).


10/04/2017       CBD: receive and review debtors' objection to Comenity Bank's           BJK     0.40               $118.00
                 request for administrative expense (.2); CA: call with Doug Lutz
                 regarding status of matters and next steps in plan confirmation
                 process (.2).

10/05/2017       FEA: begin preparing Seventh Monthly Fee Statement (.3).                BJK     0.30                $88.50

10/09/2017       AAR: receive and review e-mail from Lisa Peters regarding settlement BJK        0.20                $59.00
                 with Oracle and terms thereof.


10/10/2017       CBD: Receive and review email from Lisa Peters regarding status of      BJK     0.40               $118.00
                 Comenity Bank matter (0.1); CA: receive and review objection to plan
                 filed by personal injury claimant and consider issues related thereto
                 (0.3)

10/12/2017       CBD: Call with debtors' counsel regarding status of Comenity Bank       BJK     1.30               $383.50
                 settlement negotiations (.3); CBD: review and analyze plan regarding
                 substantive consolidation (.9); CBD: call with Lisa Peters regarding
                 result of negotiations and terms of settlement (.1).


10/13/2017       FEA: prepare and file Certificate of No Objection to Fee Statement      BJK     0.10                $29.50
                 (.1).
10/16/2017       AAR: receive and review Amended POCs filed by Nebraska                BJK       2.70               $796.50
                 Department of Revenue (.7); AAR: receive and review text order from
                 court canceling hearing (.1); AAR: email exchange and call with Ron
                 Gold regarding plan confirmation language (.3); AAR: receive and
                 review latest draft of Confirmation Order from Jamie Netzik via email
                 (.2); AAR: receive and review declarations filed in support of
                 confirmation (.7); AAR: receive and review summary of ballots filed
                 (.1); CC: receive and review email from Ron Gold with information
                 regarding voting and confirmation (.1); AAR: receive and review email
                 from Lisa Peters with proposed order confirming the plan of
                 liquidation (.5).


10/16/2017       AAR: review and analyze proposed order confirming plan (.4)             BJK     0.40               $118.00

10/17/2017       AAR: review and analyze revised confirmation order.                     BJK     0.50               $147.50

10/20/2017       FEA: edit and review KJ's monthly fee statement (.1); email to Julie    BJK     0.20                $59.00
                 Minnick with copy of monthly fee statement for approval (.1).




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                                                                                     November 08, 2017
Official Committee of Unsecured Creditors for Gordmans Stores, Inc.                    Invoice #: 330771
Gordmans Chapter 11                                                                 ID: 19279-0000-0366



Fee Details

Date             Time Narrative                                           Tkpr   Hours              Amount
10/24/2017       FEA: finalize and file monthly fee statement.            BJK     0.10                $29.50




Disbursement Details
Date             Type                                                                               Amount

09/27/2017       Federal Express - Express Mail; 9/27/17 Cincinnati, OH                               $27.47
09/27/2017       Federal Express - Express Mail; 9/27/17 Boston, MA                                   $27.65
09/27/2017       Federal Express - Express Mail; 9/27/17 Omaha, NE                                    $17.51
09/27/2017       Federal Express - Express Mail; 9/27/17 Omaha, NE                                    $17.51
09/27/2017       Federal Express - Express Mail; 9/27/17 New York, NY                                 $27.65
09/27/2017       Federal Express - Express Mail; 9/27/17 Omaha, NE                                    $35.02
09/27/2017       Federal Express - Express Mail; 9/27/17 Chicago, IL                                  $25.97




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